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                  EXHIBIT A
                    Part 1
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 ALPHA PHI ALPHA FRATERNITY
 INC., et al.,

               Plaintiffs,
                                                          Civ. No. 21-5337
               vs.

 BRAD RAFFENSPERGER, in his
 official capacity as Secretary of State of
 Georgia.

               Defendant.


                     DECLARATION OF WILLIAM S. COOPER

        WILLIAM S. COOPER, acting in accordance with 28 U.S.C. § 1746,

 Federal Rule of Civil Procedure 26(a)(2)(B), and Federal Rules of Evidence 702

 and 703, does hereby declare and say:

I.      INTRODUCTION

        1.   My name is William S. Cooper. I have a B.A. in Economics from

 Davidson College. As a private consultant, I serve as a demographic and

 redistricting expert for the Plaintiffs.

        2.   I have testified at trial as an expert witness on redistricting and

 demographics in federal courts in about 45 voting rights cases since the late 1980s.

 Over 25 of the cases led to changes in local election district plans. Five of the cases
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resulted in changes to statewide legislative boundaries: Rural West Tennessee

African-American Affairs Council, Inc. v. McWherter, No. 92-cv-2407 (W.D.

Tenn. 1995); Old Person v. Brown, No. 96-cv-0004 (D. Mont. 2002); Bone Shirt v.

Hazeltine, No. 01-cv-3032 (D.S.D. 2004); Alabama Legislative Black Caucus v.

Alabama, No. 12-cv-691 (M.D. Ala. 2017), and Thomas v. Reeves (S.D. Miss.

2019). In Bone Shirt v. Hazeltine, the court adopted the remedial plan I developed.

      3.   I served as the Gingles 1 expert for two post-2010 local-level Section 2

cases in Georgia, NAACP v. Fayette County and NAACP v. Emanuel County. In

both cases, the parties settled on redistricting plans that I developed (with input

from the respective defendants). In the latter part of the decade, I served as the

Gingles 1 expert in three additional Section 2 cases in Georgia, which were all

voluntarily dismissed after the 2018 elections: Georgia NAACP v. Gwinnett

County), No. 1:16-cv-02852-AT; Thompson v. Kemp, No. 1:17-cv-01427 (N.D.

Ga. 2018); and Dwight v. Kemp, No. 1:18-cv-2869 (N.D. Ga. 2018).

      4.   My redistricting experience is further documented in my curriculum

vitae, which is attached as Exhibit A.




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A. Purpose of Declaration

       5.    The attorneys for the Plaintiffs in this case asked me to determine

whether the African-American1 population in Georgia is “sufficiently large and

geographically compact” to allow for the creation, employing traditional districting

principles, of additional majority-Black Senate and House districts beyond those

created in the legislative plans that were signed into law by Governor Kemp on

December 30, 2021—in other words, districts that meet the first Gingles

precondition (“Gingles 1”).2

       6.    For purposes of the Gingles 1 analysis in this declaration, and unless

otherwise noted, I define majority-Black districts as those that are majority-Black

voting age (“BVAP”). I also report whether districts are majority-Black citizen

voting age (“BCVAP”).3



1 In this declaration, “African-American” refers to persons who are single-race Black or Any Part
Black (i.e. persons of two or more races and some part Black), including Hispanic Black. In
some instances (e.g. for historical comparisons) numerical or percentage references identify
single-race Black as “SR Black” and Any Part Black as “AP Black.” Unless noted otherwise,
“Black” means AP Black. It is my understanding that following the U.S. Supreme Court decision
in Georgia v. Ashcroft, 539 U.S. 461 (2003), the “Any Part” definition is an appropriate Census
classification to use in most Section 2 cases.

Throughout this report, I refer to the two legislative plans signed into law by Governor Kemp as
the 2021 Senate Plan and the 2021 House Plan, respectively.
2 See Thornburg v. Gingles, 478 U.S. 30, 50 (1986).

3 The CVAP estimates I report count only persons who are non-Hispanic single-race Black. The
estimates are disaggregated from the block group level as published by the U.S. Census Bureau.
The most current data available is from the 2015-2019 Special Tabulation, with a survey

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       7.   The two illustrative plans that I have prepared (one for the State House

and one for the State Senate) demonstrate that Georgia’s Black population is

sufficiently numerous and geographically compact to allow for the creation of at

least three additional majority-Black Senate districts and five additional majority-

Black House districts.

       8.   The illustrative plans comply with traditional redistricting principles,

including population equality, compactness, contiguity, respect for communities of

interest, and the non-dilution of minority voting strength.

       9.   The illustrative plans are drawn to follow, to the extent possible, county

and VTD4 boundaries. Where counties are split to comply with one-person one-vote

requirements or to avoid pairing incumbents, I have generally used whole 2020

Census VTDs as sub-county components. Where VTDs are split, I have followed

census block boundaries that are aligned with roads, natural features, census block

groups, or municipal boundaries.




midpoint of July, 1 2017.
https://www.census.gov/programs-surveys/decennial-census/about/voting-rights/cvap.html

The 2016-2020 ACS Special Tabulation has been delayed due to the pandemic. The 2016-2020
estimates will reflect Census 2020 population distribution, which could require updates to the
number of majority-BCVAP districts.

4 “VTD” is a Census Bureau term meaning “voting tabulation district.” VTDs generally
correspond to precincts. Statewide, there are 2,698 2020 VTDs.

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       10. Exhibit B describes the sources and methodology I have employed in

the preparation of this report and the illustrative plans. Briefly, I used the Maptitude

software program as well as data and shapefiles from the U.S. Census Bureau and

the Georgia Legislative and Congressional Reapportionment Office, among other

sources.

B. Summary of Expert Conclusions

       11. Based on my Gingles 1 analysis, I conclude the following:

                                          State Senate

       •      The 2021 Senate Plan contains 14 majority-Black districts (15 that are

       both BVAP and BCVAP).

       •      As shown in the Plaintiffs’ Illustrative Senate Plan, a statewide Senate

       plan can be drawn with 19 majority-Black districts, including two additional

       majority-Black districts in south Metro Atlanta and an additional majority-

       Black district anchored in the eastern portion of Georgia’s Black Belt

       (encompassing part of Augusta and extending west to Baldwin and Houston

       Counties).5




5 In addition, the Illustrative Senate Plan described infra also creates an additional majority-
Black Senate district in Gwinnett and Dekalb Counties (District 9), and an additional majority-
Black Senate district in Cobb County (District 6), for a total of 19 statewide.

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 •     The Black population in south Metro Atlanta is sufficiently numerous

 and geographically compact to allow for the creation of at least two

 additional compact majority-Black Senate districts.

 •     The Black population in and around Georgia’s eastern Black Belt

 counties (an area I define in greater detail below) is sufficiently numerous

 and geographically compact to form an additional compact majority-Black

 Senate district.

                               State House

 •     The 2021 House Plan contains 49 majority-Black districts (47 of which

 are also majority BCVAP).

 •     As shown in the Plaintiffs’ Illustrative House Plan, a statewide House

 Plan can be drawn with at least 54 majority-Black districts (53 that are both

 BVAP and BCVAP), including four additional majority-Black districts

 anchored in south Metro Atlanta and two additional majority-Black districts

 in Georgia’s Black Belt.

 •     The Black population in south Metro Atlanta is sufficiently numerous

 and geographically compact to allow for the creation of at least three

 additional compact majority-Black House districts in Metro Atlanta.




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       •      The Black population in and around the eastern Black Belt counties is

       sufficiently numerous and geographically compact to form an additional

       compact majority-Black House district.

       •      The Black population in and around the western Black Belt counties is

       sufficiently numerous and geographically compact to form an additional

       compact majority-Black House district.

C. Gingles 1 Analysis – Focus Areas

       12. According to the data collected in the 2020 Census, and as discussed in

further detail below, Georgia’s Black population has grown significantly since

2010. The State’s Black population is up by 484,848 persons, the equivalent of 2.5

State Senate districts or eight entire State House districts. By contrast, the State’s

white population actually declined during that same period. Yet despite the

significant growth in Georgia’s Black population since 2010, almost no additional

majority-Black districts are created in Georgia’s 2021 Senate and House Plans.6

       13. The 2021 Senate Plan merely maintains the status quo, with 14 majority-

Black districts, the same number as in the previous plan which was enacted in 2012




6 The ideal population size for a Senate district is 191,284 and 59,511 for a House district. Those
numbers are derived from the State’s total population and the number of seats in each body.

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and first used in 2014 during mid-decade redistricting (the “2014 Benchmark

Senate Plan”).7

       14. The 2021 House Plan has two more majority-Black districts than the

previous plan, which was enacted in 2015 (the “2015 Benchmark House Plan”)

(and which in turn incorporated a discrete set of changes to the plan enacted in

2012).8 That small increase is nowhere near commensurate with the significant

growth of Georgia’s Black population during that period.

       15. Under the 2021 Senate Plan, 10 of the 14 majority-Black districts are in

Metro Atlanta. Under the 2021 House Plan, 33 of the 49 majority-Black districts are

in Metro Atlanta.9




7 I am counting Senate District 41 as majority-Black under the 2014 Benchmark Senate Plan.
That district, which was 51.4% BVAP when drawn under the 2010 Census, slipped to 49.76%
BVAP according to the 2020 Census (though it remained a BCVAP-majority district at 57.22%
BCVAP).

Notably, Senate District 2 in the 2014 Benchmark Senate Plan was similarly drawn at 50.94%
BVAP based on 2010 Census data, but had fallen to 47.09% BVAP under the 2020 Census
(though it remained at 53.43% BCVAP). Under the 2021 Senate Plan and the Illustrative Senate
Plan, District 2 is no longer majority-BVAP (46.86% in both plans) but remains majority-
BCVAP (53.13% in both plans). I am not counting Senate District 2 as majority-Black under the
2014 Benchmark Senate Plan, though I note that doing so would result in the 2021 Senate Plan
having one fewer majority-Black Senate district than its predecessor plan.
8
 The Senate and House plans initially enacted after the 2010 Census are included in Exhibits I-2
and V-2, infra. These historical plans are not substantially different than the Benchmark plans
with respect to the number of majority-Black districts. The prior Senate and House maps,
enacted in 2006, are also included in Exhibits I-3 and V-3, respectively.
9 In this declaration, Metro Atlanta refers to the 29-county Atlanta Metropolitan Statistical Area
(“MSA”) defined by the U.S. Office of Management and Budget. It includes the Counties of
Barrow, Bartow, Butts, Carroll, Cherokee, Clayton, Cobb, Coweta, Dawson, DeKalb, Douglas,

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       16. To determine where additional majority-Black districts could be drawn,

I initially focused on areas with substantial Black populations, in particular:

       (1) Metro Atlanta counties (as defined by the Atlanta-Sandy Springs-

Alpharetta MSA boundaries) shown in the Census Bureau’s map in Exhibit C;

       (2) Georgia’s Black Belt (as defined by the Georgia Budget and Policy

Institute (“GBPI”) shown in the map in Figure 1.10 Exhibit D is an excerpt from

the GBPI report (Appendix A) identifying the Black Belt counties and school

districts depicted in Figure 1. More broadly, and as the GBPI report explains, the

term “Black Belt” refers to a swath of the American South that historically had

large numbers of enslaved Black persons, and that today continues to have

substantial Black populations; in Georgia, the area comprising the Black Belt




Fayette, Forsyth, Fulton, Gwinnett, Haralson, Heard, Henry, Jasper, Lamar, Meriwether,
Morgan, Newton, Paulding, Pickens, Pike, Rockdale, Spalding, and Walton.

MSA is an abbreviation for “metropolitan statistical area.” Metropolitan statistical areas are
defined by the U.S. Office of Management and Budget and reported in historical and current
census data produced by the Census Bureau. MSAs “consist of the county or counties (or
equivalent entities) associated with at least one urbanized area of at least 50,000 population, plus
adjacent counties having a high degree of social and economic integration with the core as
measured through commuting ties.”
https://www.census.gov/programs-surveys/metro-micro/about.html
10 For a current and historical analysis of Georgia’s Black Belt, see Education in Georgia’s
Black Belt: Policy Solutions to Help Overcome a History of Exclusion (Stephen Owens, October
10, 2019), published by the Georgia Budget & Policy Institute.
https://gbpi.org/education-in-georgias-black-belt.

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extends roughly southwest from the area around Augusta to the southwest corner of

the State.

Figure 1
                      Georgia’s Black Belt School Districts




      17. Upon review, I narrowed my focus to three regions within those larger

areas (see maps in Exhibit E and Figure 4 infra):

      18. (Region A) South Metro Atlanta: suburban /exurban counties in a

significantly Black, racially diverse, and geographically compact region that has

emerged over the past quarter of a century—specifically, the counties of Fayette,

Spalding, Henry, Rockdale, and Newton.

      19. The Georgia Governor’s Office of Planning and Budget projects that

this 5-county region will have 725,000 residents by the time of the 2030 Census –


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up by about 92,000 persons over the Census 2020 enumeration, of whom 61% will

be non-White. African Americans are projected to account for about 60% of the

non-White population increase.11

       20. Under the 2021 Senate Plan, parts of three majority-Black districts are in

the south Metro counties—Senate Districts 10, 34, and 43.

       21. Under the 2021 House Plan, parts of seven majority-Black House

districts are in these five south Metro counties.

       22. (Region B) Eastern Black Belt Area: urban Black Belt Richmond

County (Augusta) plus a group of rural Black Belt counties in a geographically

compact area. The rural counties are home to a long-standing Black community that

has not been in a majority-Black Senate district since the passage of the 1965

Voting Rights Act.

       23. All of the Region B counties are part of the Central Savannah River

Area, as shown in Exhibit F on the regional commission map prepared by the

Georgia Department of Community Affairs (“GDCA”).

       24. As shown on the GDCA map, Region B encompasses the following

Central Savannah River Area counties: (counter clockwise from east to west)

Jenkins, Burke, Richmond, Jefferson, McDuffie, Wilkes, Taliaferro, Glascock,




11 https://opb.georgia.gov/census-data/population-projections.


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Warren, Washington, and Hancock. Ten of these 11 contiguous counties—

excluding Glascock (pop. 2,884)—are identified as part of Georgia’s Black Belt by

GBPI. Moreover, additional adjacent counties, such as Baldwin County, lie outside

the Central Savannah River Area Regional Commission area but are also identified

as part of the Black Belt by GBPI and have substantial Black populations.

      25. The 2021 Senate Plan includes one majority-Black district in Region

B—Senate District 22 (56.5% BVAP)—in Augusta/Richmond County, and a small

part of another majority Black district—Senate District 26 (56.99% BVAP)—

anchored in Macon/Bibb County.

      26. The 2021 House Plan contains five majority-Black districts in the

Region B area.

      27. (Region C) Western Black Belt Area: urban Black Belt Dougherty

County (Albany) plus a group of southwest Georgia rural Black Belt counties in a

geographically compact area, implicitly identified in the area encompassed by

majority-Black Senate District 12 (57.97% BVAP) in the 2021 Senate Plan.

      28. Region C encompasses part of the Southwest Georgia and Valley River

Area regional commission areas depicted on the GDCA map in Exhibit F.

      29. The 2021 House Plan contains just two majority-Black House districts

in Region C, even though there is obviously sufficient Black population to create




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three districts in an area generally circumscribed by Senate District 12 in the 2021

Senate Plan.

       30. Senate District 12 encompasses 13 counties: (counter clockwise from

north to south on the GDCA map) Sumter, Webster, Stewart, Quitman, Randolph,

Terrell, Clay, Calhoun, Dougherty, Early, Miller, Baker, and Mitchell. Twelve of

the 13 counties—excluding Miller (pop. 6,000)— are identified by GBPI as Black

Belt counties.12 Moreover, additional adjacent counties, such as Thomas County, lie

outside of Senate District 12 in 2021 Senate Plan but are also identified as part of

the Black Belt by GBPI and have substantial Black populations.

D. Organization of Declaration

       31. The remainder of this declaration is organized as follows: Section II

reviews state and regional demographics since 1990. Section III reviews the

benchmark 2014 Senate Plan and the 2021 Senate Plan. Section IV presents the

Illustrative Senate Plan that I have prepared, containing 19 majority-Black districts.

Section V reviews the benchmark 2015 House Plan and the enacted 2021 House

Plan. Section VI presents the Illustrative House Plan that I have prepared,

containing 54 majority-Black districts.




12 Plaintiffs’ Illustrative Senate Plan also contains a majority-Black Senate District in the same
general area of southwest Georgia, Illustrative Senate District 12 (57.34% BVAP).

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II. DEMOGRAPHIC PROFILE – STATEWIDE AND REGIONAL

      32. This section provides current and historical population summaries for

Georgia, Metro Atlanta, and for the three distinct areas where additional majority-

Black House districts can be created—generally defined by (Region A) the 5-

county south Metro Atlanta area, (Region B) the 11-county in the eastern Black

Belt within the Augusta/Central Savannah River Regional Commission area, and

(Region C) the 13-county western Black Belt around Albany and Southwest

Georgia.

A. 2010 to 2020: A Decade of Minority Population Growth in Georgia

      33. According to the 2020 Census, Georgia has a total population of

10,711,908—up by 1.02 million since 2010. Georgia’s population growth since

2010 can be attributed entirely to gains in the overall minority population.

      34. Between 2010 and 2020, nearly half (47.26%) of the State’s population

gain is attributed to Black population growth.

      35. Figure 2 reveals that Georgia’s Black population, as a share of the

overall statewide population, increased between 2010 and 2020 from 31.53% Black

in 2010 to 33.03% in 2020. Over the 2010 to 2020 decade, the Black population in

Georgia increased by 484,048 persons—an increase of nearly 16% from the 2010

baseline. By contrast, between 2010 and 2020, the non-Hispanic White (“NH

White”) population fell by -51,764 persons.



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Figure 2
                             Georgia – 2010 Census to 2020 Census
                               Population by Race and Ethnicity
                                                                           2010 - % 2010 -
                                  2010               2020                  2020    2020
                                 Number   Percent   Number      Percent   Change Change
       Total Population          9,687,653 100.0% 10,711,908 100.00% 1,024,255 9.56%
       NH White*                 5,413,920 55.88% 5,362,156 50.06% -51,764 -0.48%
       Total Minority Pop.       4,273,733 44.12% 5,349,752 49.94% 1,076,019 10.05%
       Latino                      853,689 8.81% 1,123,457 10.49% 269,768 2.52%
       NH Black*                 2,910,800 30.05% 3,278,119 30.60% 367,319 3.43%
       NH Asian*                   311,692 3.22%     475,680   4.44% 163,988 1.53%
       NH Hawaiian and PI*           5,152 0.05%       6,101   0.06%       949 0.01%
       slander*#
       NH  American Indian and
       Alaska Native*              21,279 0.22%       20,375      0.19%      -904   -0.01%
       NH Other*                   19,141 0.20%       55,887      0.52%    36,746    0.34%
       NH Two or More Races       151,980 1.57%      390,133     3.65% 238,153      2.22%
       SR Black
       (Single-race Black)       2,950,435 30.46%   3,320,513    31.00% 370,078      3.45%
       AP Black
       (Any Part Black)          3,054,098 31.53%   3,538,146    33.03% 484,048      4.52%
       NH Any Part Black         2,997,627 30.94%   3,455,484    32.26% 457,857      4.27%

* Single-race, non-Hispanic.

       36. Non-Hispanic Whites are a razor-thin majority of the 2020 population

(50.06%). Black Georgians account for one-third (33.03%) of the population and

comprise the largest minority population, followed by Latinos (10.05%).

B. Voting Age and Citizen Voting Age Populations in Georgia

       37. As shown in Figure 3, African Americans in Georgia constitute a

slightly smaller percentage of the voting age population (VAP) than the total

population. According to the 2020 Census, Georgia has a total VAP of 8,220,274 –

of whom 2,607,986 (31.73%) are AP Black. The NH White VAP is 4,342,333

(52.82%).



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Figure 3
        Georgia – 2020 Voting Age Population &2019 Estimated Citizen Voting
                    Age Population by Race and Ethnicity13

                                                               2020    2019
                                                               VAP    CVAP
                                                   2020 VAP Percent Percent
                    Total                           8,220,274 100.00% 100.00%
                    NH White 18+                    4,342,333 52.82%    .57.6%
                    Total Minority 18+              3,877,941 47.18%     42.4%
                    Latino 18+                        742,918 9.04%       5.0%
                    Single-race Black (Including
                    Black Hispanics) 18+           2,488,419    30.27%   32.9%
                    Any Part Black (Including
                    Black Hispanics) 18+            2,607,986   31.73%   33.8%


       38. The rightmost column in Figure 3 reveals that both the Black and NH

White population comprise a higher percentage of CVAP than the corresponding

VAP, owing to higher non-citizenship rates among other minority populations.

       39. According to estimates from the 1-year 2019 American Community

Survey (“ACS”), African Americans represent 33.8% of the statewide CVAP—




13 Sources:

PL94-171 Redistricting File (Census 2020);

Table S2901 – CITIZEN, VOTING-AGE POPULATION BY SELECTED CHARACTERISTICS
(1-year 2019 ACS)
https://data.census.gov/cedsci/table?q=S2901&g=0400000US13&tid=ACSST1Y2019.S2901.

2019 ACS 1-Year Estimates 1-Year Estimates-Public Use Microdata Sample
https://data.census.gov/mdat/#/search?ds=ACSPUMS1Y2019&vv=AGEP(18:99)&cv=RACBL
K(1)&rv=ucgid,CIT(1,2,3,4)&wt=PWGTP&g=0400000US13.

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about 2 percentage points higher than the 2020 AP Black VAP. The NH White

CVAP is 57.6%, nearly 5 points higher than NH White VAP in the 2020 Census.14

C. 2020 Census Spatial Distribution of Georgia’s Black Population

       40. The map in Figure 4 depicts the 2020 Black population percentage for

Georgia’s 159 counties. 67 are in the 20% to 40% range, 33 are 40% to 60%, and 8

are between 60% and 73%. The bold black boundary identifies the Atlanta MSA.

Figure 4
                    2020 Census – Black Population by County




14 Due to the COVID-19 pandemic, the 1-year 2020 ACS results will not be published.

Source:
https://www.census.gov/newsroom/press-releases/2021/changes-2020-acs-1-year.html.

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      41. Color lines on the Figure 4 map demarcate the areas I focused on to

determine prospects for additional majority-Black House districts: Region A (blue

outline), which is south Metro Atlanta; Region B (red outline), a group of Black

Belt counties around Augusta (Richmond County); and Region C (green outline), a

group of Black Belt counties around Albany (Dougherty County). A high-resolution

version of the Figure 4 map is in Exhibit E.

      42. Exhibit G-1 is a table showing 2010 and 2020 county populations by

race and ethnicity, with population change between 2010 and 2020. Exhibit G-2 is

a table showing the Black population changes between 2010 and 2020. Exhibit G-3

is a table showing 2000 and 2010 county populations by race and ethnicity, with

population change between 2000 and 2010. Exhibit G-3 is a table showing 1990

and 2000 county populations by race and ethnicity, with population change between

1990 and 2000.

D. Black Population as a Component of Total Population from 1990 to 2020

                             (1) Georgia – Statewide

      43. As shown in Figure 5, Georgia’s Black population has increased

significantly in absolute and percentage terms since 1990, from about 27% in 1990

to 33% in 2020. Over the same time period, the percentage of the population

identifying as NH White has dropped from 70% to 50%.




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   Figure 5
                           Georgia – 1990 Census to 2020 Census
                             Population by Race and Ethnicity

                         1990                  2000                  2010               2020
                        Number      Percent   Number      Percent   Number   Percent   Number   Percent
Total Population        6,478,216   100.00%   8,186,453   100.00%   9,687,653 100.0% 10,711,908 100.00%
NH White                4,543,425    70.13%   5,128,661    62.65%   5,413,920 55.88% 5,362,156 50.06%
Total Minority Pop.     1,934,791    29.87%   3,057,792    37.35%   4,273,733 44.12% 5,349,752 49.94%
Latino                    108,922     1.68%     435,227     5.32%     853,689 8.81% 1,123,457 10.49%
Black*                  1,746,565    26.96%   2,393,425    29.24%   3,054,098 31.53% 3,538,146 33.03%

   * SR Black in 1990 – AP Black 2000-2020.


                            (2) Metro Atlanta – 29-County MSA

           44. Figure 6 summarizes the obvious. The key driver of population growth

   in Georgia this century has been Metro Atlanta, led in no small measure by a large

   increase in the Black population in the area. (See Exhibit C depicting the 29-county

   MSA area with bold green lines).

   Figure 6
                      29-County MSA – Metro Atlanta – 1990 to 2020
                            Population by Race and Ethnicity

                         1990                  2000                  2010               2020
                        Number      Percent   Number      Percent   Number   Percent   Number    Percent
Total Population        3,082,308   100.00%   4,263,438   100.00%   5,286,728 100.00   6,089,815 100.00%
NH White                2,190,859    71.08%   2,576,109    60.42%                  %
                                                                    2,684,571 50.78%   2,661,835 43.71%
Total Minority Pop.       891,449    28.92%   1,687,329    39.58%   2,602,157 49.22%   3,427,980 56.29%
Latino                     58,917     1.91%     270,655     6.35%     547,894 10.36%     730,470 11.99%
Black*                    779,134    25.28%   1,248,809    29.29%   1,776,888 33.61%   2,186,815 35.91%

   * SR Black in 1990, AP Black 2000-2020.




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       45. Under the 1990 Census, today’s 29 county-MSA was 25.28% Black,

increasing to 35.91% in 2020. Since 2000, the Black population in Metro Atlanta

has climbed by 75%, from 1,248,809 to 2,186,815 in 2020.

       46. According to the 2020 Census, 56.29% of Metro Atlanta residents are

non-White—a major shift compared to the previous decade. In 2010, NH Whites

represented 50.78% of the population.

       47. According to the 2020 Census, the 11 core counties comprising the

Atlanta Regional Commission (“ARC”) service area15 account for more than half

(54.7%) of the statewide Black population. After expanding the Metro Atlanta area

to include the 29 counties in the Atlanta MSA (including the 11 ARC counties),

Metro Atlanta encompasses 61.81% of the state’s Black population.

                     (3) Region A – 5-County South Metro Atlanta

       48. The table in Figure 7 presents similar 1990 to 2020 population details

for the five south Metro Atlanta counties (Region A), where I have determined that

two additional majority-Black Senate districts and at least three additional majority-

Black House districts can be drawn.




15 https://atlantaregional.org/atlanta-region/about-the-atlanta-region.


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   Figure 7

                Region A – 5-County South Metro Atlanta – 1990 to 2020
                           Population by Race and Ethnicity

                        1990                 2000                 2010                2020
                       Number     Percent   Number     Percent   Number    Percent   Number   Percent
Total Population        271,512   100.00%    401,133   100.00%    559,735 100.00%     633,265 100.00%
NH White                227,297    83.72%    305,779    76.23%    305,092 54.51%      262,792 41.50%
Total Minority Pop.      44,215    16.28%     95,354    23.77%    254,643 45.49%      370,473 58.50%
Latino                    2,757     1.02%     11,560     2.88%     33,722 6.02%        48,287   7.63%
Black*                   38,945    14.34%     74,249    18.51%    205,426 36.70%      294,914 46.57%

   * SR Black in 1990, AP Black 2000-2020.

           49. As is readily apparent from the Figure 7 timeline, south Metro Atlanta

   has undergone a dramatic demographic transformation over the past 30 years. In

   1990, just 14.34% of the population in the 5-county south Metro Atlanta area was

   Black. By 2010, the Black population had more than doubled to reach 36.70% of

   the overall population, then climbing to 46.57% in 2020.

           50. Between 2000 and 2020, the Black population in the 5-county south

   Metro Atlanta region quadrupled, from 74,249 to 294,914. The NH White

   population in the region actually decreased during the same period.

                            (4) Region B – Eastern Black Belt

           51. In contrast to south Metro Atlanta, the Black Belt counties in the

   Augusta area have experienced a slight overall population decline since 1990, from

   331,615 to 325,164 in 2020. However, the Black population in the region has




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   grown. Figure 8 reveals that a 19% increase in the Black population since 1990 has

   been offset by a 28.7% decline in the NH White population.

   Figure 8
                      Region B – Eastern Black Belt Area - 1990 to 2020
                             Population by Race and Ethnicity
                          1990                 2000                 2010               2020
                         Number     Percent   Number     Percent   Number   Percent   Number   Percent
Total Population          331,615   100.00%    321,998   100.00%    322,852 100.00      325,164 100.00%
NH White                  174,163    52.52%    146,870    45.61%                 %
                                                                    133,467 41.34%      124,115 38.17%
Total Minority Pop.       157,452    47.48%    175,128    54.39%    189,385 58.66%      201,049 61.83%
Latino                      4,412     1.33%      7,173     2.23%     11,179 3.46%        14,751   4.54%
Black*                    149,307    45.02%    163,130    50.66%    173,238 53.66%      177,610 54.62%
   * SR Black in 1990 – AP Black 2000-2020.

           52. In 1990, the Black population in Region B represented 45.02% of the

   total population, climbing to 54.62% in 2020.

           53. The 2020 population in the 11-county area that I identified as Region B

   is sufficient to form only about 1.7 Senate districts or 5.5 House districts, which is

   below what would be necessary to create a second majority-Black Senate district or

   a sixth majority-Black House district. However, as shown in the Illustrative Senate

   and House Plans discussed in this report, this population deficit can be overcome,

   and additional majority-Black Senate and House districts can be drawn, by

   including contiguous, demographically similar Black Belt counties such as

   Baldwin, Putnam, and Wilkinson in the additional districts.




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                              (5) Region C – Western Black Belt

          54. As shown in Figure 9, the western Black Belt has experienced a

   population decline since 2010, after holding relatively stable between 1990 and

   2010. All of the population loss can be attributed to a steady decline in the NH

   White population over the past several decades

   Figure 9
                      Region C – Western Black Belt Area - 1990 to 2020
                              Population by Race and Ethnicity
                          1990                  2000                 2010                2020
                         Number      Percent   Number     Percent   Number    Percent   Number     Percent
Total Population           205,742   100.00%    214,686   100.00%    209,747 100.00      190,819   100.00%
NH White                   100,751    48.97%     90,946    42.36%                 %
                                                                      76,748 36.59%       64,553    33.83%
Total Minority Pop.        104,991    51.03%    123,740    57.64%    132,999 63.41%      126,266    66.17%
Latino                       1,485     0.72%      3,588     1.67%      7,377 3.52%         7,429     3.89%
Black*                     102,728    49.93%    118,786    55.33%    123,663 58.96%      115,621    60.59%

   * SR Black in 1990, AP Black 2000.

          55. In 1990, NH Whites constituted about half of the overall population. By

   2020, NH Whites comprised only about one-third. Over the same time period, the

   Black population grew in absolute terms from 102,728 to 115,621, representing just

   under half the population in 1990, but 60.6% of the population by 2020.

          56. There is insufficient population to create an additional majority-Black

   Senate district in Region C and the counties immediately adjacent to Region C in

   the western Black Belt. However, as shown in the illustrative plans discussed in this

   report, an additional House district can be drawn in the area.




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E. County and Municipal Socioeconomic Characteristics

       57. For background on socioeconomic characteristics by race and ethnicity

at the county and community level in Georgia, I have prepared charts based on the

5-year 2015-2019 American Community Survey. That data is compiled online16

and has been included in a compact-disk as Exhibit CD.




16
  The county level data is available at http://www.fairdata2000.com/ACS_2015_19/Georgia/ and
the community-level data is available at
http://www.fairdata2000.com/ACS_2015_19/Georgia/00_Places_2500+/.

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III.     SENATE – HISTORICAL BENCHMARK PLANS AND 2021 PLAN

A. Majority-Black Senate Districts – 1990s Plan to 2021 Plan

         58. As shown in Figure 10, despite the significant growth in Georgia’s

Black population since 2000—climbing by 1.2 million persons—the number of

majority-Black Senate districts has only inched up to 14 from 13 in the 2006 Plan,

and has remained static for the last decade.


Figure 10

         Number of Majority-Black Senate Districts by Plan – 2000 to 2021
                                                 Statewide     Metro Atlanta
                                                 Majority-      Majority-
                                                   Black          Black
                        Senate Plans17            Districts      Districts
                  1990s Plan – 2000 Census           12               7
                  2006 Plan – 2010 Census            13              10
                  2014 Plan – 2020 Census            14              10
                  2021 Plan – 2020 Census            14              10


         59. As Figure 11 reveals, despite the major changes in the composition of

the State’s population, the percentage of Black Georgians of voting age in majority-

Black Senate districts has hovered around 50% since the mid-2000s, while the

percentage of the NH White VAP in majority-White districts has stayed above 80%



17 As discussed supra n.8, I am including Senate District 41 as majority-Black under the 2014
Benchmark Senate Plan, even though it had fallen to 49.76% BVAP by the 2020 Census.
Notably, when the 2014 Benchmark Senate Plan was drawn, it had 15 total BVAP-majority
districts under the 2010 Census, including both Senate District 41 and Senate District 2 in
Savannah. In that sense, the 2021 Senate Plan actually represents a diminution of one majority-
Black district from the last districting effort.

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over the same timeframe—indicating that Black populations are disproportionately

“cracked” or divided into majority-White districts rather than placed in majority-

Black districts.18

Figure 11
    Same Race VAP in Majority-Black and Majority NH White Districts –
                              2000 to 2021
                                                Statewide %    Statewide
                                                Black VAP in  %NH White
                                                  Majority-     VAP in
                                                    Black      Majority-
                        Senate Plans              Districts* White Districts
                 1990s Plan – 2000 Census            43.51%                90.51%
                 2006 Plan – 2010 Census             53.84%                83.88%
                 2014 Plan – 2020 Census             52.29%                80.64%
                 2021 Plan – 2020 Census             52.45%                80.54%
* Including Senate District 2 for all years and Senate District 41 for 2014 and 2021.

B. 2014 Benchmark Senate Plan

       60. The map in Figure 12 displays 2014 Benchmark Senate Plan districts in

south Metro Atlanta (Region A) and in the eastern Black Belt (Region B). Labels

on the map display the district number and the BVAP percentages, according to the

2020 Census. Green labels and borders identify majority-Black districts. Exhibit H

is a higher resolution version of the Figure 12 map.




18 “Packing” describes election districts where a minority population is unnecessarily
concentrated, resulting in an overall dilution of minority voting strength in the voting plan.
“Cracking” describes election plans with one or more districts that fragment or divide the
minority population, also resulting in an overall dilution of minority voting strength in the voting
plan.

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Figure 12: 2014 Benchmark Senate Plan – Region A and Region B




      61. Exhibit I-1 contains a map packet depicting the 2014 Benchmark

Senate Plan, with corresponding Census 2010 statistics, prepared by the Georgia

Legislative & Congressional Reapportionment Office (“GLCRO”). Exhibit I-2

shows the map for the prior 2011-enacted Senate plan, and Exhibit I-3 shows the

map for the Senate plan enacted in 2006.

      62. Exhibit J-1 is a table reporting Census 2020 population statistics for the

56 districts in the 2014 Benchmark Senate Plan, as well as CVAP estimates from



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the 5-year 2015-2019 Special Tabulation.19 Exhibits J-2 and J-3 provide similar

population data for the prior, 2011-enacted and 2006-enacted plans.

       63. As a result of the dramatic population shifts in Georgia since 2010, the

2014 Benchmark Senate Plan is severely malapportioned, with an overall deviation

of 47.75%, according to the 2020 Census.

       64. Including Senate District 41 in Metro Atlanta, see supra nn.8 & 19,

2014 Benchmark Senate Plan contains 14 majority-Black districts. Fifteen districts

in the 2014 Benchmark Plan are BCVAP-majority (the 14 BVAP majority ones

plus Senate District 2 in Chatham County). Seventeen are B+L+ACVAP.

       65. Additional 2014 Benchmark Senate Plan information regarding

compactness scores, county splits, and VTD splits is reported infra for comparison

with the Illustrative Senate Plan metrics.

C. 2021 Senate Plan

       66. The map in Figure 13 displays 2021 Senate Plan districts in south Metro

Atlanta (Region A) and in the eastern Black Belt (Region B). Green labels and

borders identify majority-Black districts. Exhibit K is a higher resolution version of

the Figure 13 map.




19 https://www.census.gov/programs-surveys/decennial-census/about/voting-rights/cvap.html.




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Figure 13: 2021 Senate Plan – Region A and Region B




      67. Exhibit L contains a map packet depicting the 2021 Senate Plan, with

corresponding Census 2020 statistics, prepared by GLCRO.

      68. Exhibit M is a table reporting Census 2020 population statistics for the

56 districts in the 2021 Plan, as well as CVAP estimates from the 5-year 2015-2019

Special Tabulation.

      69. The 2021 Senate Plan contains 14 majority-Black districts (BVAP).

Fifteen are BCVAP majority (the 14 BVAP-majority plus Senate District 2 in




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Chatham County). Eighteen districts in the 2021 Senate Plan are majority

B+L+ACVAP.

      70. Additional 2021 Plan information regarding compactness scores, county

splits, VTD splits, and incumbent conflicts is reported for comparison with the

Illustrative Senate Plan described in the next section.




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IV.     ILLUSTRATIVE SENATE PLAN

A. Statewide

        71. The map in Figure 14 displays Illustrative Senate Plan districts, with the

map zoomed to identify the three additional majority Black districts (large green

labels and borders) in south Metro Atlanta (Region A) and in the Black Belt

(Regions B). Exhibit N-1 is a higher resolution version of the Figure 14 map.

Figure 14




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       72. Exhibit N-2 contains maps for each of the 19 majority-Black districts in

the Illustrative Plan.

       73. Exhibit O is a table reporting Census 2020 population statistics for the

56 districts in the Illustrative Senate Plan, as well as CVAP estimates from the 5-

year 2015-2019 Special Tabulation.

       74. The Illustrative Senate Plan contains 19 majority-Black districts

(BVAP). As with the 2014 Benchmark Senate and 2021 Senate Plans, there is an

additional BCVAP-majority district in District 2 in Chatham County. Twenty-one

districts in the Illustrative Senate Plan are majority B+L+ACVAP.

B. Additional Majority Black Districts in the Illustrative Senate Plan

       75. The text descriptions of the additional majority-Black Senate districts in

the Illustrative Senate Plan set forth below are illustrated with side-by-side

comparison map exhibits, depicting the Illustrative Senate Plan and 2021 Senate

Plan at the same scale. For ease of reference, these side-by-side pairings are also

included in Exhibits as marked below.

       76. In these maps, majority-Black districts are outlined with bold green

boundaries and labels.




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(1) South Metro Atlanta (Region A)

   Illustrative District 28 (Exhibit P-1) and 2021 Plan District 16 (Exhibit P-2)

Figure 15: Illustrative District 28 and vicinity




      77. Senate District 16 in the 2021 Senate Plan lies in the south and

southwestern part of the Atlanta Metro area. It includes parts of Fayette and

Spalding County. Both Fayette and Spalding County in particular have seen

significant, double-digit growth in their Black populations over the last decade,

including a near-doubling of the Black population in Fayette County in particular,


                                         33
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even as the White population there fell. Senate District 16 was nevertheless drawn

with a BVAP of under 23% by combining Fayette and Spalding Counties with

Whiter and more rural Pike and Lamar Counties.

Figure 16: 2021 Plan District 16 and vicinity




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      78. A majority-Black Senate District can be drawn around where 2021

Senate Plan District 16 was drawn by “unpacking” some of the Black population in

neighboring Senate Districts 34 and 44 (which include parts of Clayton County as

well as part of Fayette County in Senate District 34 and part of Dekalb County in

Senate District 44). In the 2021 Senate Plan, those neighboring districts are drawn

with around 70% and 65% BVAP. Unpacking those districts allows a majority-

Black Illustrative Senate Plan District 28 to be drawn in Fayette, Spalding, and a

neighboring part Clayton County (which has also seen 30% growth in its substantial

Black population), “uncracking” the Black population that had been drawn

into 2021 Senate Plan District 16.




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   Illustrative District 17 (Exhibit Q-1) and 2021 Plan District 17 (Exhibit Q-2)

Figure 17: Illustrative District 17 and Vicinity




      79. An additional majority-Black State Senate district can be drawn around

where Senate District 17 in the 2021 Senate Plan was drawn. Senate District 17 as

drawn in the 2021 Senate Plan, includes parts of Henry, Newton, and Walton

Counties, and all of Morgan County, and lies in the southeastern part of the Atlanta

Metro area.




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Figure 18: 2021 Plan District 17 and Vicinity




      80. Of the counties in 2021 Senate District 17: Henry County’s BVAP

increased by almost 75% in the last decade (to nearly 60%) and Newton County’s

increased by more than 45% (to almost 50% of the total VAP of the county).

Meanwhile, Dekalb and Rockdale Counties, which border Henry and Newton

Counties, also have substantial Black populations. For example, Rockdale County

is majority Black, and the county’s BVAP increased by 53% over the last decade.

Senate District 17 was nevertheless drawn in 2021 with a BVAP under 34%.



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       81. A majority-Black Senate District 17 can be drawn around where 2021

Senate Plan District 17 was drawn by “unpacking” the Black population in a

number of neighboring districts, including 2021 Senate Plan Districts 10 and 43

(which include parts of Henry, Rockdale, and Newton Counties). Under the 2021

Senate Plan, those two districts were drawn with BVAPs of over 70% and almost

65%, respectively. Unpacking those districts allows a majority-Black Illustrative

Senate Plan District 17 to be drawn in Henry as well as Rockdale and Dekalb

Counties, “uncracking” the Black population in Henry County that had been drawn

into 2021 Senate Plan District 17, which under the 2021 Senate Plan has been

combined with predominantly White populations in Walton and Morgan

Counties.20




20
 In addition, the Illustrative Senate Plan places the booming Black population of Newton
County in another majority-Black district, District 43.

                                              38
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(2) Eastern Black Belt (Region B)

  Illustrative District 23 (Exhibit R-1) and 2021 Plan District 23 (Exhibit R-2)

Figure 19: Illustrative District 23 and Vicinity




      82. Another additional majority-Black State Senate district can be drawn

around where Senate District 23 in the 2021 Senate Plan was drawn. Senate District

23 as drawn in the 2021 Senate Plan lies around the City of Augusta, including

outlying parts of Richmond County and a number of surround Black Belt counties

in the larger Augusta region, including Burke, Jefferson, Warren, and Taliaferro

Counties. As noted already, the Black population in that region has increased,


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although that growth has been offset by White population decline. Senate

District 23 was drawn with a BVAP of under 36%.

Figure 20: 2021 Plan District 23 and Vicinity




      83. An additional majority-Black State Senate district can be drawn in the

Augusta region, around where SD 23 was drawn, by “unpacking” the Black

population in Senate District 22 (central Augusta) and Senate District 26 (which

includes adjacent Black Belt counties to the west, such as Hancock County) and by

“uncracking” the Black populations in Senate District 23 and Senate District 25

(which includes additional contiguous Black Belt counties such as Baldwin


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County). This more even distribution allows a majority-Black Illustrative Senate

Plan District 23 to be drawn in the area including Richmond County and much of

the Augusta-area Black Belt counties, “uncracking” the Black population that had

been drawn into 2021 Senate Plan District 23.

C. Supplemental Plan Information

       84. Compactness scores for the Illustrative Senate Plan are within the norm.

The Exhibit S series contains compactness scores generated by the software

program Maptitude for Redistricting.

       85. The table in Figure 21 (condensed from the Exhibit S series) reports

Reock21 and Polsby-Popper22 scores for the Illustrative Senate Plan (Exhibit S-1),

alongside scores for the 2014 Benchmark Senate Plan (Exhibit S-2) and the 2021

Senate Plan (Exhibit S-3).




21 “The Reock test is an area-based measure that compares each district to a circle, which is
considered to be the most compact shape possible. For each district, the Reock test computes the
ratio of the area of the district to the area of the minimum enclosing circle for the district. The
measure is always between 0 and 1, with 1 being the most compact. The Reock test computes
one number for each district and the minimum, maximum, mean and standard deviation for the
plan.” Caliper Corporation, Maptitude For Redistricting Software Documentation.
22 The Polsby-Popper test computes the ratio of the district area to the area of a circle with the
same perimeter: 4pArea/(Perimeter2). The measure is always between 0 and 1, with 1 being the
most compact. The Polsby-Popper test computes one number for each district and the minimum,
maximum, mean and standard deviation for the plan. See Caliper Corporation, Maptitude For
Redistricting Software Documentation.

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Figure 21
                  Compactness Scores – Illustrative Senate Plan and
                     2014 Benchmark and 2021 Senate Plans

                                                  Reock                Polsby-Popper
                                            Mean        Low           Mean       Low
              Illustrative Senate Plan            .38     .17              .25    .10
              2014 Benchmark Senate Plan          .43     .14              .27    .11
              2021 Senate Plan                    .42     .18              .29    .12

        86.     Exhibit T-1 contains a county and VTD split report generated by

Maptitude for all districts in the Illustrative Senate Plan. See also Exhibit T-2 (2014

Benchmark Senate Plan) and Exhibit T-3 (2021 Senate Plan).

        87.     County and VTD splits are within the norm for a typical legislative

plan. The table in Figure 22 summarizes county and 2020 VTD splits under the

Illustrative Senate Plan, the 2014 Benchmark Senate Plan, and the 2021 Senate

Plan.

Figure 22
                   County and VTD Splits – Illustrative Plan versus
                      2014 Benchmark and 2021 Senate Plans
                                                         Unique
                                             County      County-     2020 VTD
                                              Splits     District      Splits
                                           (Populated) Combinations (Populated)
        Illustrative Senate Plan                     35           61          47
        2014 Benchmark Senate Plan                   38           65          84
        2021 Senate Plan                             29           63          37




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      88. Based on incumbent address information obtained from the Redistricting

Data Hub, the following districts in the Illustrative Senate Plan may have

incumbent conflicts: 20 and 56.

      89. Based on incumbent address information obtained from the Redistricting

Data Hub, the following districts in the 2021 Senate Plan may have incumbent

conflicts: 13 and 52.

      D. Online Interactive Map

      90. The Illustrative Senate Plan can also be viewed online in detail on the

Dave’s Redistricting Application (DRA) website via the link below.

https://davesredistricting.org/join/f029239b-b5cc-444a-89cb-6409f92d8eb9.




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V.     HOUSE – HISTORICAL BENCHMARK PLANS AND 2021 PLAN

A. Majority-Black House Districts – 1990s Plan to 2021 Plan

       91. As shown in Figure 23, and despite the significant growth in Georgia’s

Black population over the past two decades discussed earlier in this report, the

number of majority-Black House districts has climbed by just five districts from 45

(25% of districts) in the 2006 plan to 49 (27.2%) in the 2021 Plan, and has

remained more or less static for the last decade.

Figure 23

       Number of Majority- Black House Districts by Plan –2000 to 2021

                                              Statewide      Metro Atlanta
                                              Majority-       Majority-
                                                Black           Black
                        House Plans            Districts       Districts
                 1990s Plan – 2000 Census          37              22
                 2006 Plan – 2010 Census           45              30
                 2012 Plan – 2010 Census           48              32
                 2015 Plan – 2020 Census           47              31
                 2021 Plan – 2020 Census           49              33


       92. Since the enactment of the 2006 Plan, just three majority-Black districts

have been added in Metro Atlanta, even as the Black population in the 29-county

area has climbed by over 400,00 persons—the equivalent of nearly seven House

districts based on the 2020 ideal district size.

       93. Despite the nominal increase in majority-Black House districts since

2006, Figure 24 reveals that the percentage of Black Georgians of voting age in



                                            44
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majority-Black House districts is only slightly higher than in the 1990s (52% vs.

45%). Under the 2021 Plan, the percentage of the NH White population in majority-

White districts is down from the 1990s (76% vs. 90%). Still, as with the Senate,

given the 25-point Black-White gap, Black populations are disproportionately

“cracked” or divided into majority-White districts in the House as well.


Figure 24
     Same Race VAP in Majority-Black and Majority NH White Districts–
                              2000 to 2021
                                              Statewide %        Statewide
                                              Black VAP in      %NH White
                                                Majority-         VAP in
                                                  Black        Majority-White
                         House Plans            Districts*        Districts
                  1990s Plan – 2000 Census        44.81%           90.49%
                  2006 Plan – 2010 Census         44.61%           83.73%
                  2015 Plan – 2020 Census         47.94%            77.6%
                  2021 Plan – 2020 Census         51.65%           76.16%

*Including Districts that are both BVAP- and BCVAP-majority.

B. 2015 Benchmark House Plan

       94. The map in Figure 25 displays 2015 Benchmark House Plan districts in

south Metro Atlanta (Region A) and in the eastern and western Black Belt (Regions

B and C). Labels on the map display the district number and the BVAP percentages,

according to the 2020 Census. Green labels and borders identify majority-Black

districts.




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Figure 25: 2015 Benchmark House Plan – Regions A, B, and C




      95. The map depicted in Figure 25 is also included as Exhibit U.

      96. Exhibit V-1 contains a map packet depicting the Benchmark 2015

House Plan, with corresponding Census 2010 statistics, prepared by GLCRO.

Exhibit V-2 shows the map for the prior 2012-enacted House plan, and Exhibit V-

3 shows the map for the House plan enacted in 2006.

      97. Exhibit W-1 is a table reporting Census 2020 population statistics for

the 180 districts in the 2015 Benchmark House Plan, as well as CVAP estimates



                                        46
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from the 5-year 2015-2019 Special Tabulation.23 Exhibits W-2 and W-3 provide

similar population information for the prior, 2012-enacted and 2006-enacted plans.

       98. As a result of the dramatic population shifts in Georgia since 2010, the

2015 Benchmark House Plan is severely malapportioned, with an overall deviation

of 56.66%, according to the 2020 Census.

       99. The 2015 Benchmark House Plan contains 47 majority-Black districts,

with 48 BCVAP-majority districts and 62 districts that are B+L+ACVAP majority.

       100. For comparison with the Illustrative House Plan, additional 2015

Benchmark House Plan information regarding compactness scores, county splits,

VTD splits, and incumbent conflicts is reported infra.

C. 2021 House Plan

       101. The map in Figure 26 displays 2021 House Plan districts in south Metro

Atlanta (Region A) and in the eastern and western Black Belt (Regions B and C).

Green labels and borders identify majority-Black districts.




23 https://www.census.gov/programs-surveys/decennial-census/about/voting-rights/cvap.html.




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Figure 26: 2021 Plan – Regions A, B, and C




      102. A version of Figure 26 is included as Exhibit X.

      103. Exhibit Y-1 contains a map packet depicting the 2021 House Plan, with

corresponding Census 2020 statistics, prepared by GLCRO. Exhibit Y-2 is a table

reporting Census 2020 population statistics for the 180 districts in the 2021 House

Plan, as well as CVAP estimates from the 5-year 2015-2019 Special Tabulation.

      104. The 2021 House Plan contains 49 majority-Black districts, with 49

BCVAP-majority districts, and 47 that are both BVAP and BCVAP-majority.

Sixty-two districts in the 2021 House Plan are majority B+L+ACVAP.


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         105. For comparison, additional 2021 House Plan information regarding

compactness scores, county splits, VTD splits, and incumbent conflicts is reported

infra.




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VI.     ILLUSTRATIVE HOUSE PLAN

A. Statewide

        106. The map in Figure 27 displays Illustrative House Plan districts, with the

map zoomed to identify additional majority Black districts (large green labels) in

south Metro Atlanta (Region A) and in the Black Belt (Regions B and C).

Exhibit Z-1 is a higher resolution version of the Figure 27 map.

Figure 27: Illustrative Plan – New Majority-Black Districts –73, 110, 111, 144,
           and 153




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       107. Exhibit Z-2 is a table reporting Census 2020 population statistics for the

180 districts in the Illustrative House Plan, as well as CVAP estimates from the 5-

year 2015-2019 Special Tabulation.24

       108. The Illustrative House Plan contains 54 majority-Black districts

(BVAP), with 54 majority-BCVAP districts and 53 that are both BVAP and

BCVAP-majority. Sixty-nine districts in the Illustrative House Plan are majority

B+L+ACVAP.

       109. Exhibit AA contains detailed maps for the 53 districts that are both

BVAP and BCVAP-majority under the Illustrative House Plan, including the

additional majority-Black districts in the Illustrative Plan.

B. Additional Majority Black Districts in the Illustrative Plan

        110. The text descriptions of four of the additional majority-Black districts

in the Illustrative House Plan set forth below are illustrated with paired comparison

map exhibits, depicting the Illustrative House Plan and 2021 House Plan at the

same scale. For ease of reference, these side-by-side pairings are also included in

Exhibits as marked below.




24 https://www.census.gov/programs-surveys/decennial-census/about/voting-rights/cvap.html.


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       111. In these maps, majority-Black districts are outlined with bold green

boundaries and green labels.

(1) South Metro Atlanta (Region A)

  Illustrative District 73 (Exhibit AB-1) & 2021 Plan District 74 (Exhibit AB-2)

Figure 28: Illustrative Plan District 73 and Vicinity




      112. House District 74 in the 2021 House Plan lies in the south Atlanta Metro

area and includes parts of Fayette, Spalding, and Henry Counties. The BVAP of the

district as drawn is under 26%.




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Figure 29: 2021 Plan District 74 and Vicinity




      113. An additional majority-Black House District could have been drawn in

that area by “unpacking” the Black population in (among others) 2021 House Plan

District 78 (which stretches into Clayton County) and “uncracking” the Black

population in House Districts 74 and 117, both of which include counties such as

Henry County that have seen substantial Black population growth and are now

themselves majority Black. Unpacking those districts allows a majority-Black




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Illustrative House Plan District 73 to be drawn in Henry, Spalding, and a

neighboring part of Clayton County.25

   Illustrative District 110 (Exhibit AC-1) & 2021 Plan District 117 (Exhibit AC-2)

Figure 30: Illustrative Plan: District 110 and vicinity




       114. At least one additional majority-Black House district can be drawn

around where House District 117 in the 2021 House Plan was drawn. House




25 As shown on the Figure 28 map, Illustrative House Plan District 109 in Henry and Clayton
Counties is majority-BVAP (55.9%), but is just barely below the 50% BCVAP threshold
(49.97% BCVAP).

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District 117 in the 2021 House Plan lies in the south Atlanta Metro area and

includes parts of Henry and Spalding Counties. The BVAP of the district as drawn

is just under 37%, and the BVAP of the neighboring district that includes the rest of

Spalding County, District 134, is just almost 34%.

Figure 31: 2021 Plan: District 117 and Vicinity




      115. At least one additional majority-Black House District could have been

drawn in that area by (among other things) “unpacking” the Black population in

2021 House Plan District 116 (which includes part of Henry County just to the

north, closer in to the center of the Metro Atlanta area) and “uncracking” the Black


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populations in House Districts 117 and 134, bringing more of the growing Black

populations in Henry and Spalding Counties into majority-Black districts.

Unpacking those districts allows, among other things, for a majority-Black

Illustrative House Plan District 110 to be drawn in Henry and Spalding.26




26 The Illustrative House Plan includes another majority-Black district, which could be
characterized as District 111, in Henry County, or District 112, in the area around Newton
County near where 2021 House Plan District 114 was drawn. District 112 could have been drawn
by “unpacking” the Black population in (among others) House District 92 (which includes parts
of Rockdale and Dekalb counties) and thus “uncracking” the Black population in House
District 114. Both districts are depicted in the Exhibit AA series.

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(2) Eastern Black Belt (Region B)

   Illustrative Plan District 144 (Exhibit AD-1) and 2021 Plan (Exhibit AD-2)

Figure 32: Illustrative Plan: District 144 and Vicinity




       116. Another additional majority-Black House District could have

 been drawn in the area in and outside Augusta, including a number of Black

 Belt-area counties such as Baldwin, Wilkinson, and Taliaferro Counties that

 are included in non-majority-Black districts under the 2021 House Plan. In

 the 2021 House Plan, the area in and around Augusta includes five majority-

 Black districts: Districts 129 and 130 (both in Augusta entirely within



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 Richmond County), as well as Districts 128, 131, and 132.

 Figure 33: 2021 Plan: Districts 133, 149 and eastern Black Belt




      117. An additional majority-Black district could have been drawn in this area

by (among other things) “unpacking” the Black populations of those majority-Black

districts in the 2021 House Plan and also “uncracking” parts of other districts in the

2021 House Plan, such as District 133 (which includes parts of Baldwin County and

Milledgeville) and 155 (which includes Wilkinson County), where there are

substantial populations of Black voters who have been drawn into districts with

BVAPs of between 35 and 40%. Looking at the Augusta region as a whole, it is


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possible to draw six total majority-Black districts, as with Illustrative House Plan

Districts 124, 125, 126, 127, 128, and 144. Illustrative House Plan District 144, in

particular, includes substantial number of Black voters from the Augusta region

who are spread across non-majority-Black districts in the 2021 House Plan.

(3) Western Black Belt (Region C)

Illustrative District 153 (Exhibit AE-1) and 2021 Plan District 171 (Exhibit AE-2)

Figure 34: Illustrative Plan: District 153 and vicinity




      118. An additional majority-Black House District could also have been

drawn in the area south of Albany, including Dougherty, Mitchell, and Thomas


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Counties, all of which are in the southwestern portion of the Black Belt, near where

House District 171 in the 2021 House Plan was drawn. The BVAP of 2021 House

Plan District 171, which contains Mitchell County, is just under 40%. In addition,

the BVAP of neighboring 2021 House Plan District 173, which includes Thomas

County, is similarly just over 36%. And nearby Dougherty County, which contains

the majority-Black City of Albany, is split among four districts in the 2021 House

Plan, two of which (2021 House Plan Districts 151 and 152) have no Black

majority, and one of which (2021 House Plan District 153) is nearly 70% Black.

Figure 35: 2021 Plan: District 151, 153, 171 and Vicinity




                                         60
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      119. In sum, another additional majority-Black House District could have

drawn in southwest Georgia by “unpacking” the Black population in 2021 House

Plan District 153 and “uncracking” the Black populations in 2021 House Plan

Districts 171 and 173. Unpacking those districts allows a majority-Black Illustrative

House Plan District 153 to be drawn including part of Dougherty, Mitchell, and

Thomas Counties.

      120. Looking at the southwest Georgia/western Black Belt region as a whole,

it is possible to draw seven total majority-Black districts, as with Illustrative House

Plan Districts 135, 136, 138, 139, 151, 153, and 154. However, the 2021 House

Plan contains only six: 2021 House Plan Districts 137, 140, 141, 150, 153, and 154.

C. Supplemental Plan Information

      121. Compactness scores for the Illustrative House Plan are within the norm.

Exhibits BB-1 contains compactness scores generated by Maptitude for all districts

in the Illustrative House Plan, alongside scores for the 2015 Benchmark House Plan

(Exhibit BB-2) and the 2021 House Plan (Exhibit BB-3).

      122. The table in Figure 36 (condensed from the Exhibit BB series) reports

Reock and Polsby-Popper scores for the Illustrative House Plan, alongside scores

for the 2015 Benchmark House Plan and the 2021 House Plan.




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Figure 36
      Compactness Scores – Illustrative House Plan vs 2014 Benchmark
                               and 2021 House Plans
                                                Reock                Polsby-Popper
                                          Mean        Low           Mean       Low
            Illustrative House Plan             .39     .16              .27    .11
            2014 Benchmark House Plan           .39     .13              .27    .09
            2021 House Plan                     .39     .12              .28    .10

      123. In my experience, the compactness scores for the Illustrative Plan are

clearly within the normal range for a state legislative plan.

      124. County and VTD splits are also within the norm for a typical legislative

plan. The table in Figure 37 summarizes county and 2020 VTD splits under the

Illustrative Plan, the 2015 Plan, and the 2021 Plan.

Figure 37
       County and VTD Splits – Illustrative Plan vs 2006 and 2015 Plans
                                                                Unique
                                                                County-           2020 VTD
                                        County Splits           District            Splits
                                         (Populated)          Combinations       (Populated)
Illustrative House Plan                                  74              206               262
2015 Benchmark House Plan                                73              215               232
2021 House Plan                                          70              211               179

      125. Exhibit AF-1 contains a county and VTD split report generated by

Maptitude for all districts in the Illustrative House Plan. See also Exhibit AF-2

(2015 Benchmark House Plan) and Exhibit AF-3 (2021 House Plan).




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       126. Based on incumbent address information obtained from the Redistricting

Data Hub27, the following 8 districts in the Illustrative House Plan may have

incumbent conflicts: 015, 029, 138, 141, 148, 149, 154, and 173.

       127. Based on incumbent address information obtained from the

Redistricting Data Hub, the following 15 districts in the 2021 House Plan may have

incumbent conflicts: 019, 021, 031, 045, 054, 062, 087, 100, 101, 106, 118, 132,

133, 154, and 176.

       128. Exhibit AG-1 contains a table showing the district number for all

Senate incumbents under the 2014 Benchmark, 2021, and Illustrative Senate Plans.

Exhibit AG-2 contains a table showing the district number for all House

incumbents under the 2015 Benchmark, 2021, and Illustrative House Plans

D. Illustrative Plan – Online Interactive Map

       129. The Illustrative Plan can also be viewed online in detail on the Dave’s

Redistricting Application (DRA) website via the link below.

https://davesredistricting.org/join/360e975b-5f46-47f3-bb2e-37385155f028




27 https://redistrictingdatahub.org/dataset/2021-ga-state-senate-incumbent-addresses/.


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                                         ###

I reserve the right to continue to supplement my declaration in light of additional

facts, testimony and/or materials that may come to light.



Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury of the laws of the

United States that the foregoing is true and correct according to the best of my

knowledge, information and belief.



Executed on January 7, 2022:




                                            ________________________
                                               WILLIAM S. COOPER




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   William S. Cooper
   P.O. Box 16066
   Bristol, VA 24209
   276-669-8567
   bcooper@msn.com


Summary of Redistricting Work


        I have a B.A. in Economics from Davidson College in Davidson, North Carolina.

        Since 1986, I have prepared proposed redistricting maps of approximately 750

jurisdictions for Section 2 litigation, Section 5 comment letters, and for use in other efforts

to promote compliance with the Voting Rights Act of 1965. I have analyzed and prepared

election plans in over 100 of these jurisdictions for two or more of the decennial censuses –

either as part of concurrent legislative reapportionments or, retrospectively, in relation to

litigation involving many of the cases listed below.

        From 1986 to 2020, I have prepared election plans for Section 2 litigation in

Alabama, Connecticut, Florida, Georgia, Louisiana, Maryland, Mississippi, Missouri,

Montana, Nebraska, New Jersey, New York, North Carolina, Ohio, Pennsylvania, South

Carolina, South Dakota, Tennessee, Texas, Utah, Virginia, Washington, and Wyoming.

Post-2010 Redistricting Experience

        Since the release of the 2010 Census in February 2011, I have developed statewide

legislative plans on behalf of clients in nine states (Alabama, Connecticut, Florida, Georgia,

Kentucky, Mississippi, South Carolina, Texas, and Virginia), as well as over 150 local

redistricting plans in approximately 30 states – primarily for groups working to protect

minority voting rights. In addition, I have prepared congressional plans for clients in eight

states (Alabama, Florida, Georgia, Louisiana, Maryland, Ohio, Pennsylvania, South

Carolina, and Virginia).
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        In March 2011, I was retained by the Sussex County, Virginia Board of

Supervisors and the Bolivar County, Mississippi Board of Supervisors to draft new

district plans based on the 2010 Census. In the summer of 2011, both counties received

Section 5 preclearance from the U.S. Department of Justice (DOJ).

        Also in 2011, I was retained by way of a subcontract with Olmedillo X5 LLC to

assist with redistricting for the Miami-Dade County, Florida Board of Commissioners and

the Miami-Dade, Florida School Board. Final plans were adopted in late 2011 following

public hearings.

        In the fall of 2011, I was retained by the City of Grenada, Mississippi to provide

redistricting services. The ward plan I developed received DOJ preclearance in March 2012.

        In 2012 and 2013, I served as a redistricting consultant to the Tunica County,

Mississippi Board of Supervisors and the Claiborne County, Mississippi Board of

Supervisors.

        In Montes v. City of Yakima (E.D. Wash. Feb. 17, 2015) the court adopted, as a

remedy for the Voting Rights Act Section 2 violation, a seven single-member district plan

that I developed for the Latino plaintiffs. I served as the expert for the Plaintiffs in the

liability and remedy phases of the case.

        In Pope v. Albany County (N.D.N.Y. Mar. 24, 2015), the court approved, as a

remedy for a Section 2 violation, a plan drawn by the defendants, creating a new Black-

majority district. I served as the expert for the Plaintiffs in the liability and remedy phases

of the case.

        In 2016, two redistricting plans that I developed on behalf of the plaintiffs for

consent decrees in Section 2 lawsuits in Georgia were adopted (NAACP v. Fayette County,

Georgia and NAACP v. Emanuel County, Georgia).
                                                2
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        In 2016, two federal courts granted summary judgment to the plaintiffs based in part

on my Gingles 1 testimony: Navajo Nation v. San Juan County, Utah (C.D. Utah 2016) and

NAACP v. Ferguson-Florissant School District, Missouri (E. D. Mo. August 22, 2016).

        Also in 2016, based in part on my analysis, the City of Pasco, Washington admitted

to a Section 2 violation. As a result, in Glatt v. City of Pasco (E.D. Wash. Jan. 27, 2017), the

court ordered a plan that created three Latino majority single-member districts in a 6 district,

1 at-large plan.

        In 2018, I served as the redistricting consultant to the Governor Wolf interveners at

the remedial stage of League of Women Voters, et al. v. Commonwealth of Pennsylvania.

        In August 2018, the Wenatchee City Council adopted a hybrid election plan that I

developed – five single-member districts with two members at-large. The Wenatchee

election plan is the first plan adopted under the Washington Voting Rights Acts of 2018.

        In February 2019, a federal court ruled in favor of the plaintiffs in a Section 2 case

regarding Senate District 22 in Mississippi, based in part on my Gingles 1 testimony in

Thomas v. Bryant (S.D. Ms. Feb 16, 2019).

        In the summer of 2019, I developed redistricting plans for the Grand County (Utah)

Change of Form of Government Study Committee.

        In the fall of 2019, a redistricting plan I developed for a consent decree involving

the Jefferson County, Alabama Board of Education was adopted Traci Jones, et al. v.

Jefferson County Board of Education, et al.

        In May 2020, a federal court ruled in favor of the plaintiffs in a Section 2 case in

NAACP et al. v. East Ramapo Central School District, NY, based in part on my Gingles 1

testimony. In October 2020, the federal court adopted a consent decree plan I developed

for elections to be held in February 2021.
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       In May and June of 2020, I served as a consultant to the City of Quincy, Florida –

the Defendant in a Section 2 lawsuit filed by two Anglo voters (Baroody v. City of

Quincy). The federal court for the Northern District of Florida ruled in favor of the

Defendants. The Plaintiffs voluntarily dismissed the case.

       In the summer of 2020, I provided technical redistricting assistance to the City of

Chestertown, Maryland.

       I am currently a redistricting consultant and expert for the plaintiffs in Jayla Allen v.

Waller County, Texas. I testified remotely at trial in October 2020.

       Since 2011, I have served as a redistricting and demographic consultant to the

Massachusetts-based Prison Policy Initiative for a nationwide project to end prison-based

gerrymandering. I have analyzed proposed and adopted election plans in about 25 states as

part of my work.

       In 2018 (Utah) and again in 2020 (Arizona), I have provided technical assistance to

the Rural Utah Project for voter registration efforts on the Navajo Nation Reservation.

Post-2010 Demographics Experience

       My trial testimony in Section 2 lawsuits usually includes presentations of U.S.

Census data with charts, tables, and/or maps to demonstrate socioeconomic disparities

between non-Hispanic Whites and racial or ethnic minorities.

       I served as a demographic expert for plaintiffs in four state-level voting cases

related to the Covid-19 pandemic (South Carolina, Alabama, and Louisiana) and state

court in North Carolina.

       I have also served as an expert witness on demographics in non-voting trials. For

example, in an April 2017 opinion in Stout v. Jefferson County Board of Education (Case

no.2:65-cv-00396-MHH), a school desegregation case involving the City of Gardendale,
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Ala., the court made extensive reference to my testimony.

        I provide technical demographic and mapping assistance to the Food Research

and Action Center (FRAC) in Washington D.C and their constituent organizations around

the country. Most of my work with FRAC involves the Summer Food Program and Child

and Adult Care Food Program. Both programs provide nutritional assistance to school-

age children who are eligible for free and reduced price meals. As part of this project, I

developed an online interactive map to determine site eligibility for the two programs that

has been in continuous use by community organizations and school districts around the

country since 2003. The map is updated annually with new data from a Special

Tabulation of the American Community Survey prepared by the U.S. Census Bureau for

the Food and Nutrition Service of the U.S. Department of Agriculture.

Historical Redistricting Experience

        In the 1980s and 1990s, I developed voting plans in about 400 state and local

jurisdictions – primarily in the South and Rocky Mountain West. During the 2000s and

2010s, I prepared draft election plans involving about 350 state and local jurisdictions in 25

states. Most of these plans were prepared at the request of local citizens’ groups, national

organizations such as the NAACP, tribal governments, and for Section 2 or Section 5

litigation.

        Election plans I developed for governments in two counties – Sussex County,

Virginia and Webster County, Mississippi – were adopted and precleared in 2002 by the

U.S. Department of Justice. A ward plan I prepared for the City of Grenada, Mississippi was

precleared in August 2005. A county supervisors’ plan I produced for Bolivar County,

Mississippi was precleared in January 2006.

        In August 2005, a federal court ordered the State of South Dakota to remedy a
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Section 2 voting rights violation and adopt a state legislative plan I developed (Bone Shirt v.

Hazeltine).

        A county council plan I developed for Native American plaintiffs in a Section 2

lawsuit (Blackmoon v. Charles Mix County) was adopted by Charles Mix County, South

Dakota in November 2005. A plan I drafted for Latino plaintiffs in Bethlehem, Pennsylvania

(Pennsylvania Statewide Latino Coalition v. Bethlehem Area School District) was adopted

in March 2009. Plans I developed for minority plaintiffs in Columbus County, North

Carolina and Montezuma- Cortez School District in Colorado were adopted in 2009.

       Since 1986, I have testified at trial as an expert witness on redistricting and

demographics in federal courts in the following voting rights cases (approximate most

recent testimony dates are in parentheses). I also filed declarations and was deposed in

most of these cases.

Alabama
Chestnut v Merrill (2019)
Alabama State Conference of the NAACP v. Alabama (2018)
Alabama Legislative Black Caucus et al. v. Alabama et al. (2013)

Colorado
Cuthair v. Montezuma-Cortez School Board (1997)

Florida
Baroody v. City of Quincy (2020)

Georgia
Cofield v. City of LaGrange (1996)
Love v. Deal (1995)
Askew v. City of Rome (1995)
Woodard v. Lumber City (1989)

Louisiana
Terrebonne Parish NAACP v. Jindal, et al. (2017)
Wilson v. Town of St. Francisville (1996)
Reno v. Bossier Parish (1995)
Knight v. McKeithen (1994)

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Maryland
Cane v. Worcester County (1994

Mississippi
Thomas v. Bryant (2019)
Fairley v. Hattiesburg (2014)
Boddie v. Cleveland School District (2010)
Fairley v. Hattiesburg (2008)
Boddie v. Cleveland (2003)
Jamison v. City of Tupelo (2006)
Smith v. Clark (2002)
NAACP v. Fordice (1999)
Addy v Newton County (1995)
Ewing v. Monroe County (1995)
Gunn v. Chickasaw County (1995)
Nichols v. Okolona (1995)

Montana
Old Person v. Brown (on remand) (2001)
Old Person v. Cooney (1998)

Missouri
Missouri NAACP v. Ferguson-Florissant School District (2016)

Nebraska
Stabler v. Thurston County (1995)

New York
NAACP v. East Ramapo Central School District (2020)
Pope v. County of Albany (2015)
Arbor Hills Concerned Citizens v. Albany County (2003)

Ohio
A. Philip Randolph Institute, et al. v. Ryan (2019)

South Carolina
Smith v. Beasley (1996)

South Dakota
Bone Shirt v. Hazeltine (2004)
Cottier v. City of Martin (2004)

Tennessee
Cousins v. McWherter (1994)
Rural West Tennessee African American Affairs Council v. McWherter (1993)



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Texas
Jayla Allen v. Waller County, Texas

Utah
Navajo Nation v. San Juan County (2017),brief testimony –11 declarations, 2 depositions

Virginia
Smith v. Brunswick County (1991)
Henderson v. Richmond County (1988)
McDaniel v. Mehfoud (1988)
White v. Daniel (1989)

Wyoming
Large v. Fremont County (2007)
         In addition, I have filed expert declarations or been deposed in the following

cases that did not require trial testimony. The dates listed indicate the deposition date or

date of last declaration or supplemental declaration:


Alabama
People First of Alabama v. Merrill (2020), Covid-19 demographics only
Alabama State NAACP v. City of Pleasant Grove (2019)
James v. Jefferson County Board of Education (2019)
Voketz v. City of Decatur (2018)

Arkansas
Mays v. Thurston (2020)-- Covid-19 demographics only)

Connecticut
NAACP v. Merrill (2020)

Florida
Florida State Conference of the NAACP v. Lee, et al, (2021)
Calvin v. Jefferson County (2016)
Thompson v. Glades County (2001)
Johnson v. DeSoto County (1999)
Burton v. City of Belle Glade (1997)

Georgia
Dwight v. Kemp (2018)
Georgia NAACP et al. v. Gwinnett County, GA (2018
Georgia State Conference NAACP et al v. Georgia (2018)
Georgia State Conference NAACP, et al. v. Fayette County (2015)
Knighton v. Dougherty County (2002)
Johnson v. Miller (1998)
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Jones v. Cook County (1993)

Kentucky
Herbert v. Kentucky State Board of Elections (2013)

Louisiana
Power Coalition for Equity and Justice v. Edwards (2020), Covid-19 demographics only
Johnson v. Ardoin (2019
NAACP v. St. Landry Parish Council (2005)
Prejean v. Foster (1998)
Rodney v. McKeithen (1993)

Maryland
Benisek v. Lamone (2017)
Fletcher v. Lamone (2011)

Mississippi
Partee v. Coahoma County (2015)
Figgs v. Quitman County (2015)
West v. Natchez (2015)
Williams v. Bolivar County (2005)
Houston v. Lafayette County (2002)
Clark v. Calhoun County (on remand)(1993)
Teague v. Attala County (on remand)(1993)
Wilson v. Clarksdale (1992)
Stanfield v. Lee County(1991)

Montana
Alden v. Rosebud County (2000)

North Carolina
Lewis v. Alamance County (1991)
Gause v. Brunswick County (1992)
Webster v. Person County (1992)

Rhode Island
Davidson v. City of Cranston (2015)

South Carolina
Thomas v. Andino (2020), Covid-19 demographics only
Vander Linden v. Campbell (1996

South Dakota
Kirkie v. Buffalo County (2004
Emery v. Hunt (1999)

Tennessee
NAACP v. Frost, et al. (2003)

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Virginia
Moon v. Beyer (1990)

Washington
Glatt v. City of Pasco (2016)
Montes v. City of Yakima (2014
                                     ###




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Exhibit B – Methodology and Sources

      1.     In the preparation of this report, I analyzed population and geographic

data from the Decennial Census and the American Community Survey.

      2.     For my redistricting analysis, I used a geographic information system

(GIS) software package called Maptitude for Redistricting, developed by the

Caliper Corporation. This software is deployed by many local and state governing

bodies across the country for redistricting and other types of demographic analysis.

      3.     The geographic boundary files that I used with Maptitude are created

from the U.S. Census 1990-2010 TIGER (Topologically Integrated Geographic

Encoding and Referencing) files.

      4.     I used population data from the 1990-2020 PL 94-171 data files

published by the U.S. Census Bureau. The PL 94-171 dataset is published in

electronic format and is the complete count population file designed by the Census

Bureau for use in legislative redistricting. The file contains basic race and ethnicity

data on the total population and voting-age population found in units of Census

geography such as states, counties, municipalities, townships, reservations, school

districts, census tracts, census block groups, precincts (called voting districts or

“VTDs” by the Census Bureau) and census blocks.

      5.     I obtained 2020 block-level disaggregated citizenship (2015-19 ACS

      data from the Redistricting Data Hub.


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       6.     The attorneys for the plaintiffs provided me with incumbent addresses

from the Redistricting Data Hub.

       7.     For my analysis, I also relied on shapefiles for current and historical

legislative plans available on the website of the Legislative and Congressional

Reapportionment Office.

       8.     I developed the illustrative plans presented in this report using

Maptitude for Redistricting, The Maptitude for Redistricting software processes the

TIGER files to produce a map for display on a computer screen. The software also

merges demographic data from the PL 94-171 files to match the relevant decennial

Census geography.

       9.     I also reviewed and used data from the American Community Survey

(“ACS”) conducted by the Census Bureau – specifically, the 1-year 2019 ACS, the

5-year 2015-2019 ACS, and the 5-year 2015-2019 ACS Special Tabulation of

citizen population and voting age population by race and ethnicity (prepared by the

Census Bureau for the U.S. Department of Justice) and available from the link

below:

https://www.census.gov/programs-surveys/decennial-census/about/voting-rights/cvap.html

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                   EXHIBIT C
Georgia: 2020   Core Based Statistical
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                                                FiledCounties
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                                                                       TENNESSEE
                                                                                                                                                                                                                                                                    N
                                                                                                                                                                       NORTH CAROLINA

                                           Chattanooga-
        Chattanooga                         Cleveland-
                                              Dalton
          Dade            Catoosa                                       Fannin                           Towns              Rabun
                                                  Dalton                                      Union                                                                                                 Combined Statistical Area
                 Walker          Whitfield        Murray                                                                                                                                            Metropolitan Statistical Area
                                                                   Gilmer
                                                                                                        White      Cornelia                                                                         Micropolitan Statistical Area
                                                                                          Lumpkin                         am Toccoa
           Summerville               Calhoun                                                                              rsh                                                                       STATE
             Chattooga                                                                                               a be    Stephens
                                          Gordon               Pickens                                        ll e H                                                                                County
                                                                                                           vi
                                                                                  Dawson
                                                                                                         es
                                                                                                      in               Banks            Franklin         Hart
                    Rome                                                                            Ga Hall
                     Floyd                 Bartow              Cherokee            Forsyth
                                                                                                                Jefferson                Madison              Elbert
                                                                                                                   Jackson
                   Cedartown                 Atlanta-Sandy Springs-
                          Polk                     Alpharetta                                             Barrow
                                                                                                                                 Clarke
                                                                                                                                              Athens-
                                                                   Gwinnett
                                         Paulding           Cobb                                                                              Clarke
                                                                                                                                              County
                    Haralson
                                     Atlanta--Athens-Clarke County--                                                       Oconee
                                                                                                                                           Oglethorpe              Wilkes             Lincoln
                                              Sandy Springs          Walton
                                                                               DeKalb
                                             Douglas
                                                                                              lea




                                                                                                                                                                                                                 Augusta-Richmond
                                                                                           c kd




                                                       Fulton                                                          Morgan                Greene          Taliaferro
                                                                                        Ro




                           Carroll                                     Clayton
                                                                                                    Newton                                                                      McDuﬃe
                                                                                                                                                                                                Columbia              County
                                                                                   Henry
                                                              Fayette                                                                                                  Warren
                                             Coweta                                                                                                                                                   Richmond
                           Heard
                                                                            Spalding
                                                                                               Butts
                                                                                                              Jasper             Putnam
                                                                                                                                               Milledgeville
                                                                                                                                                                                                                                              SOUTH
                                                                                                                                                                          Glascock
                                                                                                                                                     Hancock
                                                                                                                                                                                                                                             CAROLINA
                                                                       Pike                                        Macon-               Baldwin
                                                                                                                                                                                                              Burke
                                                                                  Lamar
                                 Troup        Meriwether                                        Monroe              Bibb                                                              Jeﬀerson
                                                                                                                   County                                       Washington
         LaGrange                                                    Thomaston                                      Jones
                                                                         Upson                             Bibb
                                                                                        Macon-Bibb County--                                  Wilkinson                                                          Jenkins            Screven
                                   Columbus                                               Warner Robins
                                                             Talbot                                                                                                       Johnson
                                         Harris                                              Crawford
                                                                                                                            Twiggs
                                                                                                                                                                                            Emanuel
                                                                               Taylor                  Peach
                                         Muscogee
                                                                                                           Warner                                        Dublin
                                                                                                           Robins
                                                                                                                                  Bleckley                Laurens
                                                                                                                                                                                Treutlen                   Candler      Statesboro Savannah
                                                                                                                                                                                                                               Bulloch        Eﬃngham
                 Columbus- Chattahoochee Marion                                         Macon            Houston
                  Auburn-
                                                                                                                                                                                      ery




                                                                         Schley                                          Pulaski
                                                                                                                                                                                       om




                  Opelika                                                                                                                     Dodge                                                                                      Savannah-
                                                                                                                                                                                   ntg




                                                                                                        Dooly                                                                               Vidalia                    Evans
                                                                                                                                                                   Wheeler                                                               Hinesville-
                                                                                                                                                                                Mo




                                                                                                                                                                                            Toombs
                                          Stewart
                                                            Webster
                                                                              Americus                                                                                                                     Tattnall
                                                                                                                                                                                                                                         Statesboro
                                                                               Sumter                                                                                                                                                                           Chatham
                                                                                                                           Wilcox
                                                                                                       Cordele                                               Telfair
          Eufaula            Quitman
                                                                                                         Crisp                                                                                                                     Hinesville           Bryan

                                                                                  Albany                                          Ben Hill                                Jeﬀ Davis             Appling
                                             Randolph               Terrell                                                                                                                                                     Long         Liberty
                                                                                       Lee
                                                                                                                Turner                    Fitzgerald
                                  Clay

                                                                                                                                           Irwin             Douglas                    Bacon                     Jesup
                                                     Calhoun                  Dougherty               Worth                                                                                                           Wayne
  ALABAMA                                                                                                              Tifton
                                                                                                                                                                Coﬀee
                                                                                                                                                                                                                                             McIntosh
                                                                                                                          Tift
                                                                                                                                                                                                    Pierce
                                          Early                Baker                                                                                          Atkinson
                                                                                                                                          Berrien
                                                                                                                                                                                                                                       Brunswick
                                                                               Mitchell                Moultrie                                                                  Waycross                       Brantley                 Glynn
                                                  Miller                                                Colquitt                 Cook                                                  Ware

                                                                                                                                                    Lanier
                                     Seminole                                            Thomasville                                                                                                                            St. Marys
                                                                                               Thomas                                                                  Clinch
                                                                                                                                                                                                      Charlton                    Camden
                                                    Bainbridge                 Grady
                                                                                                                                        Valdosta
                                                           Decatur                                                  Brooks                Lowndes

                                                                                                                                                             Echols
                                                                                                                                                                                                                       Jacksonville-
                                                                                                                                                                                                                        St. Marys-
 Statistical area titles and boundary delineations
                                                                                                                                                                                                                          Palatka
    are based on March 2020 delineation files
 released by the U.S. Office of Management and
                                                                                                                       FLORIDA
 Budget. All other names and boundaries are as                                                                                                                                                                                                             20 Miles
                 of January 1, 2020.

U.S. Census Bureau, Population Division
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Appendix A: Sample Selection
This analysis relied on three measures to select the Black Belt school systems: historical
data of enslaved labor, current enrollments of Black students and current enrollments of
students living in poverty. School systems were considered if they had one of the following
criteria: a majority-Black student population, majority of students living in poverty and a
history of enslaved labor. Enslaved labor data is based on the 1860 U.S. Census data of
the distribution of enslaved populations. A review of the data showed a normal distribution
of enslaved people as a portion of the population except for a dip in the number of
counties with 30 to 39 percent enslaved. The following chart displays the drop in enslaved
populations and the subsequent increase in the number of counties that held 40 to 49
percent enslaved people.


                       Distribution of Enslaved Populations (1860)
                    Number of school systems by percent of enslaved population

 40
 35
 30
 25
 20
 15
 10
  5
  0
         0 to 9     10 to 19    20 to 29     30 to 39      40 to 49   50 to 59    60 to 69    70 to 79


 Source: Distribution of Slave Population of the Southern States of the United States, U.S. Census, 1861



This sharp increase of counties and cities that contained more than 40 percent of their
population enslaved made for a natural threshold for this analysis. This analysis
considered all school systems that currently operate in an area that previously had
enslaved people greater than 40 percent of the population as having a history of slavery.

School systems that met two of the criteria were included in the selection. Of the
remaining systems, the current enrollment had to exceed 30 percent Black and 30


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percent living in poverty. This threshold made it possible that even if the school system
were not majority Black, Black students might represent a plurality of the student body.
Metro Atlanta school systems were excluded due to the unique challenges and
opportunities that come with educating in the region. A table with the data is below, with
Black Belt districts highlighted.

                                 Slave Population      Percent Black          Percent in
        System Name
                                      (1860)              (2018)            Poverty (2018)
 Appling County                        18%                 23%                   44%
 Atkinson County                       23%                 16%                   43%
 Atlanta Public Schools                17%                 74%                   52%
 Bacon County                          18%                 22%                   43%
 Baker County                          70%                 64%                   68%
 Baldwin County                        55%                 66%                   53%
 Banks County                          23%                  2%                   28%
 Barrow County                         32%                 13%                   25%
 Bartow County                         27%                 10%                   26%
 Ben Hill County                       15%                 42%                   48%
 Berrien County                        13%                 12%                   40%
 Bibb County                           42%                 73%                   55%
 Bleckley County                       47%                 26%                   37%
 Brantley County                       20%                  3%                   40%
 Bremen City                            8%                  6%                   13%
 Brooks County                         52%                 53%                   54%
 Bryan County                          59%                 16%                   14%
 Buford City                           20%                 11%                   15%
 Bulloch County                        38%                 37%                   39%
 Burke County                          71%                 65%                   52%
 Butts County                          48%                 32%                   41%
 Calhoun City                          21%                  6%                   23%
 Calhoun County                        56%                 93%                   74%
 Camden County                         77%                 22%                   27%
 Candler County                        27%                 29%                   46%
 Carroll County                        16%                 17%                   29%
 Carrollton City                       16%                 33%                   29%
 Cartersville City                     27%                 23%                   24%
 Catoosa County                        14%                  3%                   23%
 Charlton County                       31%                 29%                   38%


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                           Slave Population     Percent Black          Percent in
       System Name
                                (1860)             (2018)            Poverty (2018)
Chatham County                   49%                57%                   40%
Chattahoochee County             48%                27%                   32%
Chattooga County                 29%                 9%                   44%
Cherokee County                  11%                 8%                   10%
Chickamauga City                 15%                 0%                   11%
Clarke County                    51%                49%                   46%
Clay County                      46%                95%                   74%
Clayton County                   28%                70%                   42%
Clinch County                    15%                34%                   46%
Cobb County                      27%                31%                   15%
Coffee County                    23%                31%                   45%
Colquitt County                   8%                27%                   49%
Columbia County                  70%                20%                   15%
Commerce City                    32%                11%                   27%
Cook County                      13%                33%                   46%
Coweta County                    49%                23%                   20%
Crawford County                  56%                22%                   40%
Crisp County                     46%                58%                   50%
Dade County                      10%                 1%                   22%
Dalton City                      17%                 5%                   18%
Dawson County                     9%                 1%                   22%
Decatur City                     26%                21%                    9%
Decatur County                   50%                50%                   49%
DeKalb County                    26%                62%                   41%
Dodge County                     47%                35%                   45%
Dooly County                     46%                72%                   52%
Dougherty County                 73%                89%                   64%
Douglas County                   24%                53%                   28%
Dublin City                      47%                91%                   72%
Early County                     66%                70%                   59%
Echols County                    21%                 2%                   52%
Effingham County                 46%                15%                   20%
Elbert County                    55%                34%                   42%
Emanuel County                   26%                42%                   53%
Evans County                     27%                35%                   54%


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                           Slave Population     Percent Black          Percent in
       System Name
                                (1860)             (2018)            Poverty (2018)
Fannin County                     3%                 0%                   31%
Fayette County                   29%                28%                   11%
Floyd County                     39%                 7%                   28%
Forsyth County                   12%                 4%                    6%
Franklin County                  18%                10%                   36%
Fulton County                    17%                42%                   23%
Gainesville City                 14%                18%                   35%
Gilmer County                     3%                 0%                   26%
Glascock County                  31%                 8%                   29%
Glynn County                     73%                35%                   38%
Gordon County                    21%                 2%                   28%
Grady County                     58%                34%                   46%
Greene County                    67%                47%                   41%
Gwinnett County                  20%                32%                   20%
Habersham County                 13%                 2%                   29%
Hall County                      14%                 5%                   23%
Hancock County                   68%                96%                   63%
Haralson County                   8%                 2%                   40%
Harris County                    56%                16%                   16%
Hart County                      25%                23%                   36%
Heard County                     36%                 9%                   36%
Henry County                     42%                53%                   25%
Houston County                   69%                38%                   30%
Irwin County                     15%                32%                   42%
Jackson County                   32%                 6%                   25%
Jasper County                    65%                23%                   41%
Jeff Davis County                23%                15%                   43%
Jefferson City                   32%                 8%                   13%
Jefferson County                 59%                68%                   56%
Jenkins County                   71%                52%                   55%
Johnson County                   29%                42%                   50%
Jones County                     66%                25%                   29%
Lamar County                     47%                32%                   37%
Lanier County                    30%                25%                   43%
Laurens County                   47%                29%                   39%


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                           Slave Population     Percent Black          Percent in
      System Name
                                (1860)             (2018)            Poverty (2018)
Lee County                       52%                21%                   28%
Liberty County                   73%                53%                   36%
Lincoln County                   69%                38%                   40%
Long County                      74%                26%                   38%
Lowndes County                   46%                22%                   28%
Lumpkin County                    9%                 1%                   28%
Macon County                     58%                81%                   53%
Madison County                   34%                 9%                   33%
Marietta City                    27%                39%                   23%
Marion County                    48%                34%                   42%
McDuffie County                  70%                55%                   52%
McIntosh County                  74%                42%                   44%
Meriwether County                57%                58%                   45%
Miller County                    36%                38%                   46%
Mitchell County                  37%                59%                   54%
Monroe County                    64%                24%                   38%
Montgomery County                33%                32%                   56%
Morgan County                    70%                26%                   30%
Murray County                    20%                 0%                   29%
Muscogee County                  45%                58%                   40%
Newton County                    45%                56%                   40%
Oconee County                    51%                 4%                    9%
Oglethorpe County                65%                17%                   33%
Paulding County                   8%                24%                   19%
Peach County                     56%                51%                   46%
Pelham City                      37%                56%                   55%
Pickens County                    5%                 1%                   24%
Pierce County                    12%                 9%                   33%
Pike County                      47%                 8%                   21%
Polk County                      39%                14%                   42%
Pulaski County                   47%                40%                   50%
Putnam County                    71%                37%                   47%
Quitman County                   47%                72%                   57%
Rabun County                      6%                 1%                   33%
Randolph County                  47%                96%                   66%


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                           Slave Population     Percent Black          Percent in
      System Name
                                (1860)             (2018)            Poverty (2018)
Richmond County                  40%                74%                   52%
Rockdale County                  45%                67%                   39%
Rome City                        39%                35%                   38%
Schley County                    51%                16%                   26%
Screven County                   55%                47%                   47%
Seminole County                  50%                41%                   50%
Social Circle City               42%                22%                   29%
Spalding County                  44%                47%                   45%
Stephens County                  13%                13%                   40%
Stewart County                   59%                95%                   61%
Sumter County                    52%                72%                   57%
Talbot County                    63%                91%                   53%
Taliaferro County                63%                77%                   61%
Tattnall County                  27%                25%                   46%
Taylor County                    40%                41%                   42%
Telfair County                   31%                41%                   52%
Terrell County                   46%                93%                   74%
Thomas County                    58%                35%                   41%
Thomaston-Upson County           49%                35%                   42%
Thomasville City                 58%                57%                   41%
Tift County                      23%                35%                   44%
Toombs County                    27%                18%                   54%
Towns County                      4%                 1%                   29%
Treutlen County                  33%                40%                   47%
Trion City                       29%                 1%                   15%
Troup County                     62%                43%                   36%
Turner County                    23%                63%                   57%
Twiggs County                    65%                62%                   55%
Union County                      3%                 0%                   24%
Valdosta City                    46%                75%                   59%
Vidalia City                     27%                50%                   43%
Walker County                    15%                 6%                   30%
Walton County                    42%                23%                   27%
Ware County                      17%                36%                   48%
Warren County                    55%                91%                   67%


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                                      Slave Population          Percent Black            Percent in
          System Name
                                           (1860)                  (2018)              Poverty (2018)
 Washington County                          52%                     64%                     50%
 Wayne County                               28%                     22%                     41%
 Webster County                             46%                     44%                     45%
 Wheeler County                             33%                     36%                     49%
 White County                                8%                      2%                     30%
 Whitfield County                           17%                      1%                     20%
 Wilcox County                              20%                     34%                     44%
 Wilkes County                              70%                     51%                     49%
 Wilkinson County                           42%                     55%                     52%
 Worth County                               23%                     34%                     46%
Source: Institute of Taxation and Economic Policy, February 2019; "Who Pays? A Distributional Analysis of
the Tax Systems in All 50 States," Institute on Taxation and Economic Policy, October 2018


Appendix B: Methods
This analysis focuses on K-12 public education funding and outcomes as a measure of the
state’s responsibility to its citizens. Schools operate in a complex environment of federal
and state laws and local district decisions. The state constitution outlines the ultimate
responsibility for public education, however.

For decades school finance experts studied state funding systems by comparing inputs, or
investments, meaning that two similar students, regardless of the location of their schools,
should be provided similar funding amounts. 47 Additionally, if there were notable
differences between students that affected the school program each would require, then
different funding amounts might also be required. It is for this very reason that students
with disabilities are provided more funding than students without disabilities. 48 This focus
on inputs led to the McDaniel case mentioned in the report’s timeline. The McDaniel case
was a primary driver for state policymakers to draft and pass the Quality Basic Education
Act, an overhaul to the state’s education funding formula, in 1985. 49

More recently, education finance has been analyzed through outputs, or outcomes.
Instead of solely judging a funding system by the amount of money provided, states have
been held accountable for the level of student performance. 50 The question no longer
stops at whether funding amounts are equal, but whether they are adequate to produce
high levels of learning for students across the state. This analysis considers various inputs
such as staffing, budgets and educational opportunities, but the focus remains on outputs.




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                     Regional Commissions
                                                                            State of Georgia
Dade        Catoosa                               Fannin                Union       Towns           Rabun

                  Whitfield
                                   Murray                                          Georgia
       Walker                                 Gilmer                               White
       Northwest Georgia                                                       Habersham
                                                                  Lumpkin Mountains
                                                                                       Stephens
  Chattooga                Gordon            Pickens
                                                              Dawson
                                                                          Hall  Banks Franklin                               Hart
           Floyd            Bartow            Cherokee          Forsyth
                                                                                           Jackson             Madison             Elbert

            Polk          Paulding
                                         Atlanta                                   Barrow
                                   Cobb           Gwinnett                                          Clarke
                                        Regional                                                 Oconee
                                                                                                           Oglethorpe
                                             DeKalb
          Haralson
                                     Commission                                     Walton         Northeast                           Wilkes            Lincoln
                             Douglas
                                                      Clayton
                                                                   Rockdale                         Georgia
                Carroll              Fulton                                                     Morgan                            Taliaferro       McDuffie Columbia
                                                                        Newton                                    Greene
                                                               Henry
                                             Fayette                                                                                        Warren
                              Coweta                                                                Putnam                                                           Richmond
                Heard                                                      Butts     Jasper
                                                        Spalding                                                           Hancock             Glascock
                  Three Rivers
                                 Meriwether           Pike      Lamar Monroe
                                                                                               Jones       Baldwin          Central Savannah River Area
                   Troup                                                                                                                                                      Burke

                                                         Upson                  Middle Georgia                                      Washington           Jefferson
                                                                                        Bibb                     Wilkinson                                                    Jenkins
                          Harris                                                                                                               Johnson                                     Screven
                                             Talbot                     Crawford                  Twiggs
                                                             Taylor                                                                                          Emanuel
                          Muscogee                                              Peach
                                            Marion                                   Houston                                 Laurens
                                                                                                        Bleckley                                                                        Bulloch
                          Chattahoochee River Valley
                                                                                                                                                 Treutlen              Candler
                                                                                                                 Heart of Georgia-Altamaha                                                            Effingham
                                           Schley Macon                                         Pulaski
                                                                                                                  Dodge                            Montgomery
                                                                                 Dooly                                                                                            Evans
                           Stewart                                                                                                                                     Tattnall                   Bryan
                                            Webster          Sumter                                                                     Wheeler            Toombs
                                                                                                  Wilcox                                                                                                          Chatham
                                                                                                                          Telfair
                   Quitman
                                                                                   Crisp
                                                                                                                                                                                          Coastal Georgia
                              Randolph          Terrell          Lee                                                                        Jeff Davis
                                                                                         Turner                 Ben Hill                                     Appling                    Long         Liberty

                          Clay                                                                                  Irwin               Coffee               Bacon                  Wayne
                                     Calhoun              Dougherty             Worth            Tift                                                                                                McIntosh
                            Early                                                                              Berrien
                                               Baker                                                                                                               Pierce
                                                                                                                                      Atkinson
                                               Southwest Georgia
                                   Miller                                          Colquitt
                                                                                                                   Southern Georgia                                         Brantley
                                                                                                                                                                                                  Glynn
                                                             Mitchell                                   Cook
                                                                                                                         Lanier                           Ware
                          Seminole
                                        Decatur                           Thomas                                                        Clinch                                             Camden
                                                             Grady                         Brooks                                                                  Charlton
                                                                                                          Lowndes
                                                                                                                            Echols




                                                                                                                                                                                               Effective July 1, 2021
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                                                                                                     2010 -2020 Change
                                                                                                     Black                Black      % Black
County (Metro                                                                      NH18+   Pop        Pop    18+ Pop     18+Pop      18+Pop
Atlanta in Bold) 2020 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                        18+ Latino White  Change    Change Change        change      change     MSAs
APPLING              18444    3647      1825    12674    13958    2540       1118   10048     208        164       416         121        5.00%
ATKINSON              8286    1284      2048     4801     6129     937       1282    3787     -89       -216       184        -103       -9.90% Douglas,
BACON                11140    1970       875     8103     8310    1245        547    6374      44        182        40          31        2.55%
BAKER                 2876    1178       143     1514     2275     932         77    1235    -575       -459      -375        -291      -23.79%
BALDWIN              43799   18985      1139    22432    35732   14515        835   19377   -1921       -300      -637         488        3.48% Milledgeville,
BANKS                18035      589     1164    15578    13900     365        721   12278    -360        103       148          14        3.99%
BARROW               83505   11907     10560    55582    62195    8222       6726   43241   14138       3287     12417        2553       45.03% Atlanta-Sandy Springs
BARTOW              108901   13395     10751    80159    83570    9377       6817   63759    8744       2365     10213        2083       28.56% Atlanta-Sandy Springs
BEN HILL             17194    6537      1054     9219    13165    4745        653    7459    -440        320       199         498       11.73% Fitzgerald,
BERRIEN              18160    2198      1045    14396    13690    1499        622   11181   -1126         53      -657          66        4.61%
BIBB                157346   88865      6737    56787 120902     64270       4734   47979    1799       6394      5474        7743       13.70% Macon-Bibb County,
BLECKLEY             12583    2951       469     8867     9613    2036        311    7032    -480       -682      -501        -672      -24.82%
BRANTLEY             18021      733      326    16317    13692     470        212   12522    -390        130       174          67       16.63% Brunswick,
BROOKS               16301    5958       955     9066    12747    4357        635    7483      58        164       354         212        5.11% Valdosta,
BRYAN                44738    7463      3269    31321    31828    5025       1919   23033   14505       2837     10452        2048       68.79% Savannah,
BULLOCH              81099   24375      4180    49712    64494   18220       3021   41041   10882       4369      8670        3305       22.16% Statesboro,
BURKE                24596   11430       777    11941    18778    8362        494    9566    1280       -282      2047         501        6.37% Augusta-Richmond Coun
BUTTS                25434    7212       803    16628    20360    5660        559   13510    1779        595      2030         564       11.07% Atlanta-Sandy Springs
CALHOUN               5573    3629       149     1766     4687    2998         90    1567   -1121       -520      -687        -264       -8.09%
CAMDEN               54768   11072      3658    37203    41808    7828       2457   29410    4255        508      4947         818       11.67% St. Marys,
CANDLER              10981    2807      1378     6567     8241    2009        835    5229     -17         76        62          59        3.03%
CARROLL             119148   24618      9586    80725    90996   17827       6129   63803    8621       3049      8593        2916       19.56% Atlanta-Sandy Springs
CATOOSA              67872    2642      2341    59280    52448    1684       1492   46578    3930        849      4446         642       61.61% Chattanoo, TN-
CHARLTON             12518    2798      2036     7532    10135    2147       1971    5929     347       -764       606        -654      -23.35%
CHATHAM             295291 115458      23790 139433 234715       85178     16551 119161     30163       6030     29594        7835       10.13% Savannah,
CHATTAHOOCHEE         9565    1825      1610     5403     7199    1287       1160    4212   -1702       -483     -1015        -284      -18.08% Columbus, -AL
CHATTOOGA            24965    2865      1297    20079    19416    2235        733   15885   -1050       -226      -741        -306      -12.04% Summerville,
CHEROKEE            266620   21687     32111 197867 202928       14976     20915 156155     52274       7817     47502        6222       71.08% Atlanta-Sandy Springs
CLARKE              128671   33672     14336    72201 106830     24776     10213    64531   11957       1589     10539        1713        7.43% Athens-Clarke County,
CLAY                  2848    1634        41     1143     2246    1231         19     973    -335       -311      -220        -153      -11.05%
CLAYTON             297595 216351      42546    25902 220578 158854        27378    23396   38171      40374     36133       37475       30.87% Atlanta-Sandy Springs
CLINCH                6749    2096       253     4256     5034    1406        156    3372     -49        157        79         151       12.03%
COBB                766149 223116 111240 369182 591848 166141              74505 303300     78071      42151     80257       41430       33.22% Atlanta-Sandy Springs

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                                                                                                       2010 -2020 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2020 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
COFFEE                 43092   12575      5430    24158    32419    9191       3324   19146     736        981      1164         972        11.83% Douglas,
COLQUITT               45898   10648      8709    25588    34193    7461       5467   20507     400        181      1279         440         6.27% Moultrie,
COLUMBIA              156010   32516     11858    99111 114823     22273       7355   76070   31957      12635     24580        9062        68.59% Augusta-Richmond Coun
COOK                   17229    5014      1134    10658    12938    3595        704    8310      17        221       408         325         9.94%
COWETA                146158   28289     11053    99421 111155     20196       7384   78073   18841       5130     18670        4501        28.68% Atlanta-Sandy Springs
CRAWFORD               12130    2455       415     8866     9606    1938        287    7079    -500       -448      -156        -241       -11.06% Macon-Bibb County,
CRISP                  20128    9194       634     9892    15570    6603        414    8248   -3311      -1036     -1747        -214        -3.14% Cordele,
DADE                   16251      228      364    14786    12987     140        243   11925    -382         40       -60            4        2.94% Chattanoo, TN-
DAWSON                 26798      392     1605    23544    21441     249       1047   19183    4468        203      4194         146      141.75% Atlanta-Sandy Springs
DECATUR                29367   12583      1911    14280    22443    9189       1196   11586    1525        984      1683        1112        13.77% Bainbridge,
DEKALB                764382 407451      81471 215895 595276 314230          55506 180161     72489      22898     68519       34330        12.27% Atlanta-Sandy Springs
DODGE                  19925    6148       620    12865    15709    4725        406   10360   -1871       -480     -1010          -94       -1.95%
DOOLY                  11208    5652       797     4611     9187    4526        493    4029   -3710      -1859     -2572       -1168       -20.51%
DOUGHERTY              85790   61457      2413    20631    66266   45631       1591   17909   -8775      -2790     -3965         648         1.44% Albany,
DOUGLAS               144237   74260     16035    49877 108428     53377     10212    41416   11834      20007     13558       17860        50.29% Atlanta-Sandy Springs
EARLY                  10854    5688       186     4813     8315    4075        113    3985    -154        178       208         284         7.49%
ECHOLS                  3697      193     1091     2328     2709     121        667    1856    -337         10      -142          -18      -12.95% Valdosta,
EFFINGHAM              64769   10035      3492    48204    47295    6831       2054   36237   12519       2578      9951        1888        38.20% Savannah,
ELBERT                 19637    5520       996    12610    15493    4122        660   10322    -529       -537        26        -210        -4.85%
EMANUEL                22768    7556       993    13815    17320    5404        589   11013     170       -112       470         135         2.56%
EVANS                  10774    3273      1237     6038     8127    2410        731    4826    -226         19       -36           90        3.88%
FANNIN                 25319      199      753    23351    21188     133        505   19721    1637         84      2037           62       87.32%
FAYETTE               119194   32076      9480    68144    91798   23728       6168   55102   12627       9578     13330        8373        54.53% Atlanta-Sandy Springs
FLOYD                  98584   15606     11466    67747    76295   11064       7167   55088    2267       1175      3423        1136        11.44% Rome,
FORSYTH               251283   13222     25226 159407 181193        8751     16204 122017     75772       7917     59087        5460      165.91% Atlanta-Sandy Springs
FRANKLIN               23424    2207      1121    19262    18307    1523        678   15466    1340        170      1179           95        6.65%
FULTON               1066710 477624      86302 404793 847182 368635          61914 340541 146129         60732 146287          62029        20.23% Atlanta-Sandy Springs
GILMER                 31353      296     3599    26365    25417     161       2158   22187    3061         84      3354           53       49.07%
GLASCOCK                2884      226       52     2573     2236     167         31    2003    -198        -39       -33          -18       -9.73%
GLYNN                  84499   22098      6336    52987    66468   15620       4116   44302    4873        633      6073        1061         7.29% Brunswick,
GORDON                 57544    2919      8957    43317    43500    1939       5592   34084    2358        527      3189         323        19.99% Calhoun,
GRADY                  26236    7693      3273    14715    19962    5678       1857   11968    1225        363      1378         563        11.01%
GREENE                 18915    6027      1289    11126    15358    4470        826    9675    2921       -178      2661           62        1.41%

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                                                                                                       2010 -2020 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2020 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
GWINNETT              957062 287687 220460 310583 709484 202762 146659 252041 151741                     86155 138870          71745        54.76% Atlanta-Sandy Springs
HABERSHAM              46031    2165      6880    34694    35878    1675       4115   28299    2990        498      3141         396        30.96% Cornelia,
HALL                  203136   17006     57010 120418 153844       12094     36146    98800   23452       2609     24326        2332        23.89% inesville,
HANCOCK                 8735    6131        63     2413     7487    5108         47    2220    -694       -887      -223        -421        -7.61% Milledgeville,
HARALSON               29919    1541       497    26825    22854    1106        323   20617    1139         13      1307           44        4.14% Atlanta-Sandy Springs
HARRIS                 34668    5742      1417    25925    26799    4431        908   20298    2644         64      2393         188         4.43% Columbus, -AL
HART                   25828    4732       931    19250    20436    3447        578   15761     615       -167       834          -49       -1.40%
HEARD                  11412    1142       253     9589     8698     832        153    7407    -422       -101       -88          -60       -6.73% Atlanta-Sandy Springs
HENRY                 240712 125211      18437    86297 179973     89657     12030    69744   36790      46914     35708       38225        74.32% Atlanta-Sandy Springs
HOUSTON               163633   56520     11807    86211 122118     39605       7530   68018   23733      14719     19709       11436        40.60% Warner Robins,
IRWIN                   9666    2333       663     6402     7547    1720        545    5047     128       -182       324        -110        -6.01%
JACKSON                75907    6148      6712    59064    56451    4268       4261   45015   15422       1618     12011        1140        36.45% Jefferson,
JASPER                 14588    2676       684    10771    11118    1966        402    8400     688       -466       693        -306       -13.47% Atlanta-Sandy Springs
JEFF DAVIS             14779    2493      2047     9950    10856    1752       1233    7643    -289        191       -46         183        11.66%
JEFFERSON              15709    8208       462     6834    12301    6324        280    5536   -1221      -1095      -358        -372        -5.56%
JENKINS                 8674    3638       303     4611     7005    2843        194    3874     334        197       901         561        24.58%
JOHNSON                 9189    3124       117     5800     7474    2513         82    4790    -791       -407      -416        -175        -6.51% Dublin,
JONES                  28347    7114       476    20074    21575    5341        302   15428    -322        -55       379         130         2.49% Macon-Bibb County,
LAMAR                  18500    5220       475    12344    14541    4017        323    9852     183       -611        93        -577       -12.56% Atlanta-Sandy Springs
LANIER                  9877    2369       572     6595     7326    1683        370    5010    -201       -133        16          -27       -1.58% Valdosta,
LAURENS                49570   19132      1424    27881    37734   13695        923   22229    1136       1478      1775        1478        12.10% Dublin,
LEE                    33163    7755       953    22758    24676    5503        603   17356    4865       2324      4313        1733        45.97% Albany,
LIBERTY                65256   31146      7786    24004    48014   21700       5231   19065    1803       2495      3752        2676        14.07% Hinesville,
LINCOLN                 7690    2212        92     5196     6270    1728         54    4316    -306       -387       -75        -241       -12.24% Augusta-Richmond Coun
LONG                   16168    4734      1979     8774    11234    3107       1227    6422    1704        827      1189         530        20.57% Hinesville,
LOWNDES               118251   46758      7872    59306    89031   33302       5201   47140    9018       6468      6768        4906        17.28% Valdosta,
LUMPKIN                33488      685     1790    29241    27689     507       1345   24419    3522        218      3964         169        50.00%
MACON                  21632    9045       790    11417    16615    6425        536    9359    6892         26      5128        -506        -7.30%
MADISON                10975    3400       231     7060     9040    2641        166    5998  -17145        902    -12206         853        47.71% Athens-Clarke County,
MARION                 12082    7296       472     4078     9938    6021        322    3379    3340       4385      3292        3908      184.95%
MCDUFFIE               30120    3196      1956    23549    23112    2225       1198   18643    8245      -5682      6935       -3833       -63.27% Augusta-Richmond Coun
MCINTOSH                7498    2223       560     4486     5854    1687        337    3643   -6835      -3022     -5401       -2246       -57.11% Brunswick,
MERIWETHER             20613    7547       475    12084    16526    5845        299    9994   -1379      -1204      -256        -393        -6.30% Atlanta-Sandy Springs

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                                                                                                       2010 -2020 Change
                                                                                                       Black                 Black      % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop     18+Pop      18+Pop
Atlanta in Bold)   2020 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change         change      change     MSAs
MILLER                  6000    1831       136     3949     4749    1358         92    3239    -125         70         60         112        8.99%
MITCHELL               21755   10394       964    10106    17065    7917        615    8284   -1743       -935       -597        -257       -3.14%
MONROE                 27957    6444       714    19954    21913    5068        464   15771    1533         57       1442         215        4.43% Macon-Bibb County,
MONTGOMERY              8610    2224       571     5665     6792    1781        377    4527    -513       -233       -247        -110       -5.82% Vidalia,
MORGAN                 20097    4339       712    14487    15574    3280        434   11452    2229         20       2145         160        5.13% Atlanta-Sandy Springs
MURRAY                 39973      556     5914    32164    30210     321       3696   25146     345        143       1230         101       45.91% Dalton,
MUSCOGEE              206922 102212      16513    79083 157052     74301     10894    64635   17037      12315     15765        11327       17.99% Columbus, -AL
NEWTON                112483   55901      7164    46746    84748   40433       4561   37631   12525      13634     13663        12748       46.05% Atlanta-Sandy Springs
OCONEE                 41799    2280      2347    33886    30221    1660       1405   24942    8991        504       6716         409       32.69% Athens-Clarke County,
OGLETHORPE             14825    2468       869    10903    11639    1853        531    8799     -74       -272        295        -162       -8.04% Athens-Clarke County,
PAULDING              168661   41296     12564 108444 123998       28164       7974   83066   26337      15231     24768        11767       71.76% Atlanta-Sandy Springs
PEACH                  27981   12645      2547    12119    22111    9720       1788   10071     286       -309        736        -223       -2.24% Warner Robins,
PICKENS                33216      512     1198    30122    26799     319        755   24626    3785        124       4005          81       34.03% Atlanta-Sandy Springs
PIERCE                 19716    1801       998    16403    14899    1262        595   12662     958         38       1037          50        4.13% Waycross,
PIKE                   18889    1613       348    16313    14337    1254        207   12422    1020       -333       1306        -210      -14.34% Atlanta-Sandy Springs
POLK                   42853    5816      5585    30161    32238    3991       3252   24049    1378        280       1809         274        7.37% Cedartown,
PULASKI                 9855    3250       327     6022     8012    2564        224    5027   -2155       -642      -1420        -387      -13.11%
PUTNAM                 22047    5701      1557    14316    17847    4229       1031   12209     829         64       1230         245        6.15%
QUITMAN                 2235      965       31     1190     1870     765         18    1037    -278       -248       -129        -141      -15.56% Eufaula, AL-
RABUN                  16883      210     1452    14625    13767     129        928   12236     607          -6       920          25       24.04%
RANDOLPH                6425    3947       143     2250     4977    2913         82    1922   -1294       -862      -1014        -619      -17.53%
RICHMOND              206607 119970      11449    68397 160899     87930       8445   58403    6058       7979       9655        9329       11.87% Augusta-Richmond Coun
ROCKDALE               93570   57204      9540    24500    71503   41935       6089   21457    8355      16468       9202       14643       53.65% Atlanta-Sandy Springs
SCHLEY                  4547      933      175     3357     3328     644        103    2520    -463       -247       -179        -166      -20.49% Americus,
SCREVEN                14067    5527       287     8018    10893    4144        188    6387    -526       -897        -10        -326       -7.29%
SEMINOLE                9147    3093       228     5617     7277    2275        160    4681     418        133        552         209       10.12%
SPALDING               67306   24522      3666    37105    52123   17511       2377   30612    3233       2894       4261        2752       18.65% Atlanta-Sandy Springs
STEPHENS               26784    3527       857    21323    21163    2467        578   17310     609        387        940         314       14.58% Toccoa,
STEWART                 5314    2538      1217     1338     4617    2048       1196    1161    -744       -360       -492        -156       -7.08% Columbus, -AL
SUMTER                 29616   15546      1770    11528    23036   11479       1147    9800   -3203      -1654      -1482        -395       -3.33% Americus,
TALBOT                  5733    3145       112     2427     4783    2537         56    2129   -1132       -964       -618        -544      -17.66% Columbus, -AL
TALIAFERRO              1559      876       69      591     1289     722         46     506    -158       -167       -105        -109      -13.12%
TATTNALL               22842    6331      2303    13825    17654    4886       1419   11020   -2678      -1295      -2460       -1348      -21.62%

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                                                                                                       2010 -2020 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2020 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
TAYLOR                  7816    2946       168     4584     6120    2235        107    3686   -1090       -602      -608        -380       -14.53%
TELFAIR                12477    4754      1928     5970    10190    3806       1757    4802   -4023      -1380     -2994        -924       -19.53%
TERRELL                 9185    5707       177     3189     7204    4274        121    2709    -130        -57       193         241         5.98% Albany,
THOMAS                 45798   16975      1577    25994    35037   12332        970   20740    1078        236      1454         417         3.50% Thomasville,
TIFT                   41344   12734      5219    22189    31224    8963       3295   18011    1226        859      1466         803         9.84% Tifton,
TOOMBS                 27030    7402      3044    16007    20261    5036       1978   12810    -193        453       653         552        12.31% Vidalia,
TOWNS                  12493      168      415    11469    10923     137        338   10100    2022        115      2093           94     218.60%
TREUTLEN                6406    2114       170     4065     4934    1514         98    3272    -479       -167      -238          -69       -4.36% Dublin,
TROUP                  69426   25473      2956    38099    52581   18202       1822   30377    2382       2501      3339        2433        15.43% LaGrange, -AL
TURNER                  9006    3813       372     4700     6960    2752        256    3891      76         68       233         140         5.36%
TWIGGS                  8022    3226       124     4487     6589    2627         79    3733   -1001       -559      -578        -271        -9.35% Macon-Bibb County,
UNION                  24632      228      816    22646    20808     147        563   19351    3276        112      3245           66       81.48%
UPSON                  27700    8324       633    18009    21711    6202        411   14548     547        572       975         627        11.25% Thomaston,
WALKER                 67654    3664      1685    59654    52794    2454       1066   47292   -1102        368       294         239        10.79% Chattanoo, TN-
WALTON                 96673   18804      5228    68499    73098   13165       3236   53647   12905       5086     11918        4068        44.72% Atlanta-Sandy Springs
WARE                   36251   11421      1612    22275    27788    8226       1012   17818     -61        411        33         377         4.80% Waycross,
WARREN                  5215    3128        53     1974     4159    2360         46    1716    -619       -496      -302        -229        -8.85%
WASHINGTON             19988   10969       334     8412    15709    8333        235    6944   -1199       -354      -432           47        0.57%
WAYNE                  30144    6390      1732    21301    23105    4662       1116   16754      45         92       467         119         2.62% Jesup,
WEBSTER                 2348    1107        59     1136     1847     844         36     931    -451        -94      -242          -17       -1.97%
WHEELER                 7471    2949       272     4157     6217    2561        174    3418      50        302       195         342        15.41%
WHITE                  28003      721      913    24959    22482     484        605   20318     859        153      1538         104        27.37%
WHITFIELD             102864    4919     36916    57875    76262    3349     23553    46881     265        400      2946         286         9.34% Dalton,
WILCOX                  8766    3161       272     5185     7218    2693        209    4215    -489       -144      -250           -1       -0.04%
WILKES                  9565    3989       399     4952     7651    3071        243    4154   -1028       -651      -586        -386       -11.17%
WILKINSON               8877    3330       239     5110     7026    2549        152    4165    -686       -390      -213        -144        -5.35%
WORTH                  20784    5517       381    14427    16444    4108        244   11747    -895       -574       108        -141        -3.32% Albany,



Total              10711908 3538146 1123457 5362156 8220274 2607986        742918 4342333 1024255      484048 1024173        467197




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                 EXHIBIT G-2
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                                                                                                                              Percentage
                                                                                                                                 Point
                                                                                                                     2020 % Change in
County (Metro                              18_AP_B 18_HISPA NH18__ 2010 % 18                                NH18+     18 AP 18+ AP Black
Atlanta in Bold) REGIONS 2010 POP. 18_POP     LA      N      WHT    AP Black   2020 Pop 18+ Pop 18+ AP BlackWhite     Black --2010-2020 MSAs
APPLING                      18236   13542     2419    1016    9968    17.9%      18444    13958    2540     10048     18.2%         0.3%
ATKINSON                      8375    5945     1040    1209    3642    17.5%        8286    6129     937      3787     15.3%        -2.2% Douglas,
BACON                        11096    8270     1214     514    6481    14.7%      11140     8310    1245      6374     15.0%         0.3%
BAKER            Region C     3451    2650     1223      73    1331    46.2%        2876    2275     932      1235     41.0%        -5.2%
BALDWIN                      45720   36369    14027     677   21005    38.6%      43799    35732   14515     19377     40.6%         2.1% Milledgeville,
BANKS                        18395   13752      351     615   12531     2.6%      18035    13900     365     12278       2.6%        0.1%
BARROW                       69367   49778     5669    3613   38607    11.4%      83505    62195    8222     43241     13.2%         1.8% Atlanta-Sandy Spri
BARTOW                      100157   73357     7294    4506   60334     9.9%     108901    83570    9377     63759     11.2%         1.3% Atlanta-Sandy Spri
BEN HILL                     17634   12966     4247     572    7983    32.8%      17194    13165    4745      7459     36.0%         3.3% Fitzgerald,
BERRIEN                      19286   14347     1433     501   12265    10.0%      18160    13690    1499     11181     10.9%         1.0%
BIBB                        155547 115428     56527    2849   53639    49.0%     157346 120902     64270     47979     53.2%         4.2% Macon-Bibb County
BLECKLEY                     13063   10114     2708     189    7124    26.8%      12583     9613    2036      7032     21.2%        -5.6%
BRANTLEY                     18411   13518      403     194   12739     3.0%      18021    13692     470     12522       3.4%        0.5% Brunswick,
BROOKS                       16243   12393     4145     553    7564    33.4%      16301    12747    4357      7483     34.2%         0.7% Valdosta,
BRYAN                        30233   21376     2977     777   17090    13.9%      44738    31828    5025     23033     15.8%         1.9% Savannah,
BULLOCH                      70217   55824    14915    1726   37973    26.7%      81099    64494   18220     41041     28.3%         1.5% Statesboro,
BURKE            Region B    23316   16731     7861     414    8340    47.0%      24596    18778    8362      9566     44.5%        -2.5% Augusta-Richmond
BUTTS                        23655   18330     5096     394   12648    27.8%      25434    20360    5660     13510     27.8%         0.0% Atlanta-Sandy Spri
CALHOUN          Region C     6694    5374     3262     194    1893    60.7%        5573    4687    2998      1567     64.0%         3.3%
CAMDEN                       50513   36861     7010    1622   27230    19.0%      54768    41808    7828     29410     18.7%        -0.3% St. Marys,
CANDLER                      10998    8179     1950     774    5392    23.8%      10981     8241    2009      5229     24.4%         0.5%
CARROLL                     110527   82403    14911    4258   62068    18.1%     119148    90996   17827     63803     19.6%         1.5% Atlanta-Sandy Spri
CATOOSA                      63942   48002     1042     880   45014     2.2%      67872    52448    1684     46578       3.2%        1.0% Chattanoo, TN-
CHARLTON                     12171    9529     2801     252    6343    29.4%      12518    10135    2147      5929     21.2%        -8.2%
CHATHAM                     265128 205121     77343    9986 111471     37.7%     295291 234715     85178 119161        36.3%        -1.4% Savannah,
CHATTAHOOCHEE                11267    8214     1571     940    5353    19.1%        9565    7199    1287      4212     17.9%        -1.2% Columbus, -AL
CHATTOOGA                    26015   20157     2541     621   16780    12.6%      24965    19416    2235     15885     11.5%        -1.1% Summerville,
CHEROKEE                    214346 155426      8754   12908 129832      5.6%     266620 202928     14976 156155          7.4%        1.7% Atlanta-Sandy Spri
CLARKE                      116714   96291    23063    7933   60254    24.0%     128671 106830     24776     64531     23.2%        -0.8% Athens-Clarke Coun
CLAY             Region C     3183    2466     1384      16    1045    56.1%        2848    2246    1231       973     54.8%        -1.3%
CLAYTON                     259424 184445 121379      21831   32242    65.8%     297595 220578 158854        23396     72.0%         6.2% Atlanta-Sandy Spri
CLINCH                        6798    4955     1255     142    3505    25.3%        6749    5034    1406      3372     27.9%         2.6%
COBB                        688078 511591 124711      53080 307377     24.4%     766149 591848 166141 303300           28.1%         3.7% Atlanta-Sandy
                                                                                                                                               Page 1 ofSpri
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                                                                                                                                  Percentage
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                                                                                                                         2020 % Change in
County (Metro                                  18_AP_B 18_HISPA NH18__ 2010 % 18                                NH18+     18 AP 18+ AP Black
Atlanta in Bold)   REGIONS 2010 POP.   18_POP     LA      N      WHT    AP Black   2020 Pop 18+ Pop 18+ AP BlackWhite     Black --2010-2020 MSAs
COFFEE                         42356     31255     8219    2554   20113    26.3%      43092    32419    9191     19146     28.4%         2.1% Douglas,
COLQUITT                       45498     32914     7021    4701   20826    21.3%      45898    34193    7461     20507     21.8%         0.5% Moultrie,
COLUMBIA                      124053     90243    13211    3862   68414    14.6%     156010 114823     22273     76070     19.4%         4.8% Augusta-Richmond
COOK                           17212     12530     3270     603    8505    26.1%      17229    12938    3595      8310     27.8%         1.7%
COWETA                        127317     92485    15695    5588   69124    17.0%     146158 111155     20196     78073     18.2%         1.2% Atlanta-Sandy Spri
CRAWFORD                       12630      9762     2179     196    7266    22.3%      12130     9606    1938      7079     20.2%        -2.1% Macon-Bibb County
CRISP                          23439     17317     6817     461    9863    39.4%      20128    15570    6603      8248     42.4%         3.0% Cordele,
DADE                           16633     13047      136     177   12466     1.0%      16251    12987     140     11925       1.1%        0.0% Chattanoo, TN-
DAWSON                         22330     17247      103     602   16265     0.6%      26798    21441     249     19183       1.2%        0.6% Atlanta-Sandy Spri
DECATUR                        27842     20760     8077     821   11670    38.9%      29367    22443    9189     11586     40.9%         2.0% Bainbridge,
DEKALB                        691893    526757 279900     46921 171336     53.1%     764382 595276 314230 180161           52.8%        -0.3% Atlanta-Sandy Spri
DODGE                          21796     16719     4819     495   11280    28.8%      19925    15709    4725     10360     30.1%         1.3%
DOOLY                          14918     11759     5694     558    5437    48.4%      11208     9187    4526      4029     49.3%         0.8%
DOUGHERTY          Region C    94565     70231    44983    1360   23106    64.1%      85790    66266   45631     17909     68.9%         4.8% Albany,
DOUGLAS                       132403     94870    35517    6581   51014    37.4%     144237 108428     53377     41416     49.2%        11.8% Atlanta-Sandy Spri
EARLY              Region C    11008      8107     3791      99    4156    46.8%      10854     8315    4075      3985     49.0%         2.2%
ECHOLS                          4034      2851      139     697    1925     4.9%        3697    2709     121      1856       4.5%       -0.4% Valdosta,
EFFINGHAM                      52250     37344     4943     867   30847    13.2%      64769    47295    6831     36237     14.4%         1.2% Savannah,
ELBERT                         20166     15467     4332     588   10422    28.0%      19637    15493    4122     10322     26.6%        -1.4%
EMANUEL                        22598     16850     5269     582   10793    31.3%      22768    17320    5404     11013     31.2%        -0.1%
EVANS                          11000      8163     2320     861    4918    28.4%      10774     8127    2410      4826     29.7%         1.2%
FANNIN                         23682     19151       71     293   18506     0.4%      25319    21188     133     19721       0.6%        0.3%
FAYETTE            Region A   106567     78468    15355    4183   55492    19.6%     119194    91798   23728     55102     25.8%         6.3% Atlanta-Sandy Spri
FLOYD                          96317     72872     9928    5376   56175    13.6%      98584    76295   11064     55088     14.5%         0.9% Rome,
FORSYTH                       175511    122106     3291   10403 100172      2.7%     251283 181193      8751 122017          4.8%        2.1% Atlanta-Sandy Spri
FRANKLIN                       22084     17128     1428     560   14944     8.3%      23424    18307    1523     15466       8.3%        0.0%
FULTON                        920581    700895 306606     48745 304024     43.7%    1066710 847182 368635 340541           43.5%        -0.2% Atlanta-Sandy Spri
GILMER                         28292     22063      108    1557   20116     0.5%      31353    25417     161     22187       0.6%        0.1%
GLASCOCK           Region B     3082      2269      185      18    2040     8.2%        2884    2236     167      2003       7.5%       -0.7%
GLYNN                          79626     60395    14559    3283   41521    24.1%      84499    66468   15620     44302     23.5%        -0.6% Brunswick,
GORDON                         55186     40311     1616    4603   33417     4.0%      57544    43500    1939     34084       4.5%        0.4% Calhoun,
GRADY                          25011     18584     5115    1570   11674    27.5%      26236    19962    5678     11968     28.4%         0.9%
GREENE                         15994     12697     4408     573    7609    34.7%      18915    15358    4470      9675     29.1%        -5.6%     Page 2 of 5
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                                                                                                                                  Percentage
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                                                                                                                         2020 % Change in
County (Metro                                  18_AP_B 18_HISPA NH18__ 2010 % 18                                NH18+     18 AP 18+ AP Black
Atlanta in Bold)   REGIONS 2010 POP.   18_POP     LA      N      WHT    AP Black   2020 Pop 18+ Pop 18+ AP BlackWhite     Black --2010-2020 MSAs
GWINNETT                      805321    570614 131017 102225 272913        23.0%     957062 709484 202762 252041           28.6%         5.6% Atlanta-Sandy Spri
HABERSHAM                      43041     32737     1279    2997   27461     3.9%      46031    35878    1675     28299       4.7%        0.8% Cornelia,
HALL                          179684    129518     9762   27227   89587     7.5%     203136 153844     12094     98800       7.9%        0.3% inesville,
HANCOCK            Region B     9429      7710     5529     118    2018    71.7%        8735    7487    5108      2220     68.2%        -3.5% Milledgeville,
HARALSON                       28780     21547     1062     187   19985     4.9%      29919    22854    1106     20617       4.8%       -0.1% Atlanta-Sandy Spri
HARRIS                         32024     24406     4243     567   19136    17.4%      34668    26799    4431     20298     16.5%        -0.9% Columbus, -AL
HART                           25213     19602     3496     474   15405    17.8%      25828    20436    3447     15761     16.9%        -1.0%
HEARD                          11834      8786      892     123    7635    10.2%      11412     8698     832      7407       9.6%       -0.6% Atlanta-Sandy Spri
HENRY              Region A   203922    144265    51432    7182   80733    35.7%     240712 179973     89657     69744     49.8%        14.2% Atlanta-Sandy Spri
HOUSTON                       139900    102409    28169    5357   65255    27.5%     163633 122118     39605     68018     32.4%         4.9% Warner Robins,
IRWIN                           9538      7223     1830     140    5209    25.3%        9666    7547    1720      5047     22.8%        -2.5%
JACKSON                        60485     44440     3128    2251   38046     7.0%      75907    56451    4268     45015       7.6%        0.5% Jefferson,
JASPER                         13900     10425     2272     308    7724    21.8%      14588    11118    1966      8400     17.7%        -4.1% Atlanta-Sandy Spri
JEFF DAVIS                     15068     10902     1569     893    8352    14.4%      14779    10856    1752      7643     16.1%         1.7%
JEFFERSON          Region B    16930     12659     6696     340    5550    52.9%      15709    12301    6324      5536     51.4%        -1.5%
JENKINS            Region B     8340      6104     2282     214    3556    37.4%        8674    7005    2843      3874     40.6%         3.2%
JOHNSON                         9980      7890     2688     128    5047    34.1%        9189    7474    2513      4790     33.6%        -0.4% Dublin,
JONES                          28669     21196     5211     188   15538    24.6%      28347    21575    5341     15428     24.8%         0.2% Macon-Bibb County
LAMAR                          18317     14448     4594     219    9500    31.8%      18500    14541    4017      9852     27.6%        -4.2% Atlanta-Sandy Spri
LANIER                         10078      7310     1710     259    5195    23.4%        9877    7326    1683      5010     23.0%        -0.4% Valdosta,
LAURENS                        48434     35959    12217     725   22496    34.0%      49570    37734   13695     22229     36.3%         2.3% Dublin,
LEE                            28298     20363     3770     348   15672    18.5%      33163    24676    5503     17356     22.3%         3.8% Albany,
LIBERTY                        63453     44262    19024    3649   20233    43.0%      65256    48014   21700     19065     45.2%         2.2% Hinesville,
LINCOLN                         7996      6345     1969      63    4250    31.0%        7690    6270    1728      4316     27.6%        -3.5% Augusta-Richmond
LONG                           14464     10045     2577    1031    6249    25.7%      16168    11234    3107      6422     27.7%         2.0% Hinesville,
LOWNDES                       109233     82263    28396    3467   48506    34.5%     118251    89031   33302     47140     37.4%         2.9% Valdosta,
LUMPKIN                        29966     23725      338     861   22026     1.4%      33488    27689     507     24419       1.8%        0.4%
MACON                          14740     11487     6931     346    9690    60.3%      12082     9938    6021      3379     60.6%         0.2%
MADISON                        28120     21246     1788     642    7069     8.4%      30120    23112    2225     18643       9.6%        1.2% Athens-Clarke Coun
MARION                          8742      6646     2113     353    4035    31.8%        7498    5854    1687      3643     28.8%        -3.0% Columbus, -AL
MCDUFFIE           Region B    21875     16177     6058     282   18544    37.4%      21632    16615    6425      9359     38.7%         1.2% Augusta-Richmond
MCINTOSH                       14333     11255     3933     147    4057    34.9%      10975     9040    2641      5998     29.2%        -5.7% Brunswick,
MERIWETHER                     21992     16782     6238     216   10121    37.2%      20613    16526    5845      9994     35.4%        -1.8% Atlanta-Sandy
                                                                                                                                                  Page 3 ofSpri
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                                                                                                                                  Percentage
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                                                                                                                         2020 % Change in
County (Metro                                  18_AP_B 18_HISPA NH18__ 2010 % 18                                NH18+     18 AP 18+ AP Black
Atlanta in Bold)   REGIONS 2010 POP.   18_POP     LA      N      WHT    AP Black   2020 Pop 18+ Pop 18+ AP BlackWhite     Black --2010-2020 MSAs
MILLER             Region C     6125      4689     1246      51    3364    26.6%        6000    4749    1358      3239     28.6%         2.0%
MITCHELL           Region C    23498     17662     8174     675    8626    46.3%      21755    17065    7917      8284     46.4%         0.1%
MONROE                         26424     20471     4853     351   14967    23.7%      27957    21913    5068     15771     23.1%        -0.6% Macon-Bibb County
MONTGOMERY                      9123      7039     1891     294    4822    26.9%        8610    6792    1781      4527     26.2%        -0.6% Vidalia,
MORGAN                         17868     13429     3120     304    9845    23.2%      20097    15574    3280     11452     21.1%        -2.2% Atlanta-Sandy Spri
MURRAY                         39628     28980      220    2875   25580     0.8%      39973    30210     321     25146       1.1%        0.3% Dalton,
MUSCOGEE                      189885    141287    62974    7954   66462    44.6%     206922 157052     74301     64635     47.3%         2.7% Columbus, -AL
NEWTON             Region A    99958     71085    27685    2719   39806    38.9%     112483    84748   40433     37631     47.7%         8.8% Atlanta-Sandy Spri
OCONEE                         32808     23505     1251     854   20545     5.3%      41799    30221    1660     24942       5.5%        0.2% Athens-Clarke Coun
OGLETHORPE                     14899     11344     2015     318    8876    17.8%      14825    11639    1853      8799     15.9%        -1.8% Athens-Clarke Coun
PAULDING                      142324     99230    16397    4235   77000    16.5%     168661 123998     28164     83066     22.7%         6.2% Atlanta-Sandy Spri
PEACH                          27695     21375     9943    1225    9937    46.5%      27981    22111    9720     10071     44.0%        -2.6% Warner Robins,
PICKENS                        29431     22794      238     488   21759     1.0%      33216    26799     319     24626       1.2%        0.1% Atlanta-Sandy Spri
PIERCE                         18758     13862     1212     510   11953     8.7%      19716    14899    1262     12662       8.5%       -0.3% Waycross,
PIKE                           17869     13031     1464     130   11275    11.2%      18889    14337    1254     12422       8.7%       -2.5% Atlanta-Sandy Spri
POLK                           41475     30429     3717    2781   23535    12.2%      42853    32238    3991     24049     12.4%         0.2% Cedartown,
PULASKI                        12010      9432     2951     275    6097    31.3%        9855    8012    2564      5027     32.0%         0.7%
PUTNAM                         21218     16617     3984     825   11647    24.0%      22047    17847    4229     12209     23.7%        -0.3%
QUITMAN            Region C     2513      1999      906      21    1072    45.3%        2235    1870     765      1037     40.9%        -4.4% Eufaula, AL-
RABUN                          16276     12847      104     819   11728     0.8%      16883    13767     129     12236       0.9%        0.1%
RANDOLPH           Region C     7719      5991     3532      89    2366    59.0%        6425    4977    2913      1922     58.5%        -0.4%
RICHMOND           Region B   200549    151244    78601    5630   63232    52.0%     206607 160899     87930     58403     54.6%         2.7% Augusta-Richmond
ROCKDALE           Region A    85215     62301    27292    5017   28709    43.8%      93570    71503   41935     21457     58.6%        14.8% Atlanta-Sandy Spri
SCHLEY                          5010      3507      810      82    2579    23.1%        4547    3328     644      2520     19.4%        -3.7% Americus,
SCREVEN                        14593     10903     4470     106    6241    41.0%      14067    10893    4144      6387     38.0%        -3.0%
SEMINOLE                        8729      6725     2066     124    4489    30.7%        9147    7277    2275      4681     31.3%         0.5%
SPALDING           Region A    64073     47862    14759    1612   30775    30.8%      67306    52123   17511     30612     33.6%         2.8% Atlanta-Sandy Spri
STEPHENS                       26175     20223     2153     363   17423    10.6%      26784    21163    2467     17310     11.7%         1.0% Toccoa,
STEWART            Region C     6058      5109     2204    1438    1421    43.1%        5314    4617    2048      1161     44.4%         1.2% Columbus, -AL
SUMTER             Region C    32819     24518    11874    1098   11129    48.4%      29616    23036   11479      9800     49.8%         1.4% Americus,
TALBOT                          6865      5401     3081      66    2228    57.0%        5733    4783    2537      2129     53.0%        -4.0% Columbus, -AL
TALIAFERRO         Region B     1717      1394      831      20     533    59.6%        1559    1289     722       506     56.0%        -3.6%
TATTNALL                       25520     20114     6234    1598   12120    31.0%      22842    17654    4886     11020     27.7%        -3.3%     Page 4 of 5
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                                                                                                                                  Percentage
                                                                                                                                     Point
                                                                                                                         2020 % Change in
County (Metro                                  18_AP_B 18_HISPA NH18__ 2010 % 18                                NH18+     18 AP 18+ AP Black
Atlanta in Bold)   REGIONS 2010 POP.   18_POP     LA      N      WHT    AP Black   2020 Pop 18+ Pop 18+ AP BlackWhite     Black --2010-2020 MSAs
TAYLOR                          8906      6728     2615     112    3944    38.9%        7816    6120    2235      3686     36.5%        -2.3%
TELFAIR                        16500     13184     4730    1838    6720    35.9%      12477    10190    3806      4802     37.4%         1.5%
TERRELL            Region C     9315      7011     4033     105    2854    57.5%        9185    7204    4274      2709     59.3%         1.8% Albany,
THOMAS                         44720     33583    11915     793   20401    35.5%      45798    35037   12332     20740     35.2%        -0.3% Thomasville,
TIFT                           40118     29758     8160    2376   18742    27.4%      41344    31224    8963     18011     28.7%         1.3% Tifton,
TOOMBS                         27223     19608     4484    1779   13099    22.9%      27030    20261    5036     12810     24.9%         2.0% Vidalia,
TOWNS                          10471      8830       43     149    8559     0.5%      12493    10923     137     10100       1.3%        0.8%
TREUTLEN                        6885      5172     1583      70    3499    30.6%        6406    4934    1514      3272     30.7%         0.1% Dublin,
TROUP                          67044     49242    15769    1359   31106    32.0%      69426    52581   18202     30377     34.6%         2.6% LaGrange, -AL
TURNER                          8930      6727     2612     175    3879    38.8%        9006    6960    2752      3891     39.5%         0.7%
TWIGGS                          9023      7167     2898      89    4130    40.4%        8022    6589    2627      3733     39.9%        -0.6% Macon-Bibb County
UNION                          21356     17563       81     347   16853     0.5%      24632    20808     147     19351       0.7%        0.2%
UPSON                          27153     20736     5575     375   14562    26.9%      27700    21711    6202     14548     28.6%         1.7% Thomaston,
WALKER                         68756     52500     2215     673   48872     4.2%      67654    52794    2454     47292       4.6%        0.4% Chattanoo, TN-
WALTON                         83768     61180     9097    1619   49336    14.9%      96673    73098   13165     53647     18.0%         3.1% Atlanta-Sandy Spri
WARE                           36312     27755     7849     764   18749    28.3%      36251    27788    8226     17818     29.6%         1.3% Waycross,
WARREN             Region B     5834      4461     2589      36    1815    58.0%        5215    4159    2360      1716     56.7%        -1.3%
WASHINGTON         Region B    21187     16141     8286     299    7477    51.3%      19988    15709    8333      6944     53.0%         1.7%
WAYNE                          30099     22638     4543    1181   16655    20.1%      30144    23105    4662     16754     20.2%         0.1% Jesup,
WEBSTER            Region C     2799      2089      861      49    1173    41.2%        2348    1847     844       931     45.7%         4.5%
WHEELER                         7421      6022     2219     253    3548    36.8%        7471    6217    2561      3418     41.2%         4.3%
WHITE                          27144     20944      380     370   19852     1.8%      28003    22482     484     20318       2.2%        0.3%
WHITFIELD                     102599     73316     3063   18717   50242     4.2%     102864    76262    3349     46881       4.4%        0.2% Dalton,
WILCOX                          9255      7468     2694     261    4470    36.1%        8766    7218    2693      4215     37.3%         1.2%
WILKES             Region B    10593      8237     3457     218    4505    42.0%        9565    7651    3071      4154     40.1%        -1.8%
WILKINSON                       9563      7239     2693     137    4340    37.2%        8877    7026    2549      4165     36.3%        -0.9%
WORTH                          21679     16336     4249     217   11699    26.0%      20784    16444    4108     11747     25.0%        -1.0% Albany,

Total                        9687653 7196101 2140789    539002 4242514     29.7%   10711908 8220274 2607986 4342333        31.7%         2.0%




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                 EXHIBIT G-3
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                                                                                                     2000 -2010 Change
                                                                                                     Black                 Black      % Black
County (Metro                                                                      NH18+   Pop        Pop     18+ Pop     18+Pop      18+Pop
Atlanta in Bold) 2010 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                        18+ Latino White  Change    Change Change         change      change     MSAs
APPLING              18236    3483      1704    12854    13542    2419       1016    9968     817         33        852         160        7.08%
ATKINSON              8375    1500      2039     4776     5945    1040       1209    3642     766          -6       644          15        1.46% Douglas,
BACON                11096    1788       791     8431     8270    1214        514    6481     993        161        815         218       21.89%
BAKER                 3451    1637       145     1642     2650    1223         73    1331    -623       -425       -311        -184      -13.08%
BALDWIN              45720   19285       919    24704    36369   14027        677   21005    1020       -288       1390        -314       -2.19% Milledgeville,
BANKS                18395      486     1041    16526    13752     351        615   12531    3973           9      3106          11        3.24%
BARROW               69367    8620      6037    51736    49778    5669       3613   38607   23223       3945     16759         2554       81.99% Atlanta-Sandy Springs
BARTOW              100157   11030      7690    79803    73357    7294       4506   60334   24138       4201     18537         2753       60.63% Atlanta-Sandy Springs
BEN HILL             17634    6217      1026    10164    12966    4247        572    7983     150        463        291         505       13.50% Fitzgerald,
BERRIEN              19286    2145       885    16050    14347    1433        501   12265    3051        263       2536         235       19.62%
BIBB                155547   82471      4389    65494 115428     56527       2849   53639    1660       9069       2421        7533       15.38% Macon-Bibb County,
BLECKLEY             13063    3633       301     9000    10114    2708        189    7124    1397        742       1549         830       44.20%
BRANTLEY             18411      603      343    17198    13518     403        194   12739    3782          -9      3034           7        1.77% Brunswick,
BROOKS               16243    5794       853     9425    12393    4145        553    7564    -207       -735        368        -122       -2.86% Valdosta,
BRYAN                30233    4626      1336    23446    21376    2977        777   17090    6816       1195       5248         776       35.26% Savannah,
BULLOCH              70217   20006      2439    46251    55824   14915       1726   37973   14234       3735     12321         3115       26.40% Statesboro,
BURKE                23316   11712       617    10844    16731    7861        414    8340    1073        291       1442         634        8.77% Augusta-Richmond Cou
BUTTS                23655    6617       597    16200    18330    5096        394   12648    4133        912       3507         902       21.51% Atlanta-Sandy Springs
CALHOUN               6694    4149       262     2250     5374    3262        194    1893     374        304        449         354       12.17%
CAMDEN               50513   10564      2590    35977    36861    7010       1622   27230    6849       1487       7029        1355       23.96% St. Marys,
CANDLER              10998    2731      1227     6949     8179    1950        774    5392    1421        108       1170         154        8.57%
CARROLL             110527   21569      6800    80531    82403   14911       4258   62068   23259       6922     17765         4959       49.83% Atlanta-Sandy Springs
CATOOSA              63942    1793      1469    59149    48002    1042        880   45014   10660       1026       8476         587     129.01% Chattanoo, TN-
CHARLTON             12171    3562       310     8116     9529    2801        252    6343    1889        505       2073         644       29.86%
CHATHAM             265128 109428      14370 133492 205121       77343       9986 111471    33080      14186     31156       13015        20.23% Savannah,
CHATTAHOOCHEE        11267    2308      1398     7089     8214    1571        940    5353   -3615      -2393      -2442       -1497      -48.79% Columbus, -AL
CHATTOOGA            26015    3091      1043    21589    20157    2541        621   16780     545        131        521         202        8.64% Summerville,
CHEROKEE            214346   13870     20566 174243 155426        8754     12908 129832     72443      10019     53633         6272     252.70% Atlanta-Sandy Springs
CLARKE              116714   32083     12192    66674    96291   23063       7933   60254   15225       3918     12910         3630       18.68% Athens-Clarke County,
CLAY                  3183    1945        26     1188     2466    1384         16    1045    -174        -99        -27           7        0.51%
CLAYTON             259424 175977      35447    36610 184445 121379        21831    32242   22907      51427     18849       41548        52.04% Atlanta-Sandy Springs
CLINCH                6798    1939       236     4536     4955    1255        142    3505     -80       -118         -7        -100       -7.38%
COBB                688078 180965      84330 387438 511591 124711          53080 307377     80327      62736     62246       44994        56.44% Atlanta-Sandy Springs

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                                                                                                       2000 -2010 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2010 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
COFFEE                 42356   11594      4352    25907    31255    8219       2554   20113    4943       1788      4424        1720        26.47% Douglas,
COLQUITT               45498   10467      7763    26759    32914    7021       4701   20826    3445        478      2404         644        10.10% Moultrie,
COLUMBIA              124053   19881      6175    91517    90243   13211       3862   68414   34765       9506     27385        6325        91.85% Augusta-Richmond Cou
COOK                   17212    4793      1024    11171    12530    3270        603    8505    1441        148      1212         345        11.79%
COWETA                127317   23159      8493    92604    92485   15695       5588   69124   38102       6873     28912        5051        47.45% Atlanta-Sandy Springs
CRAWFORD               12630    2903       301     9282     9762    2179        196    7266     135       -116       715           36        1.68% Macon-Bibb County,
CRISP                  23439   10230       748    12216    17317    6817        461    9863    1443        606      1699         827        13.81% Cordele,
DADE                   16633      188      292    15796    13047     136        177   12466    1479         85      1506           50       58.14% Chattanoo, TN-
DAWSON                 22330      189      920    20847    17247     103        602   16265    6331        116      5256           64     164.10% Atlanta-Sandy Springs
DECATUR                27842   11599      1404    14615    20760    8077        821   11670    -398        246       582         705         9.56% Bainbridge,
DEKALB                691893 384553      67824 203395 526757 279900          46921 171336     26028      16037     24870      26315         10.38% Atlanta-Sandy Springs
DODGE                  21796    6628       732    14273    16719    4819        495   11280    2625        958      2527         997        26.09%
DOOLY                  14918    7511       862     6461    11759    5694        558    5437    3393       1768      3182        1662        41.22%
DOUGHERTY              94565   64247      2073    27315    70231   44983       1360   23106   -1500       6093       742        6129        15.77% Albany,
DOUGLAS               132403   54253     11125    64911    94870   35517       6581   51014   40229      36600     28131      23987       208.04% Atlanta-Sandy Springs
EARLY                  11008    5510       171     5250     8107    3791         99    4156   -1346       -486      -706          -14       -0.37%
ECHOLS                  4034      183     1183     2555     2851     139        697    1925     280        -78       197          -30      -17.75% Valdosta,
EFFINGHAM              52250    7457      1501    42311    37344    4943        867   30847   14715       2472     11043        1746        54.61% Savannah,
ELBERT                 20166    6057       967    12956    15467    4332        588   10422    -345       -303       258            8        0.19%
EMANUEL                22598    7668       921    13733    16850    5269        582   10793     761        350      1088         607        13.02%
EVANS                  11000    3254      1441     6228     8163    2320        861    4918     505       -223       552           26        1.13%
FANNIN                 23682      115      431    22761    19151       71       293   18506    3884         83      3497           51     255.00%
FAYETTE               106567   22498      6760    72202    78468   15355       4183   55492   15304      11666     13759        8269      116.69% Atlanta-Sandy Springs
FLOYD                  96317   14431      8987    70959    72872    9928       5376   56175    5752       2086      4543        1595        19.14% Rome,
FORSYTH               175511    5305     16550 140943 122106        3291     10403 100172     77104       4535     51165        2758      517.45% Atlanta-Sandy Springs
FRANKLIN               22084    2037       866    18913    17128    1428        560   14944    1799        200      1697         155        12.18%
FULTON                920581 416892      72566 376014 700895 306606          48745 304024 104575         47878     84179      45410         17.39% Atlanta-Sandy Springs
GILMER                 28292      212     2677    25078    22063     108       1557   20116    4836        136      4310           65     151.16%
GLASCOCK                3082      265       33     2750     2269     185         18    2040     526         47       322           22       13.50%
GLYNN                  79626   21465      5126    51602    60395   14559       3283   41521   12058       3318      9935        2637        22.12% Brunswick,
GORDON                 55186    2392      7738    44107    40311    1616       4603   33417   11082        759      7705         512        46.38% Calhoun,
GRADY                  25011    7330      2500    14879    18584    5115       1570   11674    1352        123      1378         407         8.64%
GREENE                 15994    6205       893     8771    12697    4408        573    7609    1588       -229      1905         124         2.89%

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                                                                                                       2000 -2010 Change
                                                                                                       Black                 Black       % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2010 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change         change       change     MSAs
GWINNETT              805321 201532 162035 354316 570614 131017 102225 272913 216873                   119728 148159           76424       139.99% Atlanta-Sandy Springs
HABERSHAM              43041    1667      5333    34621    32737    1279       2997   27461    7139        -41       5266          -99       -7.18% Cornelia,
HALL                  179684   14397     46906 114300 129518        9762     27227    89587   40407       3911     27758         2670        37.65% inesville,
HANCOCK                 9429    7018       139     2212     7710    5529        118    2018    -647       -837         59        -168        -2.95% Milledgeville,
HARALSON               28780    1528       318    26516    21547    1062        187   19985    3090         85       2555           96        9.94% Atlanta-Sandy Springs
HARRIS                 32024    5678       872    24848    24406    4243        567   19136    8329       1016       6776         899        26.88% Columbus, -AL
HART                   25213    4899       786    19213    19602    3496        474   15405    2216        382       2007         375        12.02%
HEARD                  11834    1243       223    10190     8786     892        123    7635     822         22        938           36        4.21% Atlanta-Sandy Springs
HENRY                 203922   78297     11813 107083 144265       51432       7182   80733   84581      60321     59785       39567       333.48% Atlanta-Sandy Springs
HOUSTON               139900   41801      8515    84703 102409     28169       5357   65255   29135      13755     22860         9779        53.18% Warner Robins,
IRWIN                   9538    2515       228     6719     7223    1830        140    5209    -393        -70        152         220        13.66%
JACKSON                60485    4530      3736    50695    44440    3128       2251   38046   18896       1174     13922          705        29.10% Jefferson,
JASPER                 13900    3142       510    10095    10425    2272        308    7724    2474          -3      2108         119         5.53% Atlanta-Sandy Springs
JEFF DAVIS             15068    2302      1577    11056    10902    1569        893    8352    2384        370       1672         267        20.51%
JEFFERSON              16930    9303       517     7015    12659    6696        340    5550    -336       -453        296         143         2.18%
JENKINS                 8340    3441       334     4508     6104    2282        214    3556    -235        -55        -28            2        0.09%
JOHNSON                 9980    3531       186     6219     7890    2688        128    5047    1420        363       1909         797        42.15% Dublin,
JONES                  28669    7169       315    20830    21196    5211        188   15538    5030       1600       3968        1159        28.60% Macon-Bibb County,
LAMAR                  18317    5831       341    11943    14448    4594        219    9500    2405        936       2435        1098        31.41% Atlanta-Sandy Springs
LANIER                 10078    2502       461     6899     7310    1710        259    5195    2837        624       2052         422        32.76% Valdosta,
LAURENS                48434   17654      1143    28920    35959   12217        725   22496    3560       2035       3130        1774        16.99% Dublin,
LEE                    28298    5431       560    21453    20363    3770        348   15672    3541       1542       3195        1048        38.50% Albany,
LIBERTY                63453   28651      6159    27085    44262   19024       3649   20233    1843       1184       2346        1757        10.18% Hinesville,
LINCOLN                 7996    2599        98     5201     6345    1969         63    4250    -352       -284         34          -92       -4.46% Augusta-Richmond Cou
LONG                   14464    3907      1778     8491    10045    2577       1031    6249    4160       1331       3152        1017        65.19% Hinesville,
LOWNDES               109233   40290      5238    61234    82263   28396       3467   48506   17118       8523     14282         6956        32.44% Valdosta,
LUMPKIN                29966      467     1344    27519    23725     338        861   22026    8950        124       7811           94       38.52%
MACON                  14740    9019       475    12310    11487    6931        282    9690   -6491        974      -3828        1617        30.43%
MADISON                28120    2498       227     8716    21246    1788        147    7069   17273      -1544     13441         -876       -32.88% Athens-Clarke County,
MARION                  8742    2911       527     4961     6646    2113        346    4035   -5332      -5508      -3541       -3744       -63.92%
MCDUFFIE               21875    8878      1139    24106    16177    6058        642   18544   -3855       6662      -2789        4545      300.40% Augusta-Richmond Cou
MCINTOSH               14333    5245       570     5100    11255    3933        353    4057    7189       2780       6136        2297      140.40% Brunswick,
MERIWETHER             21992    8751       347    12606    16782    6238        216   10121    -542       -809        246        -265        -4.08% Atlanta-Sandy Springs

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                                                                                                       2000 -2010 Change
                                                                                                       Black                 Black       % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2010 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change         change       change     MSAs
MILLER                  6125    1761        93     4237     4689    1246         51    3364    -258        -87        -16           58        4.88%
MITCHELL               23498   11329      1028    10894    17662    8174        675    8626    -434       -195        270         347         4.43%
MONROE                 26424    6387       535    19101    20471    4853        351   14967    4667        260      4427          430         9.72% Macon-Bibb County,
MONTGOMERY              9123    2457       480     6144     7039    1891        294    4822     853        195        840         222        13.30% Vidalia,
MORGAN                 17868    4319       494    12814    13429    3120        304    9845    2411       -162      2078             6        0.19% Atlanta-Sandy Springs
MURRAY                 39628      413     5154    33666    28980     220       2875   25580    3122        109      2678            51       30.18% Dalton,
MUSCOGEE              189885   89897     12110    82890 141287     62974       7954   66462    3594       6740      4998         7142        12.79% Columbus, -AL
NEWTON                 99958   42267      4635    51995    71085   27685       2719   39806   37957      28259     26241       18457       200.01% Atlanta-Sandy Springs
OCONEE                 32808    1776      1436    28306    23505    1251        854   20545    6583         45      5211            87        7.47% Athens-Clarke County,
OGLETHORPE             14899    2740       546    11429    11344    2015        318    8876    2264        192      1967          225        12.57% Athens-Clarke County,
PAULDING              142324   26065      7264 106739      99230   16397       4235   77000   60646      20113     42631       12658       338.54% Atlanta-Sandy Springs
PEACH                  27695   12954      1890    12499    21375    9943       1225    9937    4027       2138      3870         2057        26.08% Warner Robins,
PICKENS                29431      388      819    27802    22794     238        488   21759    6448         80      5224            27       12.80% Atlanta-Sandy Springs
PIERCE                 18758    1763       887    15860    13862    1212        510   11953    3122         17      2395            47        4.03% Waycross,
PIKE                   17869    1946       193    15506    13031    1464        130   11275    4181       -110      3122           -46       -3.05% Atlanta-Sandy Springs
POLK                   41475    5536      4885    30492    30429    3717       2781   23535    3348        327      2239          194         5.51% Cedartown,
PULASKI                12010    3892       465     7494     9432    2951        275    6097    2422        579      2060          518        21.29%
PUTNAM                 21218    5637      1347    14024    16617    3984        825   11647    2406        -66      2173          129         3.35%
QUITMAN                 2513    1213        34     1265     1999     906         21    1072     -85        -14         24           91       11.17% Eufaula, AL-
RABUN                  16276      216     1301    14468    12847     104        819   11728    1226         70      1083            26       33.33%
RANDOLPH                7719    4809       119     2781     5991    3532         89    2366     -72        161        329         385        12.23%
RICHMOND              200549 111991       8207    76236 151244     78601       5630   63232     774      10663      5077       10870         16.05% Augusta-Richmond Cou
ROCKDALE               85215   40736      8063    34826    62301   27292       5017   28709   15104      27644     11478       18911       225.64% Atlanta-Sandy Springs
SCHLEY                  5010    1180       161     3612     3507     810         82    2579    1244        -14        844           33        4.25% Americus,
SCREVEN                14593    6424       180     7898    10903    4470        106    6241    -781       -571       -180        -210        -4.49%
SEMINOLE                8729    2960       204     5516     6725    2066        124    4489    -640       -303       -194            4        0.19%
SPALDING               64073   21628      2451    38986    47862   14759       1612   30775    5656       3287      5377         2792        23.33% Atlanta-Sandy Springs
STEPHENS               26175    3140       633    22006    20223    2153        363   17423     740          -8       755          -12       -0.55% Toccoa,
STEWART                 6058    2898      1454     1655     5109    2204       1438    1421     806       -363      1164         -132        -5.65% Columbus, -AL
SUMTER                 32819   17200      1717    13413    24518   11874       1098   11129    -381        841        550        1118        10.39% Americus,
TALBOT                  6865    4109        91     2639     5401    3081         66    2228     367         72        473         139         4.72% Columbus, -AL
TALIAFERRO              1717    1043        35      625     1394     831         20     533    -360       -218       -183          -82       -8.98%
TATTNALL               25520    7626      2502    15196    20114    6234       1598   12120    3215        542      2917          724        13.14%

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                                                                                                       2000 -2010 Change
                                                                                                       Black                 Black       % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2010 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change         change       change     MSAs
TAYLOR                  8906    3548       164     5123     6728    2615        112    3944      91       -230        282           66        2.59%
TELFAIR                16500    6134      2026     8429    13184    4730       1838    6720    4706       1566      4043         1319        38.67%
TERRELL                 9315    5764       157     3366     7011    4033        105    2854   -1655       -929       -845        -361        -8.22% Albany,
THOMAS                 44720   16739      1275    26081    33583   11915        793   20401    1983          -6     2447          673         5.99% Thomasville,
TIFT                   40118   11875      4037    23555    29758    8160       2376   18742    1711        995      1810         1146        16.34% Tifton,
TOOMBS                 27223    6949      3055    16887    19608    4484       1779   13099    1156        591        984         465        11.57% Vidalia,
TOWNS                  10471       53      206    10102     8830       43       149    8559    1152         36      1028            27     168.75%
TREUTLEN                6885    2281       103     4466     5172    1583         70    3499      31          -2        99           22        1.41% Dublin,
TROUP                  67044   22972      2170    40408    49242   15769       1359   31106    8265       4053      6836         3280        26.26% LaGrange, -AL
TURNER                  8930    3745       282     4820     6727    2612        175    3879    -574       -160         20         156         6.35%
TWIGGS                  9023    3785       124     5059     7167    2898         89    4130   -1567       -863       -564        -306        -9.55% Macon-Bibb County,
UNION                  21356      116      519    20345    17563       81       347   16853    4067           5     3733           -10      -10.99%
UPSON                  27153    7752       588    18522    20736    5575        375   14562    -444          -5       171         192         3.57% Thomaston,
WALKER                 68756    3296      1113    63343    52500    2215        673   48872    7703        838      6563          523        30.91% Chattanoo, TN-
WALTON                 83768   13718      2683    65677    61180    9097       1619   49336   23081       4821     17716         3338        57.96% Atlanta-Sandy Springs
WARE                   36312   11010      1207    23583    27755    7849        764   18749     829        978      1076          927        13.39% Waycross,
WARREN                  5834    3624        54     2133     4461    2589         36    1815    -502       -159       -205           19        0.74%
WASHINGTON             21187   11323       407     9339    16141    8286        299    7477      11          -2       669         483         6.19%
WAYNE                  30099    6298      1719    21749    22638    4543       1181   16655    3534        817      2964          679        17.57% Jesup,
WEBSTER                 2799    1201        98     1492     2089     861         49    1173     409         76        302           45        5.51%
WHEELER                 7421    2647       356     4405     6022    2219        253    3548    1242        578      1226          639        40.44%
WHITE                  27144      568      647    25453    20944     380        370   19852    7200        101      5622            36       10.47%
WHITFIELD             102599    4519     32471    63818    73316    3063     18717    50242   19074       1015     12625          718        30.62% Dalton,
WILCOX                  9255    3305       338     5544     7468    2694        261    4470     678        183        844         358        15.33%
WILKES                 10593    4640       361     5495     8237    3457        218    4505     -94          -2       111           41        1.20%
WILKINSON               9563    3720       214     5529     7239    2693        137    4340    -657       -477       -198        -146        -5.14%
WORTH                  21679    6091       335    15044    16336    4249        217   11699    -288       -441        653         120         2.91% Albany,



Total               9687653 3054098    853689 5413920 7196101 2140789      539002 4242514 1501200      660673 1178882         517311         24.16%




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                 EXHIBIT G-4
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                                                                                                     1990 -2000 Change
                                                                                                     Black                Black       % Black
County (Metro                                                                      NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold) 2000 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                        18+ Latino White  Change    Change Change        change       change     MSAs
APPLING              17419    3450       792    13053    12690    2259        513    9826    1675        182      1530         299        15.26%
ATKINSON              7609    1506      1290     4760     5301    1025        750    3487    1396       -152       950          -23       -2.19% Douglas,
BACON                10103    1627       342     8068     7455     996        235    6176     537        147       747         163        19.57%
BAKER                 4074    2062       111     1889     2961    1407         64    1482     459        201       426         204        16.96%
BALDWIN              44700   19573       607    23920    34979   14341        430   19749    5170       2867      4607        2322        19.32% Milledgeville,
BANKS                14422      477      493    13256    10646     340        309    9856    4114        113      3075           82       31.78%
BARROW               46144    4675      1460    38543    33019    3115        961   28072   16423       1321     11612         873        38.94% Atlanta-Sandy Springs
BARTOW               76019    6829      2524    65644    54820    4541       1631   47917   20108       1803     14285        1042        29.78% Atlanta-Sandy Springs
BEN HILL             17484    5754       800    10818    12675    3742        565    8287    1239        666      1412         663        21.53% Fitzgerald,
BERRIEN              16235    1882       384    13761    11811    1198        220   10252    2082        234      1567         189        18.73%
BIBB                153887   73402      2023    76262 113007     48994       1392   60951    3920      10876      2903        7252        17.37% Macon-Bibb County,
BLECKLEY             11666    2891       107     8505     8565    1878         76    6503    1236        559       884         382        25.53%
BRANTLEY             14629      612      152    13712    10484     396         96    9879    3552         16      2772           17        4.49% Brunswick,
BROOKS               16450    6529       505     9303    12025    4267        360    7329    1052        139      1219         345         8.80% Valdosta,
BRYAN                23417    3431       465    19138    16128    2201        284   13367    7979       1138      5694         755        52.21% Savannah,
BULLOCH              55983   16271      1052    37998    43503   11800        816   30318   12858       5045     10215        4275        56.81% Statesboro,
BURKE                22243   11421       316    10336    15289    7227        196    7735    1664        665      1539         675        10.30% Augusta-Richmond Cou
BUTTS                19522    5705       277    13366    14823    4194        196   10298    4196        267      3444         308         7.93% Atlanta-Sandy Springs
CALHOUN               6320    3845       189     2368     4925    2908        155    1939    1307        892      1368         968        49.90%
CAMDEN               43664    9077      1585    31975    29832    5655        975   22486   13497       2998      8815        1592        39.18% St. Marys,
CANDLER               9577    2623       882     6028     7009    1796        594    4592    1833        218      1369         233        14.91%
CARROLL              87268   14647      2243    69258    64638    9952       1625   52256   15846       3416     12357        2350        30.91% Atlanta-Sandy Springs
CATOOSA              53282      767      621    51013    39526     455        392   38065   10818        410      8085         197        76.36% Chattanoo, TN-
CHARLTON             10282    3057        81     7014     7456    2157         48    5154    1786        702      1601         675        45.55%
CHATHAM             232048   95242      5403 125802 173965       64328       3822 101588    15113      12634     14316        9112        16.50% Savannah,
CHATTAHOOCHEE        14882    4701      1551     8181    10656    3068       1042    6209   -2052       -534     -1548        -502       -14.06% Columbus, -AL
CHATTOOGA            25470    2960       537    21776    19636    2339        396   16774    3228       1019      3088        1002        74.94% Summerville,
CHEROKEE            141903    3851      7695 127618 101793        2482       5281   92111   51699       2158     36932        1277      105.98% Atlanta-Sandy Springs
CLARKE              101489   28165      6436    62895    83381   19433       4529   56121   13895       5230     13339        4138        27.05% Athens-Clarke County,
CLAY                  3357    2044        32     1282     2493    1377         17    1096      -7          0       112           46        3.46%
CLAYTON             236517 124550      17728    82637 165596     79831     11823    65444   54465      81147     34399      51042       177.30% Atlanta-Sandy Springs
CLINCH                6878    2057        54     4713     4962    1355         32    3537     718        375       646         317        30.54%
COBB                607751 118229      46964 417947 449345       79717     32367 319272 160006         74075 114844         48983       159.38% Atlanta-Sandy Springs

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                                                                                                       1990 -2000 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop    18+Pop       18+Pop
Atlanta in Bold)   2000 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
COFFEE                 37413    9806      2550    24701    26831    6499       1609   18475    7821       2302      6093        1820        38.90% Douglas,
COLQUITT               42053    9989      4554    27252    30510    6377       3037   20906    5408       1128      4242         986        18.29% Moultrie,
COLUMBIA               89288   10375      2313    72438    62858    6886       1463   51640   23257       3093     16971        1741        33.84% Augusta-Richmond Cou
COOK                   15771    4645       485    10526    11318    2925        307    7987    2315        614      1723         405        16.07%
COWETA                 89215   16286      2797    68867    63573   10644       2072   49992   35362       4092     25071        2676        33.58% Atlanta-Sandy Springs
CRAWFORD               12495    3019       301     9037     9047    2143        235    6572    3504        262      2597         239        12.55% Macon-Bibb County,
CRISP                  21996    9624       382    11778    15618    5990        274    9193    1985       1471      1602        1072        21.80% Cordele,
DADE                   15154      103      137    14685    11541       86        90   11198    2007           2     1816            8       10.26% Chattanoo, TN-
DAWSON                 15999       73      254    15429    11991       39       180   11598    6570         69      5177           37    1850.00% Atlanta-Sandy Springs
DECATUR                28240   11353       905    15800    20178    7372        565   12097    2729       1283      2267         996        15.62% Bainbridge,
DEKALB                665865 368516      52542 214685 501887 253585          39251 185270 120028       138091      85603      96167         61.09% Atlanta-Sandy Springs
DODGE                  19171    5670       248    13142    14192    3822        162   10126    1564        806      1145         485        14.53%
DOOLY                  11525    5743       537     5161     8577    4032        339    4135    1624        891      1666        1013        33.55%
DOUGHERTY              96065   58154      1292    35794    69489   38854        874   29091    -246       9767      2495        8532        28.14% Albany,
DOUGLAS                92174   17653      2640    69965    66739   11530       1679   52179   21054      12056     15768        7868      214.86% Atlanta-Sandy Springs
EARLY                  12354    5996       152     6159     8813    3805         86    4877     500        770       523         591        18.39%
ECHOLS                  3754      261      739     2688     2654     169        501    1936    1420          -3     1017           18       11.92% Valdosta,
EFFINGHAM              37535    4985       531    31493    26301    3197        324   22422   11848       1365      8589         894        38.82% Savannah,
ELBERT                 20511    6360       489    13505    15209    4324        372   10407    1562        642      1348         531        14.00%
EMANUEL                21837    7318       745    13663    15762    4662        562   10451    1291        637      1461         683        17.17%
EVANS                  10495    3477       625     6333     7611    2294        435    4837    1771        514      1445         435        23.40%
FANNIN                 19798       32      130    19312    15654       20        88   15314    3806         27      3369           16     400.00%
FAYETTE                91263   10832      2582    74820    64709    7086       1702   53926   28848       7452     20521        4849      216.76% Atlanta-Sandy Springs
FLOYD                  90565   12345      4983    71674    68329    8333       3288   55597    9314       1239      6547         926        12.50% Rome,
FORSYTH                98407      770     5477    90820    70941     533       3787   65662   54324        756     38231         519     3707.14% Atlanta-Sandy Springs
FRANKLIN               20285    1837       187    18064    15431    1273        132   13880    3635        156      2734         156        13.97%
FULTON                816006 369014      48056 369997 616716 261196          35704 297707 167055         45006 124950         35953         15.96% Atlanta-Sandy Springs
GILMER                 23456       76     1815    21287    17753       43      1200   16301   10088         39      7749            9       26.47%
GLASCOCK                2556      218       12     2309     1947     163          6    1761     199        -80       145          -63      -27.88%
GLYNN                  67568   18147      2019    46566    50460   11922       1380   36533    5072       2206      4207        1562        15.08% Brunswick,
GORDON                 44104    1633      3268    38642    32606    1104       2318   28782    9032        312      7032         214        24.04% Calhoun,
GRADY                  23659    7207      1222    14954    17206    4708        827   11473    3380        812      2653         572        13.83%
GREENE                 14406    6434       420     7481    10792    4284        267    6181    2613        547      2609         626        17.11%

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                                                                                                       1990 -2000 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2000 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
GWINNETT              588448   81804     64137 394164 422455       54593     44167 289400 235538         63629 168259         41685       322.94% Atlanta-Sandy Springs
HABERSHAM              35902    1708      2750    30486    27471    1378       1707   23711    8281        154      6384           13        0.95% Cornelia,
HALL                  139277   10486     27242    98942 101760      7092     17424    75382   43849       2291     30791        1607        29.30% inesville,
HANCOCK                10076    7855        54     2141     7651    5697         44    1885    1168        778      1536        1128        24.69% Milledgeville,
HARALSON               25690    1443       143    23799    18992     966         97   17691    3724         16      2848            7        0.73% Atlanta-Sandy Springs
HARRIS                 23695    4662       260    18444    17630    3344        186   13853    5907         91      4342           82        2.51% Columbus, -AL
HART                   22997    4517       196    18087    17595    3121        137   14205    3285        515      2774         529        20.41%
HEARD                  11012    1221       116     9580     7848     856         65    6856    2384         58      1669           92       12.04% Atlanta-Sandy Springs
HENRY                 119341   17976      2692    95550    84480   11865       1690   68770   60600      11908     41955        7570      176.25% Atlanta-Sandy Springs
HOUSTON               110765   28046      3363    76391    79549   18390       2252   56784   21557       8670     15523        6073        49.31% Warner Robins,
IRWIN                   9931    2585       202     7102     7071    1610        126    5309    1282        -45       904          -14       -0.86%
JACKSON                41589    3356      1249    36314    30518    2423        793   26894   11584        452      8464         372        18.14% Jefferson,
JASPER                 11426    3145       236     7964     8317    2153        153    5959    2973        205      2249         190         9.68% Atlanta-Sandy Springs
JEFF DAVIS             12684    1932       651     9992     9230    1302        436    7407     652         98       575           89        7.34%
JEFFERSON              17266    9756       259     7215    12363    6553        185    5607    -142         56       203         293         4.68%
JENKINS                 8575    3496       287     4766     6132    2280        203    3634     328         84       320         126         5.85%
JOHNSON                 8560    3168        78     5307     5981    1891         54    4034     231        329        91         167         9.69% Dublin,
JONES                  23639    5569       169    17649    17228    4052        102   12888    2900        252      2277         344         9.28% Macon-Bibb County,
LAMAR                  15912    4895       172    10683    12013    3496        128    8274    2874        453      2419         468        15.46% Atlanta-Sandy Springs
LANIER                  7241    1878       126     5122     5258    1288         80    3811    1710        408      1343         341        36.01% Valdosta,
LAURENS                44874   15619       529    28199    32829   10443        334   21689    4886       2315      4099        1883        22.00% Dublin,
LEE                    24757    3889       300    20203    17168    2722        178   14023    8507        754      6134         547        25.15% Albany,
LIBERTY                61610   27467      5022    27244    41916   17267       3181   20050    8865       6812      5214        3843        28.63% Hinesville,
LINCOLN                 8348    2883        81     5321     6311    2061         54    4149     906         57       857         147         7.68% Augusta-Richmond Cou
LONG                   10304    2576       870     6678     6893    1560        541    4687    4102       1234      2571         699        81.18% Hinesville,
LOWNDES                92115   31767      2447    55992    67981   21440       1655   43485   16134       7526     13241        5744        36.60% Valdosta,
LUMPKIN                21016      343      728    19381    15914     244        447   14812    6443        105      4889           68       38.64%
MACON                  21231    8045       284    12795    15315    5314        167    9717    1112        725      1107         610        12.97%
MADISON                10847    4042        99     6607     7805    2664         55    5007    2213        323      1594         150         5.97% Athens-Clarke County,
MARION                 14074    8419       364     5184    10187    5857        233    4011     960        725      1215         900        18.16%
MCDUFFIE               25730    2216       507    22713    18966    1513        307   16936    4680        367      3532         233        18.20% Augusta-Richmond Cou
MCINTOSH                7144    2465       413     4182     5119    1636        294    3128    1554        159      1127           93        6.03% Brunswick,
MERIWETHER             22534    9560       191    12579    16536    6503        134    9747     123       -429       665           57        0.88% Atlanta-Sandy Springs

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                                                                                                       1990 -2000 Change
                                                                                                       Black                Black       % Black
County (Metro                                                                        NH18+   Pop        Pop    18+ Pop     18+Pop       18+Pop
Atlanta in Bold)   2000 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change       change     MSAs
MILLER                  6383    1848        44     4456     4705    1188         26    3465     103        122       155           96        8.79%
MITCHELL               23932   11524       491    11746    17392    7827        294    9137    3657       1877      3545        1929        32.71%
MONROE                 21757    6127       281    15150    16044    4423        188   11288    4644        721      3557         574        14.91% Macon-Bibb County,
MONTGOMERY              8270    2262       271     5684     6199    1669        162    4325    1107        236       898         233        16.23% Vidalia,
MORGAN                 15457    4481       248    10619    11351    3114        159    7996    2574         22      2030           17        0.55% Atlanta-Sandy Springs
MURRAY                 36506      304     2006    33890    26302     169       1223   24692   10359        263      7573         145      604.17% Dalton,
MUSCOGEE              186291   83157      8372    90668 136289     55832       5772   71510    7013      14996      5452      10698         23.70% Columbus, -AL
NEWTON                 62001   14008      1157    46007    44844    9228        741   34274   20193       4651     14712        2995        48.05% Atlanta-Sandy Springs
OCONEE                 26225    1731       833    23112    18294    1164        520   16259    8607        416      5734         301        34.88% Athens-Clarke County,
OGLETHORPE             12635    2548       174     9817     9377    1790        115    7401    2872        129      2167         153         9.35% Athens-Clarke County,
PAULDING               81678    5952      1398    73188    56599    3739        845   51262   40067       4304     27099        2640      240.22% Atlanta-Sandy Springs
PEACH                  23668   10816       998    11654    17505    7886        663    8812    2479        741      2081         809        11.43% Warner Robins,
PICKENS                22983      308      467    21897    17570     211        313   16827    8551         61      6754           32       17.88% Atlanta-Sandy Springs
PIERCE                 15636    1746       357    13425    11467    1165        231   10009    2308        177      1892         135        13.11% Waycross,
PIKE                   13688    2056       167    11350     9909    1510         99    8229    3464          3      2479           61        4.21% Atlanta-Sandy Springs
POLK                   38127    5209      2921    29684    28190    3523       1862   22577    4312        418      3315         323        10.09% Cedartown,
PULASKI                 9588    3313       270     5932     7372    2433        174    4713    1480        681      1448         713        41.45%
PUTNAM                 18812    5703       407    12471    14444    3855        282   10163    4675        955      3945         699        22.15%
QUITMAN                 2598    1227        13     1351     1975     815          8    1142     389        120       336           83       11.34% Eufaula, AL-
RABUN                  15050      146      683    14023    11764       78       456   11086    3402        105      2674           40     105.26%
RANDOLPH                7791    4648        92     3016     5662    3147         58    2427    -232          3        -4         185         6.25%
RICHMOND              199775 101328       5545    88660 146167     67731       3794   71158   10056      21689      7921      15059         28.59% Augusta-Richmond Cou
ROCKDALE               70111   13092      4182    50967    50823    8381       2961   38183   16020       8737     12059        5524      193.35% Atlanta-Sandy Springs
SCHLEY                  3766    1194        89     2462     2663     777         52    1825     178        -28        91          -35       -4.31% Americus,
SCREVEN                15374    6995       147     8182    11083    4680         94    6268    1532        786      1294         732        18.54%
SEMINOLE                9369    3263       347     5734     6919    2062        225    4598     359        320       274         226        12.31%
SPALDING               58417   18341       947    38435    42485   11967        632   29386    3960       2556      3338        1839        18.16% Atlanta-Sandy Springs
STEPHENS               25435    3148       250    21673    19468    2165        165   16880    2178        361      1819         244        12.70% Toccoa,
STEWART                 5252    3261        79     1926     3945    2336         45    1567    -402       -317      -164        -146        -5.88% Columbus, -AL
SUMTER                 33200   16359       891    15672    23968   10756        600   12389    2972       2314      2575        1879        21.17% Americus,
TALBOT                  6498    4037        82     2354     4928    2942         62    1909     -26        -30       171         134         4.77% Columbus, -AL
TALIAFERRO              2077    1261        19      787     1577     913         13     649     162         94       192         114        14.27%
TATTNALL               22305    7084      1883    13218    17197    5510       1219   10380    4583       1907      3758        1723        45.50%

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                                                                                                       1990 -2000 Change
                                                                                                       Black                Black      % Black
County (Metro                                                                        NH18+   Pop        Pop     18+ Pop    18+Pop      18+Pop
Atlanta in Bold)   2000 Pop AP Black Latino    NH White 18+ Pop 18+ AP Black
                                                                          18+ Latino White  Change    Change Change        change      change     MSAs
TAYLOR                  8815    3778       163     4847     6446    2549        125    3746    1173        478       940         375       17.25%
TELFAIR                11794    4568       215     6993     9141    3411        170    5542     794        795      1186         936       37.82%
TERRELL                10970    6693       136     4101     7856    4394         88    3341     317        316       367         359        8.90% Albany,
THOMAS                 42737   16745       734    24875    31136   11242        471   19129    3751       1986      3309        1684       17.62% Thomasville,
TIFT                   38407   10880      2944    24092    27948    7014       1923   18625    3409       1509      3008        1245       21.58% Tifton,
TOOMBS                 26067    6358      2310    17226    18624    4019       1406   13069    1995        721      1648         530       15.19% Vidalia,
TOWNS                   9319       17       67     9159     7802       16        57    7673    2565         17      2224          16   #DIV/0!
TREUTLEN                6854    2283        79     4463     5073    1561         58    3433     860        299       782         283       22.14% Dublin,
TROUP                  58779   18919      1004    38261    42406   12489        695   28827    3243       2225      2376        1564       14.32% LaGrange, -AL
TURNER                  9504    3905       244     5315     6707    2456        180    4040     801        371       724         445       22.13%
TWIGGS                 10590    4648       112     5784     7731    3204         83    4407     784        147       922         284        9.73% Macon-Bibb County,
UNION                  17289      111      153    16837    13830       91       125   13474    5296         92      4510          76     506.67%
UPSON                  27597    7757       327    19271    20565    5383        222   14788    1297        485       944         357        7.10% Thomaston,
WALKER                 61053    2458       565    57336    45937    1692        364   43356    2713        212      2620          31        1.87% Chattanoo, TN-
WALTON                 60687    8897      1163    49731    43464    5759        775   36362   22101       1792     15610        1032       21.83% Atlanta-Sandy Springs
WARE                   35483   10032       688    24434    26679    6922        445   19098      12        794       708         821       13.46% Waycross,
WARREN                  6336    3783        51     2483     4666    2570         27    2050     258        127       305         197        8.30%
WASHINGTON             21176   11325       134     9620    15472    7803         86    7511    2064       1451      1993        1288       19.77%
WAYNE                  26565    5481      1013    19838    19674    3864        720   14922    4209       1123      3813        1154       42.58% Jesup,
WEBSTER                 2390    1125        66     1186     1787     816         43     916     127          -7      149          29        3.68%
WHEELER                 6179    2069       219     3866     4796    1580        150    3046    1276        595      1301         655       70.81%
WHITE                  19944      467      311    18804    15322     344        209   14516    6938        107      5307          87       33.85%
WHITFIELD              83525    3504     18419    60338    60691    2345     11396    46058   11063        603      7164         330       16.38% Dalton,
WILCOX                  8577    3122       139     5299     6624    2336         92    4178    1569        897      1602         942       67.58%
WILKES                 10687    4642       212     5758     8126    3416        164    4495      90       -267       337          30        0.89%
WILKINSON              10220    4197       101     5893     7437    2839         74    4501      -8       -105       218          87        3.16%
WORTH                  21967    6532       240    14999    15683    4129        140   11267    2222        481      1928         420       11.32% Albany,



Total               8186453 2393425    435227 5128661 6017219 1623478      299258 3925585 1708237      646860 1266306        455336




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Plan Name: Senate14                             Plan Type : Senate                  User: Gina                   Administrator: State




                                                       %                        %        BLACK         TOTAL         %TOTAL                 HISP. OR
DISTRICT       POPULATION         DEVIATION       DEVIATION          BLACK     BLACK     COMBO         BLACK          BLACK                  LATINO     %HISP


001             171,350                -1,644           -0.95%        37,852    22.09%      2,493       40,345         23.55%                  10,252    5.98%

      VAP       127,614                                               26,202    20.53%           878    27,080         21.22%                   6,353    4.98%


002             172,067                  -927           -0.54%        92,824    53.95%      2,226       95,050         55.24%                   9,860    5.73%

      VAP       132,543                                               66,470    50.15%      1,050       67,520         50.94%                   6,981    5.27%


003             171,952                -1,042           -0.60%        39,606    23.03%      1,755       41,361         24.05%                   8,534    4.96%

      VAP       129,192                                               28,065    21.72%           585    28,650         22.18%                   5,463    4.23%


004             173,075                   81            0.05%         41,571    24.02%      1,245       42,816         24.74%                   8,958    5.18%

      VAP       131,149                                               30,454    23.22%           468    30,922         23.58%                   5,691    4.34%


005             172,513                  -481           -0.28%        49,881    28.91%      2,901       52,782         30.60%                  71,815   41.63%

      VAP       119,904                                               33,732    28.13%      1,292       35,024         29.21%                  45,746   38.15%


006             173,708                  714            0.41%         39,863    22.95%      2,400       42,263         24.33%                  24,754   14.25%

      VAP       137,161                                               30,590    22.30%      1,349       31,939         23.29%                  16,160   11.78%


007             171,498                -1,496           -0.86%        39,294    22.91%      1,115       40,409         23.56%                  11,685    6.81%

      VAP       128,245                                               28,401    22.15%           309    28,710         22.39%                   6,972    5.44%


008             171,383                -1,611           -0.93%        56,380    32.90%      1,515       57,895         33.78%                   9,198    5.37%

      VAP       128,253                                               40,080    31.25%           592    40,672         31.71%                   5,852    4.56%


009             173,867                  873            0.50%         34,699    19.96%      2,110       36,809         21.17%                  18,207   10.47%

      VAP       125,254                                               22,663    18.09%           832    23,495         18.76%                  11,604    9.26%


010             172,386                  -608           -0.35%       118,775    68.90%      2,614      121,389         70.42%                   7,140    4.14%

      VAP       125,304                                               84,709    67.60%      1,289       85,998         68.63%                   4,386    3.50%


011             172,584                  -410           -0.24%        57,123    33.10%       959        58,082         33.65%                  13,703    7.94%

      VAP       127,856                                               39,947    31.24%           352    40,299         31.52%                   8,305    6.50%


012             173,031                   37            0.02%        107,565    62.17%      1,262      108,827         62.89%                   6,147    3.55%

      VAP       130,495                                               76,605    58.70%           556    77,161         59.13%                   4,550    3.49%


013             171,539                -1,455           -0.84%        55,521    32.37%       951        56,472         32.92%                   8,156    4.75%

      VAP       128,351                                               39,341    30.65%           314    39,655         30.90%                   5,009    3.90%


014             173,151                  157            0.09%         15,505    8.95%       1,636       17,141          9.90%                  18,976   10.96%

      VAP       126,557                                               10,603    8.38%            465    11,068          8.75%                  11,707    9.25%


015             173,280                  286            0.17%         96,128    55.48%      2,958       99,086         57.18%                  10,633    6.14%

      VAP       128,462                                               69,203    53.87%      1,220       70,423         54.82%                   6,935    5.40%




DATA SOURCE: 2010 US Census PL94-171 Population Cou                                                                                     1
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Plan Name: Senate14                             Plan Type : Senate                  User: Gina                   Administrator: State




                                                       %                        %        BLACK         TOTAL         %TOTAL                 HISP. OR
DISTRICT       POPULATION         DEVIATION       DEVIATION          BLACK     BLACK     COMBO         BLACK          BLACK                  LATINO     %HISP


016             172,012                  -982           -0.57%        35,797    20.81%      1,478       37,275         21.67%                   7,128    4.14%

      VAP       127,450                                               25,465    19.98%           519    25,984         20.39%                   4,552    3.57%


017             171,822                -1,172           -0.68%        51,053    29.71%      2,106       53,159         30.94%                   7,980    4.64%

      VAP       121,373                                               33,663    27.74%           747    34,410         28.35%                   4,852    4.00%


018             172,982                   -12           -0.01%        48,323    27.94%      1,242       49,565         28.65%                   6,126    3.54%

      VAP       132,567                                               35,668    26.91%           447    36,115         27.24%                   3,906    2.95%


019             173,261                  267            0.15%         45,980    26.54%      1,751       47,731         27.55%                  15,524    8.96%

      VAP       128,915                                               33,460    25.96%           529    33,989         26.37%                  10,084    7.82%


020             173,859                  865            0.50%         50,174    28.86%      1,700       51,874         29.84%                   7,596    4.37%

      VAP       128,979                                               35,317    27.38%           567    35,884         27.82%                   4,759    3.69%


021             174,508                 1,514           0.88%         11,300    6.48%       1,358       12,658          7.25%                  11,742    6.73%

      VAP       125,212                                                7,721    6.17%            489     8,210          6.56%                   7,457    5.96%


022             171,645                -1,349           -0.78%       101,076    58.89%      2,998      104,074         60.63%                   7,217    4.20%

      VAP       129,039                                               71,660    55.53%      1,337       72,997         56.57%                   4,982    3.86%


023             171,559                -1,435           -0.83%        62,136    36.22%      1,544       63,680         37.12%                   5,511    3.21%

      VAP       128,048                                               43,718    34.14%           496    44,214         34.53%                   3,559    2.78%


024             172,595                  -399           -0.23%        33,638    19.49%      1,599       35,237         20.42%                   6,943    4.02%

      VAP       129,147                                               24,539    19.00%           470    25,009         19.36%                   4,236    3.28%


025             174,016                 1,022           0.59%         52,329    30.07%      1,171       53,500         30.74%                   5,684    3.27%

      VAP       134,483                                               38,282    28.47%           378    38,660         28.75%                   3,698    2.75%


026             171,351                -1,643           -0.95%       103,229    60.24%      1,561      104,790         61.16%                   5,003    2.92%

      VAP       126,588                                               72,782    57.50%           626    73,408         57.99%                   3,298    2.61%


027             172,726                  -268           -0.15%         4,490    2.60%        778         5,268          3.05%                  16,179    9.37%

      VAP       120,121                                                2,998    2.50%            277     3,275          2.73%                  10,177    8.47%


028             172,358                  -636           -0.37%        28,697    16.65%      1,436       30,133         17.48%                   9,562    5.55%

      VAP       126,140                                               20,138    15.96%           414    20,552         16.29%                   6,218    4.93%


029             173,911                  917            0.53%         45,511    26.17%      1,733       47,244         27.17%                   7,317    4.21%

      VAP       131,011                                               32,576    24.87%           552    33,128         25.29%                   4,795    3.66%


030             172,531                  -463           -0.27%        33,612    19.48%      2,207       35,819         20.76%                  10,302    5.97%

      VAP       125,663                                               23,275    18.52%           700    23,975         19.08%                   6,291    5.01%




DATA SOURCE: 2010 US Census PL94-171 Population Cou                                                                                     2
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Plan Name: Senate14                             Plan Type : Senate                  User: Gina                   Administrator: State




                                                       %                        %        BLACK         TOTAL         %TOTAL                 HISP. OR
DISTRICT       POPULATION         DEVIATION       DEVIATION          BLACK     BLACK     COMBO         BLACK          BLACK                  LATINO     %HISP


031             174,298                 1,304           0.75%         23,616    13.55%      1,798       25,414         14.58%                  10,762    6.17%

      VAP       124,828                                               15,799    12.66%           511    16,310         13.07%                   6,220    4.98%


032             174,271                 1,277           0.74%         14,817    8.50%       1,334       16,151          9.27%                   9,811    5.63%

      VAP       130,854                                               10,791    8.25%            542    11,333          8.66%                   6,539    5.00%


033             174,114                 1,120           0.65%         62,936    36.15%      3,058       65,994         37.90%                  33,571   19.28%

      VAP       128,718                                               43,422    33.73%      1,379       44,801         34.81%                  20,775   16.14%


034             173,063                   69            0.04%        108,169    62.50%      2,853      111,022         64.15%                  24,642   14.24%

      VAP       123,516                                               75,265    60.94%      1,375       76,640         62.05%                  15,146   12.26%


035             173,728                  734            0.42%        107,338    61.79%      3,013      110,351         63.52%                  13,774    7.93%

      VAP       122,650                                               72,472    59.09%      1,309       73,781         60.16%                   8,213    6.70%


036             172,083                  -911           -0.53%       103,348    60.06%      2,338      105,686         61.42%                  12,232    7.11%

      VAP       137,631                                               78,481    57.02%      1,630       80,111         58.21%                   8,800    6.39%


037             172,832                  -162           -0.09%        30,548    17.67%      1,919       32,467         18.79%                  13,258    7.67%

      VAP       126,053                                               20,606    16.35%           802    21,408         16.98%                   8,429    6.69%


038             174,530                 1,536           0.89%        110,537    63.33%      2,421      112,958         64.72%                  17,411    9.98%

      VAP       129,186                                               80,556    62.36%      1,289       81,845         63.35%                  10,835    8.39%


039             173,809                  815            0.47%        110,761    63.73%      2,303      113,064         65.05%                   9,651    5.55%

      VAP       139,465                                               83,562    59.92%      1,557       85,119         61.03%                   6,962    4.99%


040             173,539                  545            0.32%         26,747    15.41%      1,754       28,501         16.42%                  36,807   21.21%

      VAP       133,946                                               20,482    15.29%      1,010       21,492         16.05%                  25,354   18.93%


041             173,452                  458            0.26%         90,037    51.91%      2,732       92,769         53.48%                  23,281   13.42%

      VAP       127,577                                               64,136    50.27%      1,444       65,580         51.40%                  14,850   11.64%


042             172,447                  -547           -0.32%        42,913    24.88%      1,779       44,692         25.92%                  24,229   14.05%

      VAP       138,757                                               33,570    24.19%      1,094       34,664         24.98%                  16,922   12.20%


043             172,105                  -889           -0.51%       105,035    61.03%      2,631      107,666         62.56%                  12,251    7.12%

      VAP       123,175                                               71,792    58.28%      1,213       73,005         59.27%                   7,461    6.06%


044             174,464                 1,470           0.85%        122,966    70.48%      2,787      125,753         72.08%                  14,561    8.35%

      VAP       127,853                                               87,966    68.80%      1,378       89,344         69.88%                   9,051    7.08%


045             173,558                  564            0.33%         24,226    13.96%      1,927       26,153         15.07%                  22,225   12.81%

      VAP       120,526                                               15,902    13.19%           691    16,593         13.77%                  13,760   11.42%




DATA SOURCE: 2010 US Census PL94-171 Population Cou                                                                                     3
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Plan Name: Senate14                                              Plan Type : Senate                  User: Gina                   Administrator: State




                                                                        %                        %        BLACK         TOTAL         %TOTAL                 HISP. OR
DISTRICT             POPULATION                 DEVIATION          DEVIATION          BLACK     BLACK     COMBO         BLACK          BLACK                  LATINO     %HISP


046                   174,230                           1,236            0.71%         30,244    17.36%      1,313       31,557         18.11%                   8,606    4.94%

         VAP          135,912                                                          21,845    16.07%           563    22,408         16.49%                   5,673    4.17%


047                   174,417                           1,423            0.82%         25,803    14.79%      1,534       27,337         15.67%                  16,455    9.43%

         VAP          129,264                                                          18,117    14.02%           489    18,606         14.39%                   9,911    7.67%


048                   171,240                           -1,754           -1.01%        25,398    14.83%      1,929       27,327         15.96%                  21,232   12.40%

         VAP          122,833                                                          17,133    13.95%           794    17,927         14.59%                  13,645   11.11%


049                   173,823                             829            0.48%         12,877    7.41%       1,070       13,947          8.02%                  44,504   25.60%

         VAP          125,571                                                           9,143    7.28%            322     9,465          7.54%                  25,911   20.63%


050                   171,792                           -1,202           -0.69%         9,219    5.37%       1,099       10,318          6.01%                  13,621    7.93%

         VAP          131,117                                                           6,960    5.31%            256     7,216          5.50%                   7,940    6.06%


051                   173,593                             599            0.35%          1,471    0.85%        498         1,969          1.13%                   7,454    4.29%

         VAP          136,858                                                           1,128    0.82%            148     1,276          0.93%                   4,570    3.34%


052                   172,494                            -500            -0.29%        19,604    11.37%      1,418       21,022         12.19%                  18,234   10.57%

         VAP          128,253                                                          13,936    10.87%           368    14,304         11.15%                  10,849    8.46%


053                   173,151                             157            0.09%          7,102    4.10%       1,091        8,193          4.73%                   3,905    2.26%

         VAP          132,044                                                           5,563    4.21%            239     5,802          4.39%                   2,345    1.78%


054                   173,417                             423            0.24%          4,520    2.61%        968         5,488          3.16%                  38,990   22.48%

         VAP          125,379                                                           3,377    2.69%            250     3,627          2.89%                  22,395   17.86%


055                   174,196                           1,202            0.69%        114,253    65.59%      3,254      117,507         67.46%                  11,564    6.64%

         VAP          123,203                                                          78,012    63.32%      1,571       79,583         64.60%                   6,951    5.64%


056                   174,487                           1,493            0.86%         26,018    14.91%      2,040       28,058         16.08%                  22,826   13.08%

         VAP          129,856                                                          19,127    14.73%           996    20,123         15.50%                  14,917   11.49%


Total Population:         9,687,653
Ideal Value:        172,994
Summary Statistics
Population Range:         171,240     to      174,530

Absolute Overall Range:               3,290

Relative Range:           -1.01%        to    0.89%
Relative Overall Range:         1.90%




DATA SOURCE: 2010 US Census PL94-171 Population Cou                                                                                                      4
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                                                                                                                                                                                                  Client: State

                                                Georgia Senate Districts 2006                                                                                                                     Plan: Senate06
                                                                                                                                                                                                  Type: Senate




          Catoosa                                                       Towns
                                          Fannin                                      Rabun
Dade
                                                              Union
                      054
                Whitfield

       053
       Walker             Murray       Gilmer                           WhiteHabersham
                                                      051Lumpkin
                                                                                            Stephens
  Chattooga          Gordon           Pickens        Dawson
                                                                                               050
                                                                                             Franklin
                                                                                  Banks                      Hart
                  052                                                   Hall
                                      Cherokee
                                                027 Forsyth             049
        Floyd           Bartow
                                                                               Jackson        Madison
                                   021 056048      045
                                                                       047           Elbert
          Polk031               Cobb032
                              037                         Barrow    Clarke
                                          040005Gwinnett                   Oglethorpe
                               033006
                    Paulding                  041 009           046
                                                                 Oconee
                                   038 042 055
        Haralson      030            039
                                       036DeKalb         Walton                       Wilkes
                                                                                            024 Lincoln
                        Douglas
                                  Fulton        Rockdale
                                                 043
            Carroll                      044010
                                      Clayton
                                                                          Greene Taliaferro
                             035                      Newton    Morgan                               Columbia
                                                     017                                      McDuffie
                                    034
                                      Fayette          Henry                                                                                         022
                                                                                                                        Warren
                     028 Coweta                                           Jasper        Putnam                                               Richmond
            Heard                              Spalding                                    025            Hancock          Glascock
                                                               Butts


                                           Pike      016                                                                         Jefferson
                                                      Lamar                                  Baldwin                                                   Burke
                Troup      Meriwether
                                                                Monroe            Jones                           Washington
                        029                    Upson                                                                                     023

                                                                018        Bibb                   Wilkinson                                          Jenkins
                                                           Crawford                              026
                    Harris            Talbot                                                                             Johnson                                 Screven
                                                                                    Twiggs

                                                                                                                                      Emanuel
                    Muscogee                      Taylor           Peach
                                                                                                            Laurens
                                                                                           Bleckley
                                                                          Houston                                            Treutlen                   004
                    Chattahoochee                                                                                                                                           Effingham
                        015    Marion                                                         020                                              Candler
                                                           Macon                                                                                               Bulloch
                                               Schley
                                                                                   Pulaski                                 Montgomery
                                                                    Dooly                          Dodge                                                 Evans                        002
                                                014                                                                  Wheeler          Toombs                           Bryan
                                   Webster
                     Stewart                       Sumter
                                                                                                                                                 Tattnall                               Chatham
                                                                                     Wilcox                   Telfair
                Quitman                                                 Crisp                                                                                         Liberty
                                        Terrell                                                                                                                                   001
                                                                                                 Ben Hill               Jeff Davis    Appling
                                                                                                                                           019                 Long
                         Randolph                       Lee                  013
                                                                            Turner

                    Clay                                                                         Irwin            Coffee                               Wayne
                                Calhoun
                                           012Dougherty            Worth                                                         Bacon                                     McIntosh
                                                                                    Tift
                                        Baker
                        Early                                                                Berrien              Atkinson                  Pierce
                                                                                                                    007                                                   Glynn
                                                                       Colquitt                                                                  Brantley
                                                Mitchell                              Cook
                             Miller                                                                                                  Ware
                                                                                                         Lanier
                    Seminole                   011
                                                                                                                      Clinch
                                                                                                                                                           003
                                                                                                                                                                 Camden
                                                   Grady                       Brooks                                                       Charlton
                                                               Thomas             008 Lowndes
                                 Decatur
                                                                                                                  Echols




                                                                                                                                                                                  Map layers
                                                                                                                                                                                     Districts
                                                                                                                                                                                     VTD04
                                                                                                                                                                                     County (Tiger)
                                                                                                                                                                      0           20          40           60
                                                                                                                                                                                        Miles
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                 EXHIBIT J-1
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                                                               Population Summary Report
                                                Georgia State Senate --2014 Benchmark Plan
                                                                                                                                   2015-19  2015-19
                      % 2020                      18+ AP    % 18+ AP 18+_NH % 18+ NH 2015-19                  2015-19   2015-19    B+L+A NH White
District   2020 Pop. Deviation 18+ Pop             Black      Black    White   White   BCVAP*                 LCVAP*    ACVAP*     CVAP*    CVAP*
   001        198887     3.97%   152297               35451    23.28%    96772  63.54% 22.69%                   5.60%     2.50%      30.79%  68.07%
   002        189492    -0.94%   150134               70693    47.09%    60178  40.08% 53.43%                   4.30%     1.46%      59.18%  40.00%
   003        177449    -7.23%   138541               28640    20.67%    95762  69.12% 22.80%                   3.18%     1.40%      27.39%  71.81%
   004        193292     1.05%   147437               35090    23.80%    99258  67.32% 24.14%                   2.82%     0.76%      27.72%  71.45%
   005        196143     2.54%   142732               43538    30.50%    23318  16.34% 39.22%                  19.37%    13.57%      72.16%  26.68%
   006        210532    10.06%   172356               43196    25.06%    92734  53.80% 25.05%                   5.73%     4.64%      35.42%  64.09%
   007        171471   -10.36%   130540               30505    23.37%    88112  67.50% 24.31%                   3.43%     0.47%      28.21%  71.23%
   008        179719    -6.05%   135732               46162    34.01%    77098  56.80% 33.19%                   4.02%     1.18%      38.39%  60.73%
   009        208385     8.94%   154183               44050    28.57%    70409  45.67% 25.32%                   8.13%     8.70%      42.15%  56.96%
   010        189350    -1.01%   146159             109589     74.98%    24225  16.57% 73.45%                   3.29%     2.66%      79.39%  19.99%
   011        176167    -7.90%   134129               43418    32.37%    77682  57.92% 34.09%                   3.11%     0.59%      37.78%  61.39%
   012        156514   -18.18%   122414               76043    62.12%    39684  32.42% 63.31%                   1.39%     0.68%      65.38%  34.05%
   013        166659   -12.87%   128573               40500    31.50%    78559  61.10% 32.60%                   2.73%     0.91%      36.23%  63.09%
   014        201621     5.40%   153905               16759    10.89%   111171  72.23% 10.68%                   6.08%     1.75%      18.52%  80.36%
   015        167658   -12.35%   127245               72150    56.70%    43673  34.32% 55.52%                   5.54%     1.20%      62.26%  36.50%
   016        185112    -3.23%   142191               31282    22.00%    96558  67.91% 21.58%                   3.25%     1.96%      26.79%  72.18%
   017        203628     6.45%   151694               63292    41.72%    74437  49.07% 35.83%                   3.75%     1.13%      40.71%  58.47%
   018        181317    -5.21%   142464               43919    30.83%    87228  61.23% 30.31%                   2.09%     1.11%      33.52%  65.66%
   019        171580   -10.30%   130086               35842    27.55%    80326  61.75% 28.65%                   4.82%     0.49%      33.95%  65.24%
   020        194874     1.88%   146865               44728    30.46%    88596  60.32% 30.31%                   3.34%     1.99%      35.64%  63.45%
   021        213660    11.70%   161932               12410      7.66%  120173  74.21%  7.30%                   4.78%     3.41%      15.49%  83.83%
   022        177079    -7.43%   137131               80572    58.76%    44194  32.23% 60.81%                   4.00%     1.50%      66.31%  32.82%
   023        172283    -9.93%   133828               47670    35.62%    76938  57.49% 34.71%                   2.44%     1.16%      38.31%  60.89%
   024        201121     5.14%   152283               31388    20.61%   104217  68.44% 20.74%                   3.65%     2.67%      27.06%  72.23%
   025        184090    -3.76%   146057               41632    28.50%    94913  64.98% 30.11%                   2.17%     0.99%      33.27%  66.32%
   026        162113   -15.25%   123874               74504    60.14%    42998  34.71% 60.87%                   1.71%     0.71%      63.28%  36.27%
   027        247844    29.57%   178599                8702      4.87%  119868  67.12%  3.95%                   5.33%     7.35%      16.63%  82.62%
   028        193759     1.29%   148139               25846    17.45%   106941  72.19% 17.43%                   4.00%     1.42%      22.85%  76.32%
   029        190152    -0.59%   146692               41511    28.30%    89648  61.11% 28.79%                   3.92%     2.16%      34.87%  64.43%
   030        185628    -2.96%   140487               32442    23.09%    92957  66.17% 22.57%                   3.58%     1.07%      27.23%  71.80%
   031        200874     5.01%   148856               26030    17.49%   107611  72.29% 14.69%                   4.17%     0.65%      19.51%  79.72%
   032        191820     0.28%   146090               15068    10.31%   100623  68.88%  9.43%                   4.72%     6.29%      20.45%  78.78%
   033        194620     1.74%   149098               57946    38.86%    54199  36.35% 42.38%                   9.42%     2.68%      54.48%  44.66%
   034        193843     1.34%   143989               98409    68.34%    20582  14.29% 71.98%                   5.24%     3.44%      80.65%  18.33%
   035        207451     8.45%   155438             110949     71.38%    29749  19.14% 68.38%                   4.15%     0.96%      73.49%  25.68%
   036        194797     1.84%   160571               86374    53.79%    55677  34.67% 55.27%                   3.64%     2.85%      61.76%  37.72%
   037        192450     0.61%   149015               32301    21.68%    93201  62.54% 20.68%                   5.28%     3.58%      29.54%  69.66%
   038        194347     1.60%   149483               95641    63.98%    35249  23.58% 68.29%                   4.41%     1.98%      74.69%  24.80%
   039        205632     7.50%   170381               98999    58.10%    50264  29.50% 62.02%                   2.97%     3.59%      68.58%  30.69%
   040        195569     2.24%   151062               27069    17.92%    76038  50.34% 19.37%                   6.80%     8.03%      34.21%  65.14%
   041        196140     2.54%   146663               72979    49.76%    31519  21.49% 57.22%                   6.08%     7.27%      70.57%  28.32%
   042        188406    -1.50%   151516               36776    24.27%    82267  54.30% 27.82%                   3.82%     5.74%      37.38%  61.71%
   043        196565     2.76%   148422             102018     68.74%    33974  22.89% 66.24%                   3.75%     1.45%      71.44%  27.81%
   044        198371     3.70%   151932             110050     72.43%    22257  14.65% 74.99%                   4.65%     3.54%      83.17%  15.89%
   045        214703    12.24%   158272               29023    18.34%    80234  50.69% 17.75%                   7.78%    10.08%      35.62%  63.70%
   046        203757     6.52%   160011               27059    16.91%   113961  71.22% 18.37%                   3.08%     2.76%      24.21%  75.11%
   047        202081     5.64%   154098               23646    15.34%   105856  68.69% 15.67%                   5.12%     2.23%      23.02%  76.30%
   048        197406     3.20%   151281               28527    18.86%    57510  38.02% 20.30%                   7.68%    20.19%      48.17%  50.90%
   049        196756     2.86%   149277               11752      7.87%   96626  64.73%  8.65%                  11.42%     2.05%      22.11%  77.08%
   050        186077    -2.72%   145138                8642      5.95%  119197  82.13%  6.33%                   4.30%     1.03%      11.66%  87.35%
   051        193626     1.22%   158512                1962      1.24%  142807  90.09%  1.37%                   2.34%     0.49%       4.20%  94.12%
   052        179411    -6.21%   137797               16207    11.76%   101967  74.00% 11.79%                   4.98%     0.90%      17.67%  81.60%
   053        174643    -8.70%   135994                6402      4.71%  120228  88.41%  4.66%                   1.45%     0.74%       6.86%  92.13%
   054        176410    -7.78%   132248                4100      3.10%   95114  71.92%  3.35%                  11.02%     0.79%      15.16%  83.25%
   055        199509     4.30%   149542             104737     70.04%    26486  17.71% 72.06%                   3.70%     1.73%      77.50%  21.77%
   056        189065    -1.16%   146889               23796    16.20%    90510  61.62% 17.68%                   5.90%     6.17%      29.75%  69.41%
Total
2020
Pop.       10,711,908      47.75% 8,220,274        2,607,986       31.73% 4,342,333        52.82%

Majority Districts                                                 13                                    15                           17         39

CVAP Source:
* 2015-19 ACS Special Tabulation
Note: Citizen Voting Age Population (CVAP) percentages are disaggreagated from block-gorup level ACS estimates (with a survey midpoint of July 2017)

Source for disaggregation: Redistricting Data Hub
https://redistrictingdatahub.org/dataset/georgia-cvap-data-disaggregated-to-the-2020-block-level-2019/
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                                                           Population Summary Report
                                              Georgia State Senate -2011 Plan
                                                                                                                                       2006-2010
                      % 2020                    18+ AP    % 18+ AP        18+_NH % 18+ NH 2006-2010 2006-2010             2006-2010     B+L+A
District   2020 Pop. Deviation 18+ Pop           Black      Black          White    White   BCVAP*    LCVAP*                ACVAP*      CVAP*
   001        171350    -0.95%   127614             27080     21.2%          89831   70.39%  20.07%     3.90%                 2.00%       25.97%
   002        172067    -0.54%   132543             67520     50.9%          54497   41.12%  53.36%     2.44%                 1.13%       56.93%
   003        171952    -0.60%   129192             28650     22.2%          92672   71.73%  22.46%     2.43%                 0.74%       25.63%
   004        173075     0.05%   131149             30922     23.6%          92265   70.35%  23.57%     1.64%                 0.62%       25.83%
   005        172323    -0.39%   119823             34545     28.8%          27743   23.15%  37.43%    12.69%                 9.70%       59.82%
   006        173708     0.41%   137161             31939     23.3%          81413   59.36%  21.15%     3.24%                 2.60%       26.99%
   007        171777    -0.70%   128025             27351     21.4%          92252   72.06%  22.07%     2.05%                 0.06%       24.18%
   008        171383    -0.93%   128253             40672     31.7%          79220   61.77%  31.99%     1.87%                 0.67%       34.53%
   009        173867     0.50%   125254             23495     18.8%          79744   63.67%  15.89%     3.88%                 6.64%       26.41%
   010        172386    -0.35%   125304             85998     68.6%          31542   25.17%  67.49%     2.23%                 2.05%       71.77%
   011        172584    -0.24%   127856             40299     31.5%          77812   60.86%  33.06%     1.98%                 0.29%       35.33%
   012        172926    -0.04%   130407             77155     59.2%          47349   36.31%  59.83%     1.10%                 0.36%       61.29%
   013        171365    -0.94%   128659             41020     31.9%          80830   62.82%  32.27%     1.88%                 0.44%       34.59%
   014        173151     0.09%   126557             11068      8.8%         100580   79.47%   8.76%     3.51%                 1.03%       13.30%
   015        173280     0.17%   128462             70423     54.8%          49110   38.23%  52.78%     3.55%                 0.80%       57.13%
   016        172012    -0.57%   127450             25984     20.4%          93645   73.48%  19.93%     1.99%                 0.92%       22.84%
   017        171822    -0.68%   121373             34410     28.4%          79927   65.85%  24.92%     2.66%                 1.07%       28.65%
   018        172982    -0.01%   132567             36115     27.2%          89587   67.58%  27.40%     1.65%                 0.79%       29.84%
   019        173261     0.15%   128915             33989     26.4%          83563   64.82%  27.37%     3.49%                 0.33%       31.19%
   020        173859     0.50%   128979             35884     27.8%          84987   65.89%  27.68%     2.00%                 1.32%       31.00%
   021        174508     0.88%   125212              8210      6.6%         101929   81.41%   5.89%     3.15%                 2.14%       11.18%
   022        171645    -0.78%   129039             72997     56.6%          48103   37.28%  55.66%     3.10%                 1.26%       60.02%
   023        172187    -0.47%   128540             44335     34.5%          78094   60.75%  34.57%     1.03%                 0.65%       36.25%
   024        171967    -0.59%   128655             24888     19.3%          95312   74.08%  19.50%     2.09%                 1.85%       23.44%
   025        174016     0.59%   134483             38660     28.8%          89944   66.88%  29.18%     1.35%                 0.51%       31.04%
   026        171351    -0.95%   126588             73408     58.0%          48667   38.45%  57.89%     1.11%                 0.58%       59.58%
   027        172726    -0.15%   120121              3275      2.7%          98446   81.96%   2.12%     3.37%                 2.78%        8.27%
   028        172358    -0.37%   126140             20552     16.3%          96736   76.69%  16.18%     2.45%                 0.73%       19.36%
   029        173911     0.53%   131011             33128     25.3%          89031   67.96%  26.03%     2.47%                 1.41%       29.91%
   030        172531    -0.27%   125663             23975     19.1%          93513   74.42%  18.06%     2.19%                 0.56%       20.81%
   031        174298     0.75%   124828             16310     13.1%         100359   80.40%  11.74%     2.53%                 0.61%       14.88%
   032        174271     0.74%   130854             11333      8.7%         102432   78.28%   8.75%     2.90%                 4.29%       15.94%
   033        174114     0.65%   128718             44801     34.8%          59010   45.84%  36.47%     5.14%                 1.63%       43.24%
   034        173063     0.04%   123516             76640     62.1%          26225   21.23%  64.69%     4.28%                 3.71%       72.68%
   035        173728     0.42%   122650             73781     60.2%          39009   31.81%  58.56%     2.88%                 1.01%       62.45%
   036        172083    -0.53%   137631             80111     58.2%          45549   33.10%  58.93%     2.84%                 2.36%       64.13%
   037        172832    -0.09%   126053             21408     17.0%          90383   71.70%  14.74%     3.86%                 3.06%       21.66%
   038        174530     0.89%   129186             81845     63.4%          33635   26.04%  68.01%     2.82%                 1.36%       72.19%
   039        173809     0.47%   139465             85119     61.0%          40407   28.97%  62.14%     2.33%                 1.89%       66.36%
   040        173539     0.32%   133946             21492     16.1%          74299   55.47%  16.17%     4.92%                 6.06%       27.15%
   041        173452     0.26%   127577             65580     51.4%          34734   27.23%  55.70%     4.08%                 5.28%       65.06%
   042        172447    -0.32%   138757             34664     25.0%          76721   55.29%  26.54%     3.61%                 3.44%       33.59%
   043        172105    -0.51%   123175             73005     59.3%          41279   33.51%  55.95%     2.19%                 1.05%       59.19%
   044        174464     0.85%   127853             89344     69.9%          24598   19.24%  71.85%     3.07%                 2.30%       77.22%
   045        173558     0.33%   120526             16593     13.8%          77283   64.12%  13.44%     5.74%                 6.32%       25.50%
   046        174230     0.71%   135912             22408     16.5%         102352   75.31%  16.77%     1.86%                 1.95%       20.58%
   047        174417     0.82%   129264             18606     14.4%          96620   74.75%  14.27%     3.16%                 1.60%       19.03%
   048        171430    -0.90%   122914             18406     15.0%          60176   48.96%  16.51%     4.70%                14.45%       35.66%
   049        173823     0.48%   125571              9465      7.5%          87303   69.52%   8.32%     6.14%                 1.36%       15.82%
   050        171792    -0.69%   131117              7216      5.5%         113429   86.51%   5.27%     1.85%                 0.73%        7.85%
   051        173593     0.35%   136858              1276      0.9%         128844   94.14%   0.80%     1.41%                 0.23%        2.44%
   052        172494    -0.29%   128253             14304     11.2%         100866   78.65%  10.80%     2.49%                 0.77%       14.06%
   053        173151     0.09%   132044              5802      4.4%         121629   92.11%   4.32%     1.21%                 0.43%        5.96%
   054        173417     0.24%   125379              3627      2.9%          97436   77.71%   3.20%     6.52%                 0.47%       10.19%
   055        174196     0.69%   123203             79583     64.6%          33740   27.39%  63.88%     2.40%                 1.91%       68.19%
  056        174,487     0.86%  129,856             20123     15.5%          85,852  66.11%     0.14    3.46%                 3.47%       20.93%


CVAP Source:
* 2006-10 ACS Special Tabulation
Note: Citizen Voting Age Population (CVAP) percentages are disaggreagated from block-gorup level ACS estimates (with a survey midpoint of July 2017)
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                                              Population Summary Report -- 2010 Census
                                              Georgia State Senate -2006 Benchmark Plan
                                                                                                                                       2006-2010
                      % 2010                    18+ AP    % 18+ AP        18+_NH % 18+ NH 2006-2010 2006-2010             2006-2010     B+L+A
District   2010 Pop. Deviation 18+ Pop           Black      Black          White    White   BCVAP*    LCVAP*                ACVAP*      CVAP*
   001        184711     6.77%   138727             28211    20.34%          99045   71.40%  19.04%     3.71%                 1.92%       24.67%
   002        145784   -15.73%   112658             61726    54.79%          42284   37.53%  57.54%     2.07%                 1.03%       60.64%
   003        175054     1.19%   131558             28706    21.82%          94902   72.14%  22.04%     2.40%                 0.73%       25.17%
   004        182797     5.67%   138452             33267    24.03%          97083   70.12%  24.09%     1.57%                 0.58%       26.24%
   005        165465    -4.35%   116283             33067    28.44%          21463   18.46%  40.07%    13.89%                10.37%       64.33%
   006        166643    -3.67%   126854             47911    37.77%          54761   43.17%  39.41%     4.53%                 2.56%       46.50%
   007        162770    -5.91%   120774             24525    20.31%          87389   72.36%  21.43%     2.19%                 0.14%       23.76%
   008        165743    -4.19%   124564             44682    35.87%          72509   58.21%  35.97%     1.94%                 0.68%       38.59%
   009        203621    17.70%   145121             38197    26.32%          75722   52.18%  23.89%     5.40%                 6.37%       35.66%
   010        173450     0.26%   127296             85751    67.36%          35990   28.27%  66.52%     1.92%                 0.92%       69.36%
   011        149726   -13.45%   110742             32490    29.34%          69166   62.46%  30.87%     2.01%                 0.24%       33.12%
   012        141413   -18.26%   106402             64913    61.01%          38212   35.91%  60.86%     1.04%                 0.31%       62.21%
   013        150866   -12.79%   111625             31860    28.54%          73782   66.10%  28.86%     1.67%                 0.45%       30.98%
   014        158067    -8.63%   121156             52475    43.31%          61431   50.70%  44.67%     1.42%                 0.40%       46.49%
   015        133879   -22.61%    98798             54594    55.26%          36113   36.55%  52.77%     4.36%                 1.03%       58.16%
   016        165379    -4.40%   122416             27345    22.34%          87358   71.36%  22.30%     2.11%                 0.96%       25.37%
   017        238272    37.73%   169706             48961    28.85%         111309   65.59%  25.89%     2.34%                 1.09%       29.32%
   018        181223     4.76%   135340             30636    22.64%          95435   70.51%  22.18%     2.17%                 1.19%       25.54%
   019        161882    -6.42%   118661             32286    27.21%          75769   63.85%  28.34%     3.90%                 0.55%       32.79%
   020        176026     1.75%   134154             40285    30.03%          87131   64.95%  30.48%     1.52%                 0.89%       32.89%
   021        171113    -1.09%   125264              8607     6.87%         102102   81.51%   6.68%     3.51%                 2.19%       12.38%
   022        138542   -19.92%   103278             62421    60.44%          35770   34.63%  59.52%     2.77%                 1.07%       63.36%
   023        153242   -11.42%   115804             46613    40.25%          62952   54.36%  39.61%     1.57%                 0.74%       41.92%
   024        182334     5.40%   134569             28263    21.00%          96242   71.52%  21.01%     2.35%                 2.09%       25.45%
   025        160177    -7.41%   125124             42949    34.33%          77377   61.84%  35.94%     1.21%                 0.39%       37.54%
   026        135905   -21.44%    99895             59270    59.33%          36366   36.40%  58.03%     1.45%                 0.79%       60.27%
   027        264822    53.08%   186205              6478     3.48%         154737   83.10%   2.82%     3.59%                 2.09%        8.50%
   028        191899    10.93%   140568             21340    15.18%         109867   78.16%  15.31%     2.26%                 0.67%       18.24%
   029        173136     0.08%   130030             33994    26.14%          87586   67.36%  26.29%     2.42%                 1.31%       30.02%
   030        212492    22.83%   153122             35660    23.29%         106598   69.62%  21.82%     2.75%                 0.82%       25.39%
   031        204694    18.32%   148103             17314    11.69%         119626   80.77%  10.37%     2.36%                 0.55%       13.28%
   032        151598   -12.37%   116859             11522     9.86%          88178   75.46%   8.99%     2.88%                 3.97%       15.84%
   033        158587    -8.33%   116259             42842    36.85%          51012   43.88%  38.30%     5.26%                 1.53%       45.09%
   034        160881    -7.00%   115085             75542    65.64%          27419   23.82%  65.89%     3.20%                 2.29%       71.38%
   035        214483    23.98%   152659           110519     72.40%          31056   20.34%  72.82%     2.21%                 0.87%       75.90%
   036        145158   -16.09%   117776             60646    51.49%          45548   38.67%  51.99%     2.57%                 2.41%       56.97%
   037        192546    11.30%   140657             23916    17.00%         100422   71.39%  15.00%     3.75%                 3.05%       21.80%
   038        145163   -16.09%   108443             63546    58.60%          36308   33.48%  61.94%     1.27%                 0.83%       64.04%
   039        146037   -15.58%   122766             60282    49.10%          48988   39.90%  50.12%     3.27%                 2.75%       56.14%
   040        153070   -11.52%   119014             15664    13.16%          69656   58.53%  12.70%     4.00%                 6.52%       23.22%
   041        150651   -12.92%   112808             41216    36.54%          46499   41.22%  38.29%     4.15%                 6.40%       48.84%
   042        147006   -15.02%   118734             33805    28.47%          64015   53.91%  31.12%     3.20%                 3.15%       37.47%
   043        177093     2.37%   127999             95437    74.56%          25236   19.72%  73.24%     1.56%                 0.83%       75.63%
   044        170216    -1.61%   122115             67541    55.31%          29482   24.14%  57.21%     5.31%                 5.21%       67.73%
   045        256939    48.52%   178613             27938    15.64%         112602   63.04%  14.98%     5.30%                 6.28%       26.56%
   046        181993     5.20%   141820             27119    19.12%         100341   70.75%  20.14%     2.21%                 1.92%       24.27%
   047        193917    12.09%   143996             17787    12.35%         114361   79.42%  11.59%     2.34%                 1.44%       15.37%
   048        198933    14.99%   141413             17034    12.05%          81921   57.93%  13.00%     3.98%                11.47%       28.45%
   049        190699    10.23%   137589             10015     7.28%          96620   70.22%   7.91%     6.34%                 1.34%       15.59%
   050        164656    -4.82%   127509              8870     6.96%         110345   86.54%   7.06%     1.44%                 0.59%        9.09%
   051        190842    10.32%   149612              1387     0.93%         140803   94.11%   0.76%     1.39%                 0.23%        2.38%
   052        168885    -2.38%   125503             12854    10.24%         100230   79.86%  10.45%     2.42%                 0.85%       13.72%
   053        164710    -4.79%   125890              5810     4.62%         115710   91.91%   4.47%     1.11%                 0.39%        5.97%
   054        173407     0.24%   125160              3705     2.96%          97125   77.60%   3.28%     6.62%                 0.53%       10.43%
   055        158179    -8.56%   113993             81541    71.53%          22515   19.75%   71.4%     2.27%                 2.21%       75.91%
  056        160,877    -7.00%  120,580             19454    16.13%          80,045  66.38%  14.04%     3.40%                 3.23%       20.67%


CVAP Source:
* 2006-10 ACS Special Tabulation
Note: Citizen Voting Age Population (CVAP) percentages are disaggreagated from block-gorup level ACS estimates (with a survey midpoint of July 2017)
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                   EXHIBIT L
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       User: S018
 Plan Name: Senate-prop1-2021
  Plan Type: Senate

Population Summary

Summary Statistics:
Population Range:                   189,320 to 193,163
Ratio Range:                        0.02
Absolute Range:                     -1,964 to 1,879
Absolute Overall Range:             3,843
Relative Range:                     -1.03% to 0.98%
Relative Overall Range:             2.01%
Absolute Mean Deviation:            1,012.61
Relative Mean Deviation:            0.53%
Standard Deviation:                 1,154.96

District          Population Deviation            % Devn.      [18+_Pop] [% 18+_Pop] [% NH_Wht]   [% NH_Blk] [% Hispanic [% NH_Asn] [% NH_Ind] [% NH_Hwn] [% NH_Oth]   [% NH_2+
                                                                                                                 Origin]                                                  Races]
001                       191,402          118        0.06%       145,428     75.98%      58.9%       23.66%      8.78%       2.64%      0.25%       0.3%      0.48%         4.99%
002                       190,408          -876       -0.46%      150,843     79.22%      36.4%       47.51%      8.36%        3.4%      0.21%      0.15%      0.46%         3.49%
003                       191,212           -72       -0.04%      148,915     77.88%     66.23%       20.92%      6.82%       1.22%      0.26%      0.09%      0.42%         4.04%
004                       191,098          -186       -0.10%      146,443     76.63%     64.48%        22.6%      6.49%       1.86%      0.23%      0.07%      0.38%          3.9%
005                       191,921          637        0.33%       139,394     72.63%     13.35%       26.84%     45.47%      10.98%      0.15%      0.04%      0.64%         2.52%
006                       191,401          117        0.06%       155,781     81.39%     56.41%       21.47%      9.18%       7.21%      0.16%      0.03%      1.11%         4.42%
007                       189,709     -1,575          -0.82%      147,425     77.71%     35.09%       20.08%     18.57%      21.67%      0.16%      0.04%      0.66%         3.72%
008                       192,396      1,112          0.58%       145,144     75.44%     57.39%       30.03%      7.28%       1.21%      0.28%      0.07%      0.35%          3.4%
009                       192,915      1,631          0.85%       142,054     73.64%     32.04%       28.46%     21.09%      13.98%      0.18%      0.03%      0.72%         3.48%
010                       192,898      1,614          0.84%       147,884     76.66%     17.71%       68.95%      6.03%        3.1%      0.18%      0.03%      0.66%         3.34%
011                       189,976     -1,308          -0.68%      144,597     76.11%     55.75%       31.13%      9.36%       0.69%      0.23%      0.03%      0.26%         2.54%
012                       190,819          -465       -0.24%      149,154     78.17%     33.83%       58.82%      3.89%       0.86%      0.16%      0.02%      0.21%          2.2%
013                       189,326     -1,958          -1.02%      144,141     76.13%     61.25%       27.08%       7.2%        1.2%      0.17%      0.02%      0.26%         2.81%
014                       192,533      1,249          0.65%       155,340     80.68%     54.63%       16.79%     13.97%       9.46%      0.13%      0.04%      0.79%         4.19%
015                       189,446     -1,838          -0.96%      144,506     76.28%     34.07%       52.31%      7.57%       1.31%      0.23%      0.27%      0.44%         3.79%
016                       191,829          545        0.28%       147,133      76.7%     64.19%       22.31%      5.95%       3.04%      0.17%      0.03%      0.51%         3.79%
017                       192,510      1,226          0.64%       144,472     75.05%     56.69%       31.21%      6.08%       1.41%      0.16%      0.05%      0.59%         3.81%
018                       191,825          541        0.28%       150,196      78.3%     58.41%       30.01%      5.18%       2.42%      0.22%      0.03%       0.4%         3.33%
019                       192,316      1,032          0.54%       146,131     75.98%     61.67%       24.76%      9.72%       0.58%      0.17%      0.06%      0.27%         2.77%
020                       192,588      1,304          0.68%       147,033     76.35%     59.74%       30.65%      4.21%       1.73%      0.15%      0.05%      0.31%         3.16%
021                       192,572      1,288          0.67%       145,120     75.36%     71.13%        6.52%     10.13%       7.38%      0.19%      0.04%      0.53%         4.08%
022                       193,163      1,879          0.98%       150,450     77.89%      31.1%       56.58%      5.63%       1.97%      0.24%      0.18%      0.44%         3.86%
023                       190,344          -940       -0.49%      144,113     75.71%     54.27%       34.66%      5.46%       1.16%      0.24%       0.1%      0.34%         3.78%
024                       192,674      1,390          0.73%       148,602     77.13%     67.45%       18.98%       5.4%       3.31%      0.18%      0.09%      0.43%         4.15%
025                       191,161          -123       -0.06%      148,917      77.9%     57.45%        33.4%      4.27%       1.08%      0.16%      0.05%      0.43%         3.16%
026                       189,945     -1,339          -0.70%      145,744     76.73%     33.26%       57.37%      4.85%       0.83%      0.21%      0.04%      0.31%         3.14%
027                       190,676          -608       -0.32%      139,196       73%         68%        4.31%     11.61%      11.41%      0.18%      0.04%      0.52%         3.94%
028                       190,422          -862       -0.45%      144,973     76.13%     67.06%       18.79%       7.4%       1.96%      0.22%      0.04%      0.48%         4.06%
029                       189,424     -1,860          -0.97%      145,674      76.9%     60.71%       26.22%      5.34%       3.02%      0.23%       0.1%      0.42%         3.97%


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Population Summary                                                                                                                                  Senate-prop1-2021



District      Population Deviation    % Devn.    [18+_Pop] [% 18+_Pop] [% NH_Wht]   [% NH_Blk] [% Hispanic [% NH_Asn] [% NH_Ind] [% NH_Hwn] [% NH_Oth]   [% NH_2+
                                                                                                   Origin]                                                  Races]
030                191,475     191      0.10%       145,077     75.77%     66.97%       19.83%      7.27%       0.95%      0.23%      0.03%      0.49%          4.24%
031                192,560   1,276      0.67%       142,251     73.87%      65.2%       19.83%      8.85%       1.07%      0.23%      0.06%      0.58%          4.19%
032                192,448   1,164      0.61%       149,879     77.88%     63.13%       13.22%     12.09%       5.49%       0.2%      0.04%      0.91%          4.91%
033                192,694   1,410      0.74%       146,415     75.98%        26%       40.48%     26.72%       2.13%      0.19%      0.05%      0.86%          3.56%
034                190,668    -616      -0.32%      141,840     74.39%     11.11%        66.6%     14.82%        3.9%      0.23%      0.04%       0.6%           2.7%
035                192,839   1,555      0.81%       144,675     75.02%     16.46%       69.77%      8.68%       1.13%      0.17%      0.06%      0.64%          3.08%
036                192,282     998      0.52%       161,385     83.93%      33.1%       51.35%      7.56%       3.58%      0.17%      0.04%      0.53%          3.68%
037                192,671   1,387      0.73%       147,779      76.7%     62.38%       18.04%      9.99%       3.85%      0.16%      0.03%      0.78%          4.76%
038                193,155   1,871      0.98%       148,367     76.81%     20.03%       62.74%      9.72%       3.42%      0.18%      0.04%      0.58%          3.29%
039                191,500     216      0.11%       156,022     81.47%     25.32%       60.33%       6.1%       4.25%      0.16%      0.04%      0.57%          3.22%
040                190,544    -740      -0.39%      147,000     77.15%     43.69%       16.42%     24.81%      10.84%      0.12%      0.04%      0.65%          3.43%
041                191,023    -261      -0.14%      145,278     76.05%     18.86%       60.28%      7.32%       9.19%      0.22%      0.02%      0.64%          3.48%
042                190,940    -344      -0.18%      153,952     80.63%     49.91%       28.14%     10.13%       6.81%      0.13%      0.03%      0.61%          4.24%
043                192,729   1,445      0.76%       145,741     75.62%     23.45%       62.77%      8.13%       1.24%      0.17%      0.09%      0.67%          3.49%
044                190,036   -1,248     -0.65%      145,224     76.42%     13.02%       69.13%      9.96%       4.15%      0.16%      0.04%      0.62%          2.91%
045                190,692    -592      -0.31%      140,706     73.79%     52.74%       17.12%     14.66%      10.69%      0.13%      0.03%      0.62%          4.01%
046                190,312    -972      -0.51%      146,713     77.09%     67.24%       16.64%      7.99%       3.77%       0.2%      0.03%      0.58%          3.56%
047                190,607    -677      -0.35%      146,599     76.91%     64.67%       16.96%     11.22%       2.66%      0.16%      0.04%      0.58%          3.71%
048                190,123   -1,161     -0.61%      136,995     72.06%     49.01%        8.35%      7.58%      30.59%      0.13%      0.04%      0.55%          3.75%
049                189,355   -1,929     -1.01%      144,123     76.11%     60.85%        7.13%     26.24%       2.15%      0.15%      0.04%      0.35%          3.08%
050                189,320   -1,964     -1.03%      148,799      78.6%     78.61%        5.05%     11.08%       1.22%      0.22%      0.04%      0.26%          3.52%
051                190,167   -1,117     -0.58%      155,571     81.81%     88.75%        0.84%      5.43%       0.59%      0.31%      0.02%       0.3%          3.77%
052                190,799    -485      -0.25%      146,620     76.85%      71.8%       12.39%     10.11%       1.08%      0.21%      0.03%      0.35%          4.02%
053                190,236   -1,048     -0.55%      148,201      77.9%     85.78%        4.46%      3.98%         1%       0.24%      0.06%       0.3%          4.18%
054                192,443   1,159      0.61%       143,843     74.75%     65.71%        2.97%     26.66%       1.14%      0.19%      0.02%      0.25%          3.07%
055                190,155   -1,129     -0.59%      141,968     74.66%     18.09%       62.96%     10.14%       4.19%      0.17%      0.04%      0.73%          3.67%
056                191,226     -58      -0.03%      144,448     75.54%      73.9%        6.36%      8.63%       5.67%      0.11%      0.03%      0.75%          4.56%

Total:          10,711,908
Ideal District:    191,284




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       User: S018
 Plan Name: Senate-prop1-2021
  Plan Type: Senate

Population Summary

Summary Statistics:
Population Range:                   189,320 to 193,163
Ratio Range:                        0.02
Absolute Range:                     -1,964 to 1,879
Absolute Overall Range:             3,843
Relative Range:                     -1.03% to 0.98%
Relative Overall Range:             2.01%
Absolute Mean Deviation:            1,012.61
Relative Mean Deviation:            0.53%
Standard Deviation:                 1,154.96

District          Population Deviation            % Devn.      [18+_Pop] [% 18+_Pop]          [%         [%            [%        [%          [%        [%        [%           [%
                                                                                       NH18+_Wht] NH18+_Blk]    H18+_Pop] NH18+_Asn] NH18+_Ind] NH18+_Hwn NH18+_Oth]    NH18+_2+
                                                                                                                                                         ]                 Races]
001                       191,402          118        0.06%       145,428     75.98%        61.99%      22.8%        7.55%     2.81%      0.28%      0.27%       0.4%          3.9%
002                       190,408          -876       -0.46%      150,843     79.22%        40.21%     44.81%        7.48%     3.77%      0.22%      0.15%      0.42%         2.95%
003                       191,212           -72       -0.04%      148,915     77.88%        68.88%     19.81%        6.17%     1.27%      0.27%      0.08%      0.34%         3.19%
004                       191,098          -186       -0.10%      146,443     76.63%        66.78%     21.98%        5.52%      1.9%      0.24%      0.07%      0.33%         3.17%
005                       191,921          637        0.33%       139,394     72.63%        15.69%     27.21%       41.67%    12.41%      0.14%      0.04%      0.55%         2.28%
006                       191,401          117        0.06%       155,781     81.39%        57.79%     21.79%        8.24%     7.14%      0.16%      0.03%      1.05%          3.8%
007                       189,709     -1,575          -0.82%      147,425     77.71%        37.84%     19.33%       16.56%    22.58%      0.16%      0.05%      0.55%         2.93%
008                       192,396      1,112          0.58%       145,144     75.44%         60.1%     29.02%        6.21%     1.27%      0.29%      0.08%      0.27%         2.75%
009                       192,915      1,631          0.85%       142,054     73.64%        35.81%     27.23%       18.77%    14.59%      0.18%      0.04%      0.59%          2.8%
010                       192,898      1,614          0.84%       147,884     76.66%        19.64%     68.31%        5.18%     3.15%      0.18%      0.04%      0.61%         2.89%
011                       189,976     -1,308          -0.68%      144,597     76.11%        58.97%     30.08%         7.6%     0.72%      0.26%      0.02%      0.22%         2.13%
012                       190,819          -465       -0.24%      149,154     78.17%        36.71%     56.63%        3.48%     0.92%      0.18%      0.02%      0.18%         1.88%
013                       189,326     -1,958          -1.02%      144,141     76.13%         64.1%     26.01%        6.01%     1.21%      0.17%      0.02%      0.21%         2.26%
014                       192,533      1,249          0.65%       155,340     80.68%         57.1%     16.83%       12.13%     9.43%      0.12%      0.05%      0.74%         3.61%
015                       189,446     -1,838          -0.96%      144,506     76.28%        36.52%     51.56%        6.59%     1.45%      0.23%      0.25%      0.36%         3.04%
016                       191,829          545        0.28%       147,133      76.7%        66.91%     21.49%        5.03%     2.92%      0.18%      0.03%      0.42%         3.01%
017                       192,510      1,226          0.64%       144,472     75.05%        59.42%     30.21%        5.13%     1.41%      0.17%      0.03%      0.49%         3.14%
018                       191,825          541        0.28%       150,196      78.3%        60.69%      29.2%        4.51%     2.46%      0.22%      0.03%      0.29%          2.6%
019                       192,316      1,032          0.54%       146,131     75.98%        63.99%     24.52%        8.38%     0.62%      0.18%      0.06%       0.2%         2.06%
020                       192,588      1,304          0.68%       147,033     76.35%        61.71%     30.17%        3.49%     1.76%      0.16%      0.05%      0.25%         2.41%
021                       192,572      1,288          0.67%       145,120     75.36%        73.87%      6.37%        8.77%     6.98%      0.18%      0.04%      0.48%         3.32%
022                       193,163      1,879          0.98%       150,450     77.89%        34.38%     53.94%        5.35%      2.3%      0.24%      0.18%      0.38%         3.24%
023                       190,344          -940       -0.49%      144,113     75.71%        56.89%     33.91%        4.52%     1.24%      0.25%      0.09%      0.27%         2.84%
024                       192,674      1,390          0.73%       148,602     77.13%        69.81%     18.69%         4.4%     3.27%       0.2%      0.07%      0.35%          3.2%
025                       191,161          -123       -0.06%      148,917      77.9%        59.94%     32.23%        3.66%     1.09%      0.18%      0.04%      0.39%         2.48%
026                       189,945     -1,339          -0.70%      145,744     76.73%         36.6%     55.18%        4.24%     0.92%      0.22%      0.03%      0.24%         2.56%
027                       190,676          -608       -0.32%      139,196       73%          71.5%      4.16%        10.2%    10.27%      0.15%      0.04%      0.45%         3.22%
028                       190,422          -862       -0.45%      144,973     76.13%        69.44%     18.18%        6.44%     1.99%      0.23%      0.04%      0.38%         3.29%


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Population Summary                                                                                                                                  Senate-prop1-2021



District      Population Deviation    % Devn.    [18+_Pop] [% 18+_Pop]          [%         [%            [%        [%          [%        [%        [%           [%
                                                                         NH18+_Wht] NH18+_Blk]    H18+_Pop] NH18+_Asn] NH18+_Ind] NH18+_Hwn NH18+_Oth]    NH18+_2+
                                                                                                                                           ]                 Races]
029                189,424   -1,860     -0.97%      145,674      76.9%        63.22%     25.52%        4.45%       3%       0.23%      0.11%      0.33%         3.13%
030                191,475     191      0.10%       145,077     75.77%        69.41%     19.44%         6.1%     0.97%      0.24%      0.03%      0.41%          3.4%
031                192,560   1,276      0.67%       142,251     73.87%        68.26%     19.13%        7.42%     1.12%      0.22%      0.06%      0.46%         3.33%
032                192,448   1,164      0.61%       149,879     77.88%        65.78%     13.13%       10.55%     5.42%       0.2%      0.04%      0.83%         4.05%
033                192,694   1,410      0.74%       146,415     75.98%        30.25%     40.26%       22.93%     2.35%      0.22%      0.05%      0.81%         3.14%
034                190,668    -616      -0.32%      141,840     74.39%        13.36%      66.5%       12.75%     4.26%      0.22%      0.04%      0.56%         2.31%
035                192,839   1,555      0.81%       144,675     75.02%        18.82%     68.87%        7.51%     1.26%      0.18%      0.06%      0.59%          2.7%
036                192,282     998      0.52%       161,385     83.93%        36.18%     48.68%        7.06%     4.01%      0.17%      0.04%      0.51%         3.34%
037                192,671   1,387      0.73%       147,779      76.7%        65.37%     17.41%        8.69%     3.94%      0.17%      0.04%      0.67%         3.73%
038                193,155   1,871      0.98%       148,367     76.81%        21.87%     62.45%        8.44%     3.55%      0.18%      0.04%      0.56%         2.92%
039                191,500     216      0.11%       156,022     81.47%        27.87%     57.97%        5.65%     4.83%      0.15%      0.04%       0.5%         2.98%
040                190,544    -740      -0.39%      147,000     77.15%        46.34%     17.32%       21.62%    11.15%      0.11%      0.04%      0.59%         2.84%
041                191,023    -261      -0.14%      145,278     76.05%        21.39%     59.67%        6.68%     8.42%      0.22%      0.02%       0.6%         3.01%
042                190,940    -344      -0.18%      153,952     80.63%        51.39%     28.73%        8.64%     7.16%      0.12%      0.03%      0.53%          3.4%
043                192,729   1,445      0.76%       145,741     75.62%        26.53%     61.35%        6.89%     1.34%      0.17%      0.08%       0.6%         3.05%
044                190,036   -1,248     -0.65%      145,224     76.42%        15.29%     68.39%         8.6%     4.37%      0.17%      0.04%      0.56%         2.58%
045                190,692    -592      -0.31%      140,706     73.79%        55.47%     16.86%       13.05%    10.89%      0.13%      0.03%       0.5%         3.07%
046                190,312    -972      -0.51%      146,713     77.09%         69.9%     15.64%        6.99%     3.85%      0.22%      0.02%       0.5%         2.89%
047                190,607    -677      -0.35%      146,599     76.91%        67.46%     16.34%        9.57%     2.79%      0.17%      0.04%       0.5%         3.13%
048                190,123   -1,161     -0.61%      136,995     72.06%        52.25%      8.26%          7%     29.05%      0.11%      0.04%      0.47%         2.83%
049                189,355   -1,929     -1.01%      144,123     76.11%        65.64%      7.12%        21.9%     2.22%      0.16%      0.04%      0.29%         2.63%
050                189,320   -1,964     -1.03%      148,799      78.6%        81.54%      5.03%        8.78%     1.24%      0.24%      0.03%      0.24%         2.91%
051                190,167   -1,117     -0.58%      155,571     81.81%        90.24%      0.84%        4.34%     0.61%      0.33%      0.02%      0.27%         3.34%
052                190,799    -485      -0.25%      146,620     76.85%        74.74%     12.08%        8.24%     1.13%      0.22%      0.02%      0.29%         3.27%
053                190,236   -1,048     -0.55%      148,201      77.9%        87.31%      4.49%        3.23%     0.99%      0.26%      0.06%      0.22%         3.44%
054                192,443   1,159      0.61%       143,843     74.75%        69.98%      3.07%       22.64%     1.15%      0.22%      0.02%      0.21%         2.71%
055                190,155   -1,129     -0.59%      141,968     74.66%        20.56%     62.42%        8.71%     4.24%      0.18%      0.04%      0.67%         3.18%
056                191,226     -58      -0.03%      144,448     75.54%        76.17%      6.37%        7.66%     5.51%      0.12%      0.03%      0.63%         3.51%

Total:          10,711,908
Ideal District:    191,284




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                   EXHIBIT M
                     Case 1:21-cv-05337-SCJ                      Document 26-3               Filed 01/07/22         Page 151 of 151
                                                               Population Summary Report
                                                Georgia State Senate --2021 Plan
                                                                                                                                   2015-19  2015-19
                      % 2020                      18+ AP    % 18+ AP 18+_NH % 18+ NH 2015-19                  2015-19   2015-19    B+L+A NH White
District   2020 Pop. Deviation 18+ Pop             Black      Black    White   White   BCVAP*                 LCVAP*    ACVAP*     CVAP*    CVAP* Incumbents
   001        191402     0.06%   145428               36468    25.08%    90150  61.99% 24.12%                   6.38%     2.49%      32.99%  65.83%    1
   002        190408    -0.46%   150843               70688    46.86%    60650  40.21% 53.13%                   4.28%     1.47%      58.88%  40.30%    1
   003        191212    -0.04%   148915               31545    21.18%   102574  68.88% 22.87%                   3.13%     1.35%      27.35%  71.91%    1
   004        191098    -0.10%   146443               34217    23.37%    97792  66.78% 23.64%                   2.86%     1.06%      27.56%  71.51%    1
   005        191921     0.33%   139394               41736    29.94%    21872  15.69% 38.70%                  19.93%    13.74%      72.36%  26.30%    1
   006        191401     0.06%   155781               37231    23.90%    90024  57.79% 23.06%                   4.63%     4.76%      32.45%  66.92%    1
   007        189709    -0.82%   147425               31601    21.44%    55780  37.84% 23.42%                   8.40%    16.90%      48.73%  50.46%    1
   008        192396     0.58%   145144               44098    30.38%    87232  60.10% 30.18%                   4.19%     1.10%      35.46%  63.55%    1
   009        192915     0.85%   142054               41948    29.53%    50868  35.81% 30.19%                   9.36%    11.34%      50.89%  48.30%    1
   010        192898     0.84%   147884             105671     71.46%    29039  19.64% 68.86%                   3.80%     2.73%      75.38%  23.77%    1
   011        189976    -0.68%   144597               44887    31.04%    85275  58.97% 32.41%                   3.43%     0.47%      36.32%  62.84%    1
   012        190819    -0.24%   149154               86465    57.97%    54752  36.71% 59.25%                   1.33%     0.70%      61.28%  38.13%    1
   013        189326    -1.02%   144141               38871    26.97%    92398  64.10% 27.49%                   3.21%     0.97%      31.67%  67.81%    1
   014        192533     0.65%   155340               29470    18.97%    88706  57.10% 19.75%                   5.98%     6.16%      31.90%  67.30%    1
   015        189446    -0.96%   144506               78040    54.00%    52771  36.52% 53.56%                   5.59%     1.33%      60.48%  38.55%    1
   016        191829     0.28%   147133               33393    22.70%    98454  66.91% 22.24%                   3.32%     2.02%      27.58%  71.46%    1
   017        192510     0.64%   144472               46245    32.01%    85846  59.42% 27.89%                   2.70%     1.18%      31.77%  67.34%    1
   018        191825     0.28%   150196               45662    30.40%    91155  60.69% 30.44%                   2.50%     1.81%      34.75%  64.62%    1
   019        192316     0.54%   146131               37589    25.72%    93506  63.99% 27.82%                   4.25%     0.40%      32.47%  66.86%    1
   020        192588     0.68%   147033               45991    31.28%    90729  61.71% 31.59%                   2.67%     1.09%      35.35%  63.98%    3
   021        192572     0.67%   145120               10823      7.46%  107202  73.87%  7.89%                   4.72%     3.50%      16.11%  82.97%    1
   022        193163     0.98%   150450               85009    56.50%    51728  34.38% 57.93%                   4.02%     1.80%      63.76%  35.32%    1
   023        190344    -0.49%   144113               51133    35.48%    81988  56.89% 35.06%                   3.11%     0.84%      39.01%  60.09%    0
   024        192674     0.73%   148602               29503    19.85%   103744  69.81% 21.16%                   2.86%     2.56%      26.58%  72.87%    1
   025        191161    -0.06%   148917               49860    33.48%    89256  59.94% 32.45%                   2.48%     0.95%      35.87%  63.76%    1
   026        189945    -0.70%   145744               83056    56.99%    53346  36.60% 56.93%                   2.22%     0.82%      59.97%  39.34%    1
   027        190676    -0.32%   139196                6961      5.00%   99531  71.50%  4.08%                   5.44%     4.87%      14.40%  84.89%    1
   028        190422    -0.45%   144973               28282    19.51%   100664  69.44% 18.97%                   4.25%     1.35%      24.56%  74.52%    1
   029        189424    -0.97%   145674               39150    26.88%    92102  63.22% 27.45%                   3.45%     2.13%      33.04%  66.07%    1
   030        191475     0.10%   145077               30346    20.92%   100699  69.41% 21.14%                   3.12%     0.82%      25.08%  74.15%    1
   031        192560     0.67%   142251               29440    20.70%    97094  68.26% 17.68%                   4.68%     0.83%      23.19%  75.98%    1
   032        192448     0.61%   149879               22274    14.86%    98589  65.78% 13.75%                   5.72%     3.72%      23.19%  75.67%    1
   033        192694     0.74%   146415               62897    42.96%    44286  30.25% 47.97%                  10.51%     2.48%      60.96%  38.28%    0
   034        190668    -0.32%   141840               98640    69.54%    18951  13.36% 73.27%                   5.16%     3.38%      81.82%  17.07%    1
   035        192839     0.81%   144675             104019     71.90%    27234  18.82% 68.27%                   4.22%     0.97%      73.46%  25.64%    1
   036        192282     0.52%   161385               82859    51.34%    58394  36.18% 53.64%                   3.72%     3.02%      60.38%  38.93%    1
   037        192671     0.73%   147779               28484    19.27%    96596  65.37% 18.82%                   5.46%     3.60%      27.88%  71.43%    1
   038        193155     0.98%   148367               96886    65.30%    32445  21.87% 69.99%                   4.03%     2.27%      76.28%  23.30%    1
   039        191500     0.11%   156022               94702    60.70%    43478  27.87% 63.27%                   3.14%     3.27%      69.68%  29.75%    1
   040        190544    -0.39%   147000               28277    19.24%    68121  46.34% 22.07%                   7.43%     7.88%      37.38%  62.08%    1
   041        191023    -0.14%   145278               90961    62.61%    31068  21.39% 66.37%                   2.74%     4.22%      73.32%  25.66%    1
   042        190940    -0.18%   153952               47383    30.78%    79111  51.39% 35.04%                   3.19%     4.94%      43.17%  55.88%    1
   043        192729     0.76%   145741               93754    64.33%    38669  26.53% 61.38%                   4.11%     1.52%      67.01%  32.37%    1
   044        190036    -0.65%   145224             103599     71.34%    22202  15.29% 73.79%                   4.90%     3.82%      82.50%  16.56%    1
   045        190692    -0.31%   140706               26149    18.58%    78049  55.47% 17.77%                   7.97%     7.32%      33.06%  66.11%    0
   046        190312    -0.51%   146713               24793    16.90%   102559  69.90% 16.67%                   3.96%     3.23%      23.86%  75.50%    1
   047        190607    -0.35%   146599               25543    17.42%    98893  67.46% 19.34%                   4.51%     1.58%      25.42%  73.97%    1
   048        190123    -0.61%   136995               12968      9.47%   71575  52.25%  8.60%                   5.77%    16.94%      31.31%  67.93%    1
   049        189355    -1.01%   144123               11475      7.96%   94600  65.64%  8.66%                  10.81%     1.97%      21.44%  77.80%    1
   050        189320    -1.03%   148799                8341      5.61%  121337  81.54%  6.02%                   4.73%     1.05%      11.80%  87.16%    1
   051        190167    -0.58%   155571                1876      1.21%  140394  90.24%  1.34%                   2.21%     0.52%       4.06%  93.72%    1
   052        190799    -0.25%   146620               19120    13.04%   109583  74.74% 13.27%                   3.93%     0.83%      18.03%  81.15%    1
   053        190236    -0.55%   148201                7558      5.10%  129390  87.31%  4.83%                   1.74%     0.81%       7.38%  91.71%    1
   054        192443     0.61%   143843                5450      3.79%  100668  69.98%  4.07%                  11.67%     0.81%      16.55%  82.47%    1
   055        190155    -0.59%   141968               93659    65.97%    29183  20.56% 67.72%                   4.33%     2.22%      74.27%  24.77%    1
   056        191226    -0.03%   144448               10940      7.57%  110031  76.17%  6.99%                   4.98%     3.81%      15.79%  83.61%    2
Total
2020
Pop.       10,711,908        2.01% 8,220,274       2,607,986       31.73% 4,342,333        52.82%

Majority Districts                                                 14                                    15                           18         38

CVAP Source:
* 2015-19 ACS Special Tabulation
Note: Citizen Voting Age Population (CVAP) percentages are disaggreagated from block-gorup level ACS estimates (with a survey midpoint of July 2017)

Source for disaggregation: Redistricting Data Hub
https://redistrictingdatahub.org/dataset/georgia-cvap-data-disaggregated-to-the-2020-block-level-2019/
